                           Case 23-793, Document 113, 03/20/2024, 3616157, Page1 of 185
                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                        MOTION INFORMATION STATEMENT

Docket Number(s): 23-793                                                                             Caption [use short title]

Motion for: Leave to Seal and Leave to File a                                   Carroll v. Trump
Supplemental Appendix



Set forth below precise, complete statement of relief sought:

For the Court to allow Plaintiff-Appellee to file her brief

partially under seal and to file a Supplemental Appendix.




MOVING PARTY: E. Jean Carroll                                             OPPOSING PARTY: Donald J. Trump

              Plaintiff                     Defendant

              Appellant/Petitioner        Appellee/Respondent

MOVING ATTORNEY: Joshua Matz                              OPPOSING ATTORNEY: Todd Blanche
                        [name of attorney, with firm, address, phone number and e-mail]
Kaplan Hecker & Fink LLP                                                    Blanche Law
                                                                           --------------------
1050 K Street NW, Suite 1040, Washington , DC 20001 99 Wall Street, Suite 4460 , New York, NY 10005

212-763-0883; jmatz@kaplanhecker.com                                       212-716-1250; toddblanche@blanchelaw.com

Court- Judge/ Agency appealed from: Southern District of New York, Judge Lewis A. Kaplan




                                                                                                                                         BB
Please check appropriate boxes:                                               FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                              INJUCTIONS PENDING APPEAL:

                                      ---
 Has movant notified opposing counsel (required by Local Rule 27.1):           Has this request for relief been made below?          Yes No
             Yes       No (explain):                                           Has this relief been previously sought in this court? Yes No

                                                                               Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
          Iii
            Unopposed        Opposed      Don’t Know
Does opposing counsel intend to file a response:
            Yes      [l]
                      _No       Don’t Know



Is the oral argument on motion requested?               Yes   Ii] No (requests for oral argument will not necessarily be granted)

Has the appeal argument date been set?                  Yes   Ii] No If yes, enter date:
Signature of Moving Attorney:
                                              Date: 3/20/2024                     Service :   Iii Electronic       Other [Attach proof of service]

Form T-1080 (rev. 10-23)
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                    UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT


E. JEAN CARROLL,

                     Plaintiff-Appellee,

       v.                                         No. 23-793

DONALD J. TRUMP,

                     Defendant-Appellant.


            PLAINTIFF-APPELLEE’S UNOPPOSED MOTIONS TO
              FILE HER APPELLEE BRIEF UNDER SEAL AND
                 TO FILE A SUPPLEMENTAL APPENDIX

      Under Federal Rule of Appellate Procedure 27, and Local Rules 25.1(j)(2)

and 30.1(g), Plaintiff-Appellee E. Jean Carroll respectfully moves for leave of Court

to file her Appellee brief partially under seal and to file a supplemental appendix.

This relief is necessary because (1) the Appellee brief includes information

contained in filings that are subject to a sealing order entered by the district court

and that remain under seal; and (2) the Appellee brief relies on information not

included in the parties’ joint appendix. Defendant-Appellant Donald J. Trump

consents to Carroll’s motions. In support of these motions, Carroll states as follows:

      1.      On April 20, 2023, Carroll filed a motion in limine in the district court

to exclude all evidence, argument, and cross-examination related to the third-party

funding that Carroll’s counsel had obtained to cover certain costs and fees in this
             Case 23-793, Document 113, 03/20/2024, 3616157, Page3 of 185




litigation. Pursuant to the district court’s Individual Rules of Practice, she sought

approval to file her motion and all related papers under seal, and further requested

that any subsequent filings and hearings related to her motion be under seal as well.

See Ex. A (Carroll v. Trump, No. 22 Civ. 10016 (S.D.N.Y.) (“Carroll II”), ECF

131).

        2.     As Carroll explained to the district court in making that request, the

public’s interest in accessing irrelevant evidence is extremely limited. While “[t]here

is a common law presumption in favor of permitting public access to judicial

documents,” Flatiron Acquisition Vehicle, LLC v. CSE Mortg. LLC, No. 1:17 Civ.

8987, 2021 WL 4481853, at *1 (S.D.N.Y. Sept. 29, 2021) (citation omitted), the

weight of this presumption falls “on a continuum from matters that directly affect

the adjudication to matters that come within a court’s purview solely to insure their

irrelevance,” Ello v. Singh, 531 F. Supp. 2d 552, 583 (S.D.N.Y. 2007).

        3.     The district court had already held that “[t]he question whether and

when plaintiff or her counsel have obtained financial support in this action has

nothing directly to do with the ultimate merits of the case,” Ex. B (Carroll II, ECF

110 at 2) (emphasis added), and the now-supplemented record confirmed that

conclusion.

        4.     As a result, the interest in public access here was minimal, particularly

given that the parties’ previous on-the-record filings already afforded the public
           Case 23-793, Document 113, 03/20/2024, 3616157, Page4 of 185




meaningful access to information about this otherwise irrelevant and tangential

topic. Cf. United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) (“Documents

that play no role in the performance of Article III functions, such as those passed

between the parties in discovery, lie entirely beyond the presumption’s reach….”).

      5.     Second, Carroll explained that material aspects of filing implicated the

attorney-client and work product privileges, which “may overcome the presumption

of access” to judicial documents. Flatiron Acquisition Vehicle, LLC, 2021 WL

4481853, at *2. Carroll had provided certain privileged information to Trump; in

turn, Trump’s counsel had agreed in writing that any waiver of privilege was limited

specifically to the documents and testimony provided. The privileges implicated

here thus provided “precisely the kind of countervailing concern that is capable of

overriding the general preference for public access to judicial records.” Diversified

Grp., Inc. v. Daugerdas, 217 F.R.D. 152, 160 (S.D.N.Y. 2003); see also Fairfield

Sentry Ltd. v. Krys, 714 F.3d 127, 140 (2d Cir. 2013) (“Important as public access

to court documents may be, it is not an exceptional and fundamental value.”).

      6.     Finally, Carroll explained that publicly filing her motion about

litigation funding (and the accompanying materials) on the eve of trial would raise

unique fairness concerns. She observed that inadmissible evidence should not be

unnecessarily entered into the public record just before this highly watched trial was

to begin, particularly where one reason why the evidence was inadmissible
            Case 23-793, Document 113, 03/20/2024, 3616157, Page5 of 185




concerned the potential for unfair prejudice and confusion of the issues. See Maragh

v. Roosevelt Island Operating Corp., No. 21-2129, 2022 WL 14199384, at *2 (2d

Cir. Oct. 25, 2022) (finding no abuse of discretion in “keeping [] inadmissible

evidence under seal”); United States v. Giordano, 158 F. Supp. 2d 242, 247 (D.

Conn. 2001) (sealing documents where “there is a substantial likelihood that this

evidence would be the subject of the inordinate, extensive and unwavering publicity

that this case has and will undoubtedly continue to receive, there exists a real danger

that premature publication of this evidence could make a fair trial impossible”).

      7.      Considering all these arguments, the district court granted Carroll’s

request and ordered all filings related to be filed under seal. See Ex. C (Carroll II,

ECF 136, 137). Trump has never contested this order. And the relevant documents

remain sealed.

      8.      Trump filed his Appellant brief on November 20, 2023. See ECF 74.

      9.      Trump filed a Sealed Joint Appendix on November 27, 2024. See ECF

89. That appendix contains information which the district court ordered sealed in

connection with the dispute over the admissibility of this funding evidence.

      10.     In her Appellee brief, Carroll cites and includes information contained

in the Sealed Joint Appendix, as well as additional information contained in her

proposed Supplemental Appendix (that additional information was filed under seal

and remains under seal in the district court). See Carroll II, ECF 133, 151, 154.
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      11.     Accordingly, Carroll respectfully requests leave of Court to file under

the seal the parts of her brief which include information that remains under seal.

      12.     Next, and separately, Carroll respectfully requests leave of Court to file

a supplemental appendix.

      13.     In preparing her Appellee brief, Carroll came to rely on information not

included in the parties’ Joint Appendix: namely, Carroll v. Trump, No. 20 Civ. 7311

(S.D.N.Y) (“Carroll I”), ECF 134, 136, 252, 280; Carroll II, ECF 86, 133, 151, 154.

See Ex. D.

      14.     Some of those filings relate to district court briefing over issues that

Trump raises on appeal. See Carroll I, ECF 134, 136; Carroll II, ECF 86, 133, 151,

154. Federal Rule of Appellate Procedure 30(a)(2) explains that “[m]emoranda of

law in the district court should not be included in the appendix unless they have

independent relevance.” Here, that standard for inclusion is satisfied: Carroll cites

these briefs to add important context to the evidentiary disputes at issue on appeal

and, in some cases, to support arguments that Trump waived contentions by virtue

of his positions in the district court. Moreover, three of those briefs were filed under

seal in the district—namely, Carroll II, ECF 133, 151, 154—and attaching those

briefs on appeal will aid the Court in readily accessing them.
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      15.     Finally, other filings included in the proposed Supplemental Appendix

pertain to issues that have arisen since Trump filed the Joint Appendix and that were

not capable of being included previously. See Carroll I, ECF 252, 280.

      16.     Trump consents to Carroll’s motions.


Dated: Washington, DC                        Respectfully submitted,
       March 20, 2024
                                             /s/ Joshua Matz
                                             Joshua Matz
                                             Kaplan Hecker & Fink LLP
                                             1050 K Street NW, Suite 1040
                                             Washington, D.C., 20001
                                             Telephone: (212) 763-0883
                                             jmatz@kaplanhecker.com

                                             Counsel for Plaintiff-Appellee
          Case 23-793, Document 113, 03/20/2024, 3616157, Page8 of 185




                         CERTIFICATE OF SERVICE

      I, Joshua Matz, counsel for Plaintiff-Appellee and a member of the Bar of this

Court, certify that, on March 20, 2024, the foregoing document was filed with the

Clerk through the Court’s electronic filing system.


Dated: Washington, DC
       March 20, 2024
                                             /s/ Joshua Matz
                                             Joshua Matz

                                             Counsel for Plaintiff-Appellee
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             EXHIBIT A
             Case
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I<APLAN HECI<ER & FINI( LLP                                   350 FIFTH AVENUE I 63"° FLOOR
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                                                              DIRECT DIAL      212.763.0883
                                                              DIRECT EMAIL     rkaplan@kaplanhecker.com



                                                                            April 20, 2023


   VIA ECF

   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                          Re:     Carroll v. Trump, 22 Civ. 10016 (LAK)

   Dear Judge Kaplan:

           We write on behalf of Plaintiff E. Jean Carroll pursuant to Your Honor’s Individual Rules
   of Practice to seek approval to file under seal a motion in limine and related papers.

          Yesterday, the parties concluded the limited discovery that the Court had permitted into
   “whether and when plaintiff or her counsel obtained financial support.” ECF 110 at 2. Plaintiff
   now moves to preclude evidence, argument, or questioning related to the funding that Plaintiff’s
   counsel obtained to cover certain costs and fees in this litigation.

          Sealing of this motion is warranted for three reasons.

           First, the public’s interest in accessing irrelevant evidence is extremely limited. While
   “[t]here is a common law presumption in favor of permitting public access to judicial documents,”
   Flatiron Acquisition Vehicle, LLC v. CSE Mortg. LLC, No. 1:17 Civ. 8987, 2021 WL 4481853, at
   *1 (S.D.N.Y. Sept. 29, 2021) (citation omitted), the weight of this presumption falls “on a
   continuum from matters that directly affect the adjudication to matters that come within a court’s
   purview solely to insure their irrelevance,” Ello v. Singh, 531 F. Supp. 2d 552, 583 (S.D.N.Y.
   2007). The Court has already held that “[t]he question whether and when plaintiff or her counsel
   have obtained financial support in this action has nothing directly to do with the ultimate merits of
   the case,” ECF 110 at 2 (emphasis added), and the now-supplemented record confirms that
   conclusion (as we demonstrate in our motion papers). Therefore, the interest in public access here
   is minimal, particularly given that the parties’ previous on-the-record filings already afford the
   public meaningful access to information about this otherwise irrelevant and tangential topic. Cf.
   United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) (“Documents that play no role in the
   performance of Article III functions, such as those passed between the parties in discovery, lie
   entirely beyond the presumption’s reach….”).
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KAPLAN HECKER & FINK LLP                                                                               2


            Second, substantial aspects of our filing implicate the attorney-client and work product
    privileges, which “may overcome the presumption of access” to judicial documents. Flatiron
    Acquisition Vehicle, LLC, 2021 WL 4481853, at *2. Plaintiff provided certain privileged
    information to Trump pursuant to the Court’s order and in the spirit of cooperation; in turn,
    Trump’s counsel agreed in writing that any waiver of privilege was limited specifically to the
    documents and testimony provided. See Ex. 7; see also Ex. 1 at 11:13–21, 17:22–4. The privileges
    implicated here provide “precisely the kind of countervailing concern that is capable of overriding
    the general preference for public access to judicial records.” Diversified Grp., Inc. v. Daugerdas,
    217 F.R.D. 152, 160 (S.D.N.Y. 2003); see also Fairfield Sentry Ltd. v. Krys, 714 F.3d 127, 140
    (2d Cir. 2013) (“Important as public access to court documents may be, it is not an exceptional
    and fundamental value. It is a qualified right.”).

            Finally, publicly filing this motion and the accompanying materials on the eve of trial
    would raise unique concerns. Stated simply, evidence that is inadmissible at trial should not be
    unnecessarily entered into the public record just before this highly watched trial is to begin,
    particularly where (as we explain) one reason why the evidence is inadmissible concerns the
    potential for unfair prejudice and confusion of the issues. See Maragh v. Roosevelt Island
    Operating Corp., No. 21-2129, 2022 WL 14199384, at *2 (2d Cir. Oct. 25, 2022) (finding no
    abuse of discretion in “keeping [] inadmissible evidence under seal”); United States v. Giordano,
    158 F. Supp. 2d 242, 247 (D. Conn. 2001) (sealing documents where “there is a substantial
    likelihood that this evidence would be the subject of the inordinate, extensive and unwavering
    publicity that this case has and will undoubtedly continue to receive, there exists a real danger that
    premature publication of this evidence could make a fair trial impossible”).

           Accordingly, Carroll respectfully requests leave to file under seal, and further respectfully
    requests that any subsequent filings and hearings relating to Plaintiff’s motion be under seal as
    well.



                                                                          Respectfully submitted,



                                                                          Roberta A. Kaplan

    cc:    Counsel of Record
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              EXHIBIT B
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              Case
             Case 1:22-cv-10016-LAK  Document
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                                                                                                      Alina Habba, Esq.
                                                                                                      Managing Partner


MEMO ENDORSED
                                                                                             ahabba@habbalaw.com
                                         HABBA MADAIO                                  Admitted to practice in NJ, NY & CT
                                                    & AssociOtes LLP




                                                                                                     April 13, 2023

   VIAECF
   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York                                                    ilCSDNY
   Daniel Patrick Moynihan                                                           'tlMENT
   500 Pearl Street
                                                                                   .. CTHONICALL Y FILED
   New York, New York 10007
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            Re:      E. Jean Carroll v. Donald J. Trump                         lATE FILED:        lj:-l~--262'3
                     l:22-cv-10016 (LAK)
                                                                                                             .   ·:   ,   ,(




   Dear Judge Kaplan:

           We write on behalf of the defendant, Donald J. Trump ("Defendant"), with respect to the
   recent, belated disclosure of material information by the plaintiff, E. Jean Catrnll ("Plaintiff'),
   which raises significant concerns as to Plaintiffs bias and motive in commencing the instant
   lawsuit, and necessitates that discovery be re-opened for the limited purpose of addressing this
   ISSUe.


          For background, on October 14, 2022, Plaintiff sat for her deposition in the parallel
   proceeding of Carroll v. Trump, No. 1:20-cv-7311 (LAK) ("Carroll I"). 1 At that time, she was
   asked about a pertinent issue that looms large over this case - whether her legal fees are being
   funded by a third-party benefactor, particularly one with political ties. She answered,
   unequivocally, in the negative:

                    Q: Are you presently paying your counsel's fees?
                    A: This is a contingency case.
                    Q: So you're not paying expenses or anything out of pocket to date;
                    is that correct?
                    A: I'm not sure about expenses. I have to look that up.
                    Q. Is anyone else paying your legal fees, Ms. Carroll?
                    A:No.

   See Exhibit A at tr. 209: 11-21.



   1
     Pursuant to the Court's Order dated December 21, 2022 (ECF No. 19), Plaintiff's October 14, 2022 deposition has,
   for all intents and purposes, been incorporated into the instant action and serves as the operative deposition with
   respect to all substantive issues aside from a particular subset of Plaintiffs damages claim.



             1430 U.S. Highway 206, Suite 240, Bedminster, NJ 07921 • Tel. 908.869.1188
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Memorandum Endorsement                                                Carroll v. Trump, 22-cr-l 0016 (LAK)

                 On April 10, 2023, plaintiffs counsel disclosed to the defendant that plaintiff-- who had
testified at her deposition on October 14, 2022 that (a) no one else was paying her legal fees as "[t]his
is a contingency fee case," and that (b) she was "not sure about expenses" (Dkt 108-1, Dep. Tr., at 209:
11-21) -- "now [i.e., Apr. 10, 2023] recall[ed] that at some point her counsel secured additional
funding from a nonprofit organization to offset certain expenses and legal fees." Dkt I 08-2 at 1.
Plaintiffs counsel now advises that this assistance was secured in September 2020, well after the
commencement of the first to the two closely related actions of which this is the later.

                  In subsequent discussions between the parties' respective counsel, plaintiff disclosed the
identity of the financial backer, said to be a prominent funder of Democratic causes, and of the not-for-
profit entity through which he apparently provided such funding. Plaintiffs counsel further represented
that plaintiff "has never met and has never been party to any communications (written or oral) with
anyone associated with the nonprofit." Dkt 108-3 at 1. On this basis, defendant moves for "(i) a limited
re-opening of the discovery period restricted to investigation into the narrow source of funding issue, and
(ii) a one-month continuance of the trial date ... ; or (iii) in the alternative, that the Court permit an
adverse inference instruction against Plaintiff with respect to her willful defiance of her discovery
obligations." Dkt 108 at 4.

                  The question whether and when plaintiff or her counsel have obtained financial support
in this action has nothing directly to do with the ultimate merits of the case. See, e.g., Benitez v. Lopez,
No. 7-CV-3827-SJ-SJB, 2019 WL 1578167, at *1-*2 (E.D.N.Y. Mar. 14, 2019). Although I do not now
decide the question, it perhaps might prove relevant to the question of plaintiffs credibility, in view of
the deposition testimony referred to above. Accordingly, I will permit a brief and carefully
circumscribed examination of that narrow question without prejudging the question of whether and to
what extent examination on this matter may be permitted at trial. Accordingly, defendant's application
is granted, but only to the extent that (I) plaintiff shall furnish the defendant, no later than April 16, 2023,
with documents sufficient to establish that the inception of the financing assistance for the Carroll
litigation in fact occurred in or after mid-2020, (b) any documents concerning the state of plaintiffs
knowledge, if any, of the financing assistance as of the date of her deposition and as of the present, and
(2) defendant may conduct an additional deposition of Ms. Carroll not to exceed 60 minutes in duration,
unless otherwise ordered by the Court, which shall be (1) limited to the subject of Ms. Carroll's
knowledge of the financing assistance as of the date of her deposition and as of the present, and (2)
completed no later than April 19, 2023. The motion is denied in all other respects save that the Court
reserves for determination at trial the matter of any requested adverse inference instruction. Trial shall
begin as scheduled on April 25, 2023 unless otherwise ordered.

                 SO ORDERED.

Dated:           April 13, 2023




                                                                         Lewis A. Kaplan
                                                                    United States District Judge
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              EXHIBIT C
3/20/24, 6:24 PM           Case 23-793, Document 113, SDNY
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                             Clerk's Office staff. Document filed by Donald J. Trump. (Attachments: # 1 Affidavit
                             Declaration of Matthew G. DeOreo, # 2 Affidavit Affidavit of W. Perry Brandt, # 3
                             Appendix Certificate of Good Standing, # 4 Text of Proposed Order For Pro Hac Vice
                             Admission of W. Perry Brandt).(DeOreo, Matthew) (Entered: 04/20/2023)
  04/20/2023           129 Exhibit List - Deposition Designations and Objections for Trial. Document filed by E.
                           Jean Carroll..(Kaplan, Roberta) (Entered: 04/20/2023)
  04/20/2023           130 PROPOSED PRE-TRIAL ORDER. Document filed by E. Jean Carroll..(Kaplan, Roberta)
                           (Entered: 04/20/2023)
  04/20/2023                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                               128 MOTION for W. Perry Brandt to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC-27634526. Motion and supporting papers to be reviewed
                               by Clerk's Office staff.. The document has been reviewed and there are no
                               deficiencies. (sgz) (Entered: 04/20/2023)
  04/20/2023           131 LETTER MOTION to Seal addressed to Judge Lewis A. Kaplan from Roberta A. Kaplan,
                           dated April 20, 2023. Document filed by E. Jean Carroll..(Kaplan, Roberta) (Entered:
                           04/20/2023)
  04/20/2023           132 ***SELECTED PARTIES*** MOTION in Limine . Document filed by E. Jean Carroll,
                           Donald J. Trump.Motion or Order to File Under Seal: 131 .(Kaplan, Roberta) (Entered:
                           04/20/2023)
  04/20/2023           133 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 132 MOTION
                           in Limine . . Document filed by E. Jean Carroll, Donald J. Trump. Motion or Order to File
                           Under Seal: 131 .(Kaplan, Roberta) (Entered: 04/20/2023)
  04/20/2023           134 ***SELECTED PARTIES***DECLARATION of Roberta A. Kaplan in Support re: 132
                           MOTION in Limine .. Document filed by E. Jean Carroll, Donald J. Trump.
                           (Attachments: # 1 Exhibit 1 - April 19, 2023 Deposition of E. Jean Carroll, # 2 Exhibit 2 -
                           Document #1 dated September 3, 2020, # 3 Exhibit 3 - Document #2 dated September 22,
                           2020, # 4 Exhibit 4 - Document #3 dated September 22, 2020, # 5 Exhibit 5 - Document
                           #4 dated September 23, 2020, # 6 Exhibit 6 - Document #5 dated September 23, 2020, # 7
                           Exhibit 7 - Document #6 dated April 17, 2023, # 8 Exhibit 8 - Excerpts from October 14,
                           2022 Deposition of E. Jean Carroll, # 9 Exhibit 9 - Document #7 dated April 18,
                           2023)Motion or Order to File Under Seal: 131 .(Kaplan, Roberta) (Entered: 04/20/2023)
  04/21/2023           135 ORDER granting 128 Motion for W Perry Grant to Appear Pro Hac Vice (HEREBY
                           ORDERED by Judge Lewis A. Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered:
                           04/21/2023)
  04/21/2023           136 ORDER granting 131 Letter Motion to Seal (HEREBY ORDERED by Judge Lewis A.
                           Kaplan)(Text Only Order) (Kaplan, Lewis) (Entered: 04/21/2023)
  04/21/2023           137 MEMO ENDORSEMENT on re: 131 LETTER MOTION to Seal addressed to Judge
                           Lewis A. Kaplan from Roberta A. Kaplan, dated April 20, 2023. filed by E. Jean Carroll.
                           ENDORSEMENT: Granted. SO ORDERED. (Signed by Judge Lewis A. Kaplan on
                           4/21/23) (yv) (Entered: 04/21/2023)
  04/21/2023           138 LETTER addressed to Judge Lewis A. Kaplan from Joseph Tacopina dated 04/21/2023 re:
                           Objections to the Parties Deposition Designations as to Defendant's Deposition.
                           Document filed by Donald J. Trump. (Attachments: # 1 Exhibit A: Deposition
                           Designations).(DeOreo, Matthew) (Entered: 04/21/2023)
  04/21/2023           139 MOTION, Re: for Leave to File a Motion to Intervene as an interested party. Document
                           filed by Towaki Komatsu, proposed intervenor. (sc) Modified on 4/21/2023 (sc).

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?614828240090263-L_1_0-1                                             18/28
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I<APLAN 1-IECI<ER & FINI< Ll,P                                 350 FIFTH AVENUE I 63iiD FLOOR
                                                               NEW YORK, NEW YORI< 10'118

                                                               1050 K STREET NW I SUITE 10~0
                                                               WASHINGTON, DC 20001

                                                               TEL (212) 763·0883 I FAX (212) 564·0883
                                                               WWW. KAPLANH ECKER.COM



i~E~iO ENDORSED
   VIAECF

   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New Yark 10007
                                                                 './
                          Re:     Carroll v. Trump, 22 Civ. 100,16 (,lyAJ() ·;•,

   Dear Judge Kaplan:

           We write on behalf of Plaintiff E. Jean Cano II pursuant to Your Honor's Individual Rules
   of Practice to seek approval to file under seal a motion in limine and related papers.

          Yesterday, the parties concluded the limited discovery that the Court had permitted into
   "whether and when plaintiff or her counsel obtained financial support." ECF 110 at 2. Plaintiff
   now moves to preclude evidence, argument, or questioning related to the funding that Plaintiffs
   counsel obtained to cover certain costs and fees in this litigation.

          Sealing of this motion is wananted for three reasons.

           First, the public's interest in accessing inelevant evidence is extremely limited. While
   "[t]here is a common law presumption in favor of permitting public access to judicial documents,"
   Flatiron Acquisition Vehicle, LLC v. CSE Mortg. LLC, No. 1: 17 Civ. 8987, 2021 WL 4481853, at
   *l (S.D.N.Y. Sept. 29, 2021) (citation omitted), the weight of this presumption falls "on a
   continuum from matters that directly affect the adjudication to matters that come within a court's
   purview solely to insure their inelevance," Ello v. Singh, 531 F. Supp. 2d 552, 583 (S.D.N.Y.
   2007). The Court has already held that "[t]he question whether and when plaintiff or her counsel
   have obtained financial suppo1i in this action has nothing directly to do with the ultimate merits of
   the case," ECF 110 at 2 (emphasis added), and the now-supplemented record confirms that
   conclusion (as we demonstrate in our motion papers). Therefore, the interest in public access here
   is minimal, particularly given that the parties' previous on-the-record filings already afford the
   public meaningful access to information about this otherwise inelevant and tangential topic. Cf
   United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) ("Documents that play no role in the
   performance of Article III functions, such as those passed between the parties in discovery, lie
   entirely beyond the presumption's reach .... ").
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KAPLAN HECKER & FINK LLP                                                                             2


           Second, substantial aspects of our filing implicate the attorney-client and work product
   privileges, which "may overcome the presumption of access" to judicial documents. Flatiron
   Acquisition Vehicle, LLC, 2021 WL 4481853, at *2. Plaintiff provided certain privileged
   information to Trump pursuant to the Court's order and in the spirit of cooperation; in tum,
   Trump's counsel agreed in writing that any waiver of privilege was limited specifically to the
   documents and testimony provided. See Ex. 7; see also Ex. 1 at 11 :13-21, 17:22-4. The privileges
   implicated here provide "precisely the kind of countervailing concern that is capable of overriding
   the general preference for public access to judicial records." Diversified Grp., Inc. v. Daugerdas,
   217 F.R.D. 152, 160 (S.D.N.Y. 2003); see also Fairfield Sentry Ltd. v. Krys, 714 F.3d 127, 140
   (2d Cir. 2013) ("Important as public access to court documents may be, it is not an exceptional
   and fundamental value. It is a qualified right.").

           Finally, publicly filing this motion and the accompanying materials on the eve of trial
   would raise unique concerns. Stated simply, evidence that is inadmissible at trial should not be
   unnecessarily entered into the public record just before this highly watched trial is to begin,
   particularly where (as we explain) one reason why the evidence is inadmissible concerns the
   potential for unfair prejudice and confusion of the issues. See Maragh v. Roosevelt Island
   Operating Corp., No. 21-2129, 2022 WL 14199384, at *2 (2d Cir. Oct. 25, 2022) (finding no
   abuse of discretion in "keeping [] inadmissible evidence under seal"); United States v. Giordano,
   158 F. Supp. 2d 242, 247 (D. Conn. 2001) (sealing documents where "there is a substantial
   likelihood that this evidence would be the subject of the inordinate, extensive and unwavering
   publicity that this case has and will undoubtedly continue to receive, there exists a real danger that
   premature publication of this evidence could make a fair trial impossible").

          Accordingly, Carroll respectfully requests leave to file under seal, and further respectfully
   requests that any subsequent filings and hearings relating to Plaintiffs motion be under seal as
   well.



                                                                         Respectfully submitted,



                                                                         Roberta A. Kaplan

   cc:    Counsel of Record
                                                      Granted.

                                                      SO ORDERED.
                                                      Isl Lewis A. Kaplan
                                                      Lewis A. Kaplan
                                                      United States District Judge

                                                      Dated: April 21, 2023
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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,

                   Plaintiff,

      v.                                     No. 20 Civ. 7311 (LAK) (JLC)

DONALD J. TRUMP, in his personal capacity,

                   Defendant.




  PLAINTIFF E. JEAN CARROLL’S MEMORANDUM OF LAW IN SUPPORT OF
                     OMNIBUS MOTION IN LIMINE



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                                  PRELIMINARY STATEMENT

        The central question for the jury is whether Defendant Donald J. Trump lied when he

denied sexually assaulting Plaintiff E. Jean Carroll in a Bergdorf Goodman dressing room. This

case is not a complicated one, and the Court should make certain straightforward rulings to ensure

an efficient and orderly trial.

        The Court should first rule on the admissibility of two key parts of Carroll’s evidence. It

should admit Carroll’s prior consistent statements about Trump’s attack, which rebut Trump’s

repeated claim that Carroll fabricated her allegations. The Court should also admit the testimony

of two other women whom Trump sexually assaulted in a similar way. Their testimony is

admissible because a sexual assault is a “factual premise” of Carroll’s claim, and because their

testimony evidences Trump’s modus operandi of forcing himself on nonconsenting women.

        The Court should next rule on the inadmissibility of certain of Trump’s evidence. It should

exclude testimony by Trump’s rebuttal expert because he offers only ipse dixit opinions regarding

Carroll’s damages—and also because he fails to respond to the bulk of Carroll’s expert’s report;

dedicates much of his own report to impermissibly drawing legal and factual conclusions; and

engages in data-less, conclusion-driven speculation. The Court should also bar Trump from calling

previously undisclosed witnesses, as well as from testifying to information that he claims those

undisclosed witnesses would provide on his behalf or addressing the issue of DNA evidence.

        Finally, the Court should place limits on the prejudicial tactics that Trump has already

previewed in this litigation. The Court should preclude Trump from inquiring into a witness’s

irrelevant and dated misdemeanor convictions, an unrelated pending lawsuit, and her treatment of

a serious foot injury. The Court should also preclude Trump and his counsel from distracting the

jury from the issues actually in dispute by attacking Carroll’s choice of counsel.




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                                        STANDARD OF REVIEW

        “The purpose of an in limine motion is to aid the trial process by enabling the Court to rule

in advance of trial on the relevance of certain forecasted evidence, as to issues that are definitely

set for trial, without lengthy argument at, or interruption of, the trial.” Mango v. BuzzFeed, Inc.,

316 F. Supp. 3d 811, 812 (S.D.N.Y. 2018) (quoting Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir.

1996)). “A district court’s inherent authority to manage the course of its trials encompasses the

right to rule on motions in limine.” Highland Capital Mgmt., L.P. v. Schneider, 551 F. Supp. 2d

173, 176–77 (S.D.N.Y. 2008) (citing Luce v. United States, 469 U.S. 38, 41 n.4, 105 S. Ct. 460,

463 n.4 (1984)). In ruling on evidentiary issues, trial courts enjoy significant discretion “within the

bounds of the Federal Rules of Evidence.” In re United States, 945 F.3d 616, 630 (2d Cir. 2019).

                                                 ARGUMENT

I.      THE COURT SHOULD ADMIT CARROLL’S PRIOR STATEMENTS ABOUT
        THE ATTACK

        The core of Trump’s defense in this case is that, in connection with her 2019 book, Carroll

completely fabricated an account of him sexually assaulting her. But decades before she published

her book, and within days of the attack at Bergdorf’s, Carroll confided in two close friends—Lisa

Birnbach and Carol Martin—that Trump had sexually assaulted her. 1 Those prior statements by

Carroll are admissible under Rule 801(d)(1)(B), as the Court should confirm prior to trial.

        A prior statement is excluded from the definition of hearsay, and thus permitted as

substantive evidence, when that statement is “consistent with the declarant’s testimony” and

offered “to rebut an express or implied charge that the declarant recently fabricated [her testimony]

or acted from a recent improper influence or motive in so testifying.” Fed. R. Evid. 801(d)(1)(B);



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  This motion incorporates by reference the factual presentation included in Carroll’s opposition to Trump’s summary
judgment motion and in her Rule 56.1 response. ECF 113, 115.



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see also United States v. Flores, 945 F.3d 687, 704–05 (2d Cir. 2019). A “prior consistent

statement … may be proffered through any witness who has firsthand knowledge of the statement.”

United States v. Caracappa, 614 F.3d 30, 39 (2d Cir. 2010).

       Carroll’s prior statements to Birnbach and Martin regarding Trump’s sexual assault clearly

satisfy this Rule. First, the statements are consistent: Carroll’s testimony at trial about how Trump

raped her will match what she told Birnbach and Martin in the days after the attack occurred.

Birnbach will testify that Carroll called immediately after leaving Bergdorf’s and explained in

detail what had happened to her minutes before, from Trump and Carroll’s initial banter to his

attack in the lingerie dressing room. Ex. 1 (“Birnbach Dep.”) at 31:12–32:7, 34:6–39:20. Similarly,

Martin will testify that Carroll told Martin that Trump had raped her at Bergdorf’s just a day or

two after the assault. Ex. 2 (“Martin Dep.”) at 27:23–28:18, 32:6–12, 33:25–34:6. Both women

will also testify that the account of the rape as described in Carroll’s book aligns what she told the

two of them at the time. Id. at 40:13–19; Birnbach Dep. at 51:25–52:12. Second, the statements

rebut a charge of recent fabrication: Trump has claimed that Carroll fabricated her sexual assault

allegation for a variety of nefarious reasons, including because she was “trying to sell a new book”

(which, he has insisted, “should indicate her motivation”). Ex. 3 (“Trump Dep.”) at 58:4–60:5; see

also id. at 88:14–17 (claiming that Carroll “was trying to carry out a political agenda”). Carroll’s

prior statements are thus admissible under Rule 801(d)(1)(B)(i). See United States v. O’Connor,

650 F.3d 839, 862–63 (2d Cir. 2011) (upholding admission of prior statements about sexual abuse

where defense claimed that victim had recently fabricated the abuse allegation).

       The Court need not wait until trial to make this determination. The Second Circuit has

rejected the argument that Rule 801(d)(1)(B) “is applicable only if the declarant’s credibility or

memory is challenged during cross examination.” Flores, 945 F.3d at 706. Prior consistent




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statements may be admitted where “it was clear that [the declarant] would be subject to cross-

examination,” and where the declarant’s credibility or memory has been put at issue. Id.; see also

O’Connor, 650 F.3d at 862–63; United States v. Ray, No. 20 Cr. 110, 2022 WL 558146, at *5

(S.D.N.Y. Feb. 24, 2022). Here, there is no question that Carroll will be subject to cross-

examination, and Trump’s statements themselves (not to mention his entire litigation strategy)

explicitly call Carroll’s credibility into question. The Court should determine now that testimony

regarding Carroll’s prior consistent statements to Birnbach and Martin are admissible.

II.    THE COURT SHOULD ADMIT THE TESTIMONY OF STOYNOFF AND LEEDS
       REGARDING THEIR SIMILAR EXPERIENCES WITH TRUMP

       At his deposition, Trump acknowledged past statements in which he boasted about sexually

forcing himself on women without consent: “I just start kissing them. It’s like a magnet. Just kiss. I

don’t even wait. And when you’re a star, they let you do it. You can do anything, grab them by the

pussy. You can do anything.” Trump Dep. at 174:5–10; see also id. at 169:8–9. And when pressed

on his claim that “you can do anything, grab them by the pussy. You can do anything,” Trump

doubled down: “Well, historically, that’s true with stars.” Id. at 174:9–13; see also id. at 174:20–

21 (“Q. And you consider yourself to be a star? A. I think you can say that, yeah.”).

       It is unsurprising, then, that what happened to Carroll at Bergdorf’s was not an isolated act.

For this reason, Carroll seeks to admit the testimony of Natasha Stoynoff and Jessica Leeds, who,

like Carroll, were sexually assaulted by Trump—and who (also like Carroll) later experienced

additional shame and humiliation when Trump publicly denied their accusations and insulted their

physical appearance as part of his explanation for why the alleged assault did not occur.

       Stoynoff testified at her deposition in this case that Trump sexually assaulted her at Mar-

a-Lago in 2005 when she was writing a story for People Magazine about Trump’s upcoming one-

year wedding anniversary. Ex. 4 (“Stoynoff Dep.”) at 14:23–25. During their interview, Trump



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led Stoynoff to an empty room, claiming that he wanted to show her a painting. Id. at 20:10–15.

Once there, Trump closed the door behind them, grabbed Stoynoff’s shoulders, pushed her against

the wall, and started “kissing and groping [her] without consent.” Id. at 21:2–8, 38:9–10. Stoynoff

pushed him back twice, but Trump stopped attacking her only after a staff member walked in. Id.

at 21:20–21, 22:3–6. After Stoynoff came forward with her allegations, Trump disparaged her at

a rally, denying the attack and saying, “look at her, go take a look at her.” Id. at 39:14–25.

       Leeds testified that sometime around 1979, Trump sexually assaulted her on an airplane.

Ex. 5 (“Leeds Dep.”) at 17:20–22, 18:10–11. A stewardess unexpectedly invited Leeds to sit in

first class in the seat next to Trump. Id. at 17:5–15. After they made small talk and finished their

meals, Trump suddenly lunged at Leeds. Id. at 18:10–11. He tried to kiss her, grabbed her breasts,

pulled himself onto her, and started to put his hand up her skirt. Id. at 19:3–15. When Leeds

realized no one was going to help her, she escaped the seat and went to the back of the plane. Id.

at 19:16–18. A few years later, when Trump saw her at a charity event, he stated, “you’re the cunt

from the airplane.” Id. at 22:4–16. And after Leeds came forward with her allegations, Trump

denied them and implied that she too “was not his type.” Id. at 27:7–12.

       A.      Stoynoff’s and Leeds’ Testimony About Trump’s Sexual Assault Are
               Admissible Under Rule 415

       Stoynoff’s and Leeds’ accusations against Trump, and his responses denying those

accusations, are relevant evidence that he committed additional sexual assaults.

       Rule 415 provides that, “[i]n a civil case involving a claim for relief based on a party’s

alleged sexual assault … , the court may admit evidence that the party committed any other sexual

assault.” Such evidence “may be considered on any matter to which it is relevant,” including a

defendant’s “propensity to commit the alleged acts,” creating an exception to the common law’s

general prohibition on the use of propensity evidence. Boyce v. Weber, No. 19 Civ. 3825, 2021



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WL 2821154, at *8 (S.D.N.Y. July 7, 2021) (discussing United States v. Spoor, 904 F.3d 141, 154

(2d Cir. 2018)). In creating that exception, Congress “considered knowledge that the defendant

has committed [sexual assault] on other occasions to be critical in assessing the relative plausibility

of sexual assault claims and accurately deciding cases.” Boyce, 2021 WL 2821154, at *8 (quoting

United States v. Schaffer, 851 F.3d 166, 178 (2d Cir. 2017)). For evidence to come in under Rule

415, two requirements must be satisfied: (1) the case at hand must be “based on” a “sexual assault,”

and (2) the conduct alleged by the nonparty accuser must meet the definition of “sexual assault.”

United States v. Barnason, 852 F. Supp. 2d 367, 372 (S.D.N.Y. 2012).

       These requirements are both satisfied here. Starting with the first requirement, Carroll’s

claim against Trump is “based on” a sexual assault. As courts have recognized, the relevant

question is “whether an alleged sexual assault constitutes a factual premise of the plaintiff’s claim.”

Boyce, 2021 WL 2821154, at *9; see Barnason, 852 F. Supp. 2d at 373 (admitting Rule 415

evidence in connection with Fair Housing Act claim). This Court has already recognized that

“whether Mr. Trump raped Ms. Carroll is the paramount issue” in this proceeding. ECF 96 at 15.

       Turning to the second requirement, there is no doubt that Trump’s misconduct toward

Carroll, Stoynoff, and Leeds falls within the relevant definition of “sexual assault.” That definition

comes from Rule 413(d) and covers “‘a crime under federal law or under state law … involving’

any of five categories of conduct.” Rapp v. Fowler, No. 20 Civ. 9586, 2022 WL 5243030, *1

(S.D.N.Y. Oct. 6, 2022) (omission in original) (quoting Fed. R. Evid. 413(d)). Of the five

proscribed categories, the most directly applicable ones to this case are Rule 413(d)(1) and (d)(2).

Rule 413(d)(1) captures “sexual conduct” and “sexual acts” that are criminalized under Chapter

109A, and as defined through 18 U.S.C. §§ 2241–2244, 2246. Separately, Rule 413(d)(2) captures

crimes that involve the nonconsensual contact of another person’s genitals.




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        This Court recently analyzed Rule 415 in Rapp v. Fowler. There, the plaintiff sought to

introduce evidence from two nonparty accusers that the defendant had sexually assaulted them too.

One accuser testified that the defendant had touched his leg two inches above his knee for 30 to

45 seconds. Since the incident was “not said to have involved any ‘touching, either directly or

through the clothing, of the genitalia, anus, groin, breast, inner thigh, or buttocks,’” the Court found

that the conduct did not qualify as “sexual contact”—as defined in 18 U.S.C. § 2246(3) and for the

purposes of Chapter 109A—and therefore did not fall within the meaning of “sexual assault” under

Rule 415. The second accuser testified that the defendant grabbed “him by his crotch and lifted

him on to a desk” and “began ‘grinding’ and ‘gyrating’ his erection into [him] for several seconds.”

The Court found that this conduct “certainly involved ‘sexual contact,’” and thus was admissible

evidence of a prior sexual assault under Rule 415. Rapp, 2022 WL 5243030, at *2–*3.

       The accounts of Carroll, Stoynoff, and Leeds all fit within the definition of “sexual assault,”

as interpreted by this Court and described above. Carroll will testify that Trump moved his fingers

around her genitals and then forced his penis inside her. Ex. 6 at 123:6–13. Rape undoubtedly

satisfies Rule 413(d). See Boyce, 2021 WL 2821154, at *9. Stoynoff alleges that Trump grabbed

her shoulders, pushed her against the wall, and started “kissing and groping [her] without consent.”

Stoynoff Dep. at 21:2–8, 38:9–10. And Leeds alleges that Trump attacked her by “grabbing [her]

breasts,” “pulling himself onto [her],” and “putting his hand up [her] skirt.” Leeds Dep. at 19:3–

15. Both accounts involve “touching, either directly or through the clothing, of the genitalia, anus,

groin, breast, inner thigh, or buttocks,” and Trump’s nonconsensual contact thus satisfies Rule

413(d) as well. Rapp, 2022 WL 5243030 at *2–*3; see also, e.g., 18 U.S.C. §§ 2242(3), 2244(a)(2),

2246(3). If there were any doubt on this score, Stoynoff’s and Leeds’ allegations independently

satisfy Rule 413(d)(5)—and can be properly admitted on that basis alone—because both women




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indicate in their testimony that Trump would have continued his assault had he not been stopped,

making it clear that Trump was “attempt[ing] … to engage” in further sexual contact.

       There are no Rule 403 concerns in admitting Stoynoff’s and Leeds’ testimony. Not only is

their testimony highly relevant, but there is little danger of unfair prejudice where, as here, the

conduct they allege is not “any more sensational or disturbing” than the conduct already at issue

in the case. United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d Cir. 1990); see also United

States v. Graham, No. 14 Cr. 500, 2015 WL 6161292, at *4 (S.D.N.Y Oct. 20, 2015) (holding that

probative value of testimony about defendant’s participation in other prostitution activities was no

more sensational or disturbing than the sex trafficking crime he was charged with). There is little

risk that the jury will be confused or misled by hearing the accounts of two nonparty accusers, as

“[j]urors are frequently called upon to keep track of multiple events and people.” Boyce, 2021 WL

2821154, at *6. And admitting the accounts of just two other accusers (of the 24 who have made

similar allegations against Trump according to his own campaign) is not needlessly cumulative.

Ex. 7; see Boyce, 2021 WL 2821154, at *5 (admitting the testimony of six nonparty accusers of

sexual assault under Rule 404(b)); Graham, 2015 WL 6161292, at *2 (allowing testimony

regarding defendant’s prior dealings with multiple prostitutes).

       In addition, the “Second Circuit has held that Rule 403 should be applied less rigorously

in evaluating Rule 415 evidence to avoid Rule 403 from precluding evidence Congress intended

to make admissible.” Barnason, 852 F. Supp. 2d at 376. Thus, “[w]ith respect to the Rule 403

balancing, … ‘[t]he presumption is that the evidence admissible pursuant to [Rules 413–15] is

typically relevant and probative, and that its probative value is not outweighed by any risk of

prejudice.’” United States v. Larson, 112 F.3d 600, 604 (2d Cir. 1997) (citation omitted).




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        B.      Stoynoff’s and Leeds’ Testimony About Trump’s Sexual Assault Are
                Admissible Under Rule 404(b)(2) as Evidence of Trump’s Modus Operandi

        Stoynoff’s and Leeds’ testimony is separately admissible under Rule 404(b)(2), which

provides that other wrongs or acts “may be admissible … [to] prov[e] motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid.

404(b)(2). The Second Circuit takes an “inclusionary” approach to other acts evidence under Rule

404(b). United States v. LaFlam, 369 F.3d 153, 156 (2d Cir. 2004). It allows such evidence to be

admitted for any purpose other than to demonstrate propensity, so long as the evidence is relevant

to some disputed issue at trial and satisfies Rule 403. Id. Thus, a district court may admit evidence

of uncharged acts if: “(1) [such evidence] is introduced for a proper purpose, (2) it is relevant to

the [plaintiff’s claim], (3) its prejudicial effect does not substantially outweigh its probative value,

and (4) it is admitted with a limiting instruction if requested.” United States v. Rutkoske, 506 F.3d

170, 177 (2d Cir. 2007). Both Stoynoff’s and Leeds’ proposed testimony meet these requirements.

        To start, Stoynoff’s and Leeds’ testimony is offered for a proper purpose and is relevant to

a material issue in dispute. Here, the testimony establishes a modus operandi: Trump’s pattern of

suddenly and without warning lunging at a woman, pushing his body against her, grabbing at her,

and kissing her, in what constitutes a knowing and intentional sexual assault, and later

categorically denying the allegations and declaring that the accuser was too ugly for him to have

sexually assaulted her. See supra at 4–5. Establishing modus operandi is a well-recognized proper

purpose under Rule 404(b). See United States v. Moye, 793 F. App’x 19, 21 (2d Cir. 2019); United

States v. Mohamed, 148 F. Supp. 3d 232, 240 (E.D.N.Y. 2015). Taken together, Stoynoff’s and

Leeds’ testimony contain “characteristics [that] are sufficiently idiosyncratic to permit a fair

inference of a pattern’s existence.” Mohamed, 148 F. Supp. 3d at 241 (quoting United States v.

Sliker, 751 F.2d 477, 487 (2d Cir. 1984)); see also United States v. Cadet, 664 F.3d 27, 33 (2d Cir.



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2011) (“There is no necessity for synonymity but there must be substantial relevancy.”).

Moreover, that modus operandi is directly relevant to a material issue in dispute here: it makes it

more likely that Trump sexually assaulted Carroll and then lied when he denied having done so

(since doing so would square with his modus operandi). Recognizing the highly probative nature

of an established modus operandi, courts regularly admit such evidence in this context. E.g.,

Boyce, 2021 WL 2821154, at *5; Montanez v. City of Syracuse, No. 16 Civ. 00550, 2019 WL

4328872, at *4 (N.D.N.Y. Sept. 12, 2019); accord Alaniz v. Zamora-Quezada, 591 F.3d 761, 774–

75 (5th Cir. 2009).

       In addition, the prejudicial effect of Stoynoff’s and Leeds’ testimony does not substantially

outweigh the probative value, as explained above. See supra 8. And, to mitigate any possible

concern, the jury can be instructed on the permissible uses of the other acts evidence admitted

under Rule 404(b)(2), if necessary. Montanez, 2019 WL 4328872, at *4; see LaFlam, 369 F.3d at

157; United States v. Araujo, 79 F.3d 7, 8 (2d Cir. 1996).

III.   THE COURT SHOULD PRECLUDE ROBERT J. FISHER FROM TESTIFYING
       AS A REBUTTAL EXPERT WITNESS

       As part of this action, Carroll engaged Professor Ashlee Humphreys to assess the effect of

Trump’s statements on Carroll’s reputation. Professor Humphreys constructed quantitative models

to analyze the dissemination of Trump’s defamatory statements, their impact, and the cost to

counteract the damage to Carroll’s reputation through a reputation repair campaign. See Ex. 8

(“Humphreys Rep.”) at 26–72 & Appxs. D, E, F, G, J, K. Those models confirmed that Trump’s

statements reached an immense audience, generating between 142,334,424 and 188,155,507

impressions, id. at 35, and harming Carroll’s reputation and professional endeavors, with 25.25%

of readers and listeners likely to believe Trump, id. at 61. Ultimately, Professor Humphreys




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demonstrates that Trump’s statements caused a “significant shift” in Carroll’s reputation and that

her reputation “has been, and continues to be harmed.” Id. at 4, 72.

       Trump engaged Robert J. Fisher as his rebuttal expert. Under Rule 26(a)(2)(D)(ii), a party

may submit expert testimony that is “intended solely to contradict or rebut evidence on the same

subject matter identified by another party.” But Fisher does not engage in any meaningful way

with Professor Humphreys’ report. Far from it: Fisher submitted a 12-page report, nine pages of

which are dedicated to reciting his qualifications, casting suspicion on Humphreys’ qualifications,

and opining on the legal merits, facts, and credibility of the witnesses. See Ex. 9 (“Fisher Rep.”)

at 4–9; see also id. at 1–3, 10–12. At his deposition, Fisher conceded that he had failed to read

large sections of Professor Humphreys’ report, completed his research and analysis “overnight,”

and responded only—and partially—to Professor Humphreys’ damages model (and nothing

more). Ex. 10 (“Fisher Dep.”) at 105:2–109:17, 183:2–3, 316:4–11.

       Fisher’s report is a textbook example of unreliable and patently impermissible rebuttal

opinion, and he should be precluded from testifying. Although rebuttal experts have “no burden to

produce models or methods of their own,” they still “must meet Daubert’s threshold standards

regarding the qualifications of the expert, sufficiency of the data, reliability of the methodology,

and relevance of the testimony.” Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 44 (S.D.N.Y.

2016) (citation omitted); see also United States v. Williams, 506 F.3d 151, 160 (2d Cir. 2007)

(burden on proponent of expert to establish that he meets these standards by a preponderance of

the evidence). Here, Fisher cannot meet the necessary reliability standards of Daubert v. Merrell

Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786 (1993), and Federal Rule of Evidence

702. Breaking his report down, there are additional grounds to exclude each of his purported areas

of testimony, with the ultimate effect of leaving him nothing about which to testify.




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         A.       The Court Should Preclude Fisher’s Testimony in its Entirety Because His
                  Analysis Is Not Reliable

         The district court is the gatekeeper of expert testimony and is charged with “ensur[ing] that

an expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.” United

States v. Kaufman, No. 19 Cr. 504, 2021 WL 4084523, at *18 (S.D.N.Y. Sept. 8, 2021) (quoting

Daubert, 509 U.S. at 597, 113 S. Ct. at 2788). Here, Fisher explicitly disclaims the use of data,

methods, science, or any literature to inform his opinions. E.g., Fisher Dep. at 304:16–310:14,

387:14–15, 397:6–7; see also id. at 127:6–8 (“I’m a little skeptical about—you know, academia

people and their theories on how you should do things ….”); id. at 310:25 (“Well, I don’t

particularly get into data ….”); see also id. at 116:10–13. Instead, he says he relied solely on his

personal knowledge informed by his experience in public relations. See, e.g., id. at 313:4–9. 2

         It is possible for an expert to “draw a conclusion from a set of observations based on

extensive and specialized experience,” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156, 119 S.

Ct. 1167, 1178 (1999), in which case “the method is the application of experience to facts,” In re

Methyl Tertiary Butyl Ether (MTBE) Prod. Liab. Litig., No. 00 Civ. 1898, 2008 WL 1971538, at

*6 (S.D.N.Y. May 7, 2008). But that method still requires an expert “do more than aver

conclusorily that his experience led to his opinion.” Lippe v. Bairnco Corp., 288 B.R. 678, 686

(S.D.N.Y. 2003), aff’d, 99 F. App’x 274 (2d Cir. 2004). The expert “must explain how that

experience leads to the conclusion reached, why that experience is a sufficient basis for the

opinion, and how that experience is reliably applied to the facts.” Id. (quoting Fed. R. Evid. 702,

advisory committee note). If the testimony is “speculative or conjectural,” “based on assumptions


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  Some of Fisher’s “experience” is itself doubtful. For example, he repeatedly cites his experience as a “reporter” for
the New York Times. See Fisher Rep. at 3; Fisher Dep. at 313:9. But he testified at his deposition that he worked at
the Times for less than a year in the 1960s not long after college, and that he wrote articles that were “based on pirating
something” from another newspaper, explaining the process as “basically plagiarism.” Fisher Dep. at 16:5–7, 17:16–
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that are ‘so unrealistic and contradictory as to suggest bad faith,’” or “connected to existing data

only by the ipse dixit of the expert,” it must be excluded. Id. (citations omitted). At bottom, a court

must “make certain that an expert, whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.” Kumho Tire, 526 U.S. at 152, 119 S. Ct. at 1176.

       Fisher’s analysis fails this reliability test for at least three reasons: first, the report is the

result of a hasty, last-minute effort; second, Fisher did not review Professor Humphreys’ report or

the underlying information as obviously would be necessary to rebut her opinions; and finally, he

failed to tie his experience and personal knowledge to his conclusions in a non-speculative manner.

       First, to say the report was the result of a rushed process is an understatement. Despite

having several years’ notice that Carroll intended to seek defamation damages (and thirty days

from the issuance of Professor Humphreys’ report), Trump hired Fisher five days before the

rebuttal report was due. Fisher Dep. at 99:11–17. Fisher then wrote his report “overnight,” id. at

183:2–3, with the entirety of his research consisting of “four or five” news articles about the case.

Id. at 98:21–99:17. This lack of effort could not be more evident from the report itself, which is

riddled with inaccuracies about Professor Humphreys’ report. Fisher is keenly aware of his report’s

defects—and he repeatedly described problems and inaccuracies as byproducts of his own hasty

drafting. Id. at 183:2–3, see also id. at 99:16–17, 103:4–7, 319:9–14. It is clear from the face of

the report and confirmed by his deposition that Fisher did not employ the same level of “intellectual

rigor that characterizes the practice” of his field. Fed. R. Evid. 702, advisory committee note.

       Second, these reliability problems are compounded by the fact that Fisher failed to read

Professor Humphreys’ report closely or consider certain aspects of it at all. Professor Humphreys’

report contained twelve appendices, and she supplied access to a separate drive containing the




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materials she relied on. See Humphreys Rep. at 5 & Appxs. A–L. Those appendices and

supplemental materials contained the information she considered, the models she created, and a

large collection of the negative public and private messages that Carroll received. See id. Fisher

did not read the appendices. Fisher Dep. at 105:2–109:17. Nor did he review a single article, book,

or other source that Professor Humphreys relied on in her analyses. Id. at 385:23–386:4.

        As a predictable consequence of that choice, Fisher offered assumptions about Carroll and

Professor Humphreys’ report that were plainly inaccurate. 3 This sheer sloppiness caused Fisher to

recant many aspects of his report when confronted with the information that he had overlooked.

See, e.g., id. at 181:14–19, 182:19–183:7 (taking back his opinion that “Trump’s implication” that

Carroll had falsely accused other men of sexual assault “was true,” stating “Okay, I erred there. I

didn’t factor in the word ‘falsely,’” which “changes the context of this definitely”); id. at 200:22–

207:11 (conceding that, contrary to the claim in his report, Professor Humphreys did account for

the “he said” side of what he describes as a “he said, she said” case); see also id. at 322:12–6,

379:15–380:2, 389:7–14. 4 Fisher’s failure to read any documents supporting the opinion he

purports to rebut may alone be grounds for exclusion: “The reliability of [an expert’s] analysis …

is called into question by the fact that [he] disclosed at his deposition that he had failed to review

all of the documents produced by the [opposing party] in the course of preparing his expert report.”

Faulkner v. Arista Records LLC, 46 F. Supp. 3d 365, 381 (S.D.N.Y. 2014).


3
  Take, for example, Fisher’s comments that “I don’t think anyone has a negative impression of Ms. Carroll,” Fisher
Dep. at 383:20–22, and that there was a “questionable negative impact on Carroll,” Fisher Rep. at 11. Professor
Humphreys had attached to her report hundreds of negative messages that Carroll has received since Trump’s
statements that repeated his insults and denials. Humphreys Rep. at 51–58.
4
  In addition to inaccuracies, Fisher’s report also contained plagiarized material. After criticizing Professor
Humphreys’ definition of “reputation,” Fisher supplied a supposedly distinct definition that he claimed he wrote
specifically for purposes of his 2022 report. Fisher Dep. at 220:4–224:6. But he had no explanation when confronted
with the fact that the definition appears verbatim in an article from 2018 that Fisher did not author. Id. at 225:12–
229:7 (“Q. Can you read the first three sentences of the article. A. … Boy that sounds familiar. … I’m looking like
I’m a plagiarist or something. … [M]y compliments to whoever found this though.”).



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       Finally and most importantly, Fisher fails to supply the requisite foundation for his

opinions. In fact, conclusory opinions are all that Fisher’s report actually offers. He does not

provide any analysis, does not show how his experience informs his opinions, and does not cite a

single source. Instead, he claims to have relied on his so-called “common sense.” See Fisher Dep.

at 335:20–21 (“I’m a big believer in rhyme, reason, logic, and common sense.”); id. at 310:13

(describing his methodology as an “educated feel”); see also id. at 170:24, 336:16–17.

       Courts routinely exclude experts who offer nothing more than “a compendium of [their

personal] opinions.” Koppell v. N.Y. State Bd. of Elections, 97 F. Supp. 2d 477, 481 (S.D.N.Y.

2000); see also, e.g., LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A., 209 F. Supp. 3d 612,

648 (S.D.N.Y. 2016), aff’d, 720 F. App’x 24 (2d Cir. 2017). Courts rule this way because

“subjective belief or unsupported speculation” are not themselves reliable methods, even when

relying on personal knowledge and experience to testify. Daubert, 509 U.S. at 590, 113 S. Ct. at

2795. Nor are vague references to “common sense” enough: “If [an] opinion is based on simple

common sense, it is not helpful; the jury does not need expert opinion because its common sense

will suffice. And if the jury needs expert opinion because common sense will not suffice, it must

come from an expert who is applying her expertise.” In re Mirena IUD Prod. Liab. Litig., 169 F.

Supp. 3d 396, 484 (S.D.N.Y. 2016). Here, Fisher is not applying his expertise in any apparent

respect; instead, he is merely “attribut[ing] [his] opinion to simple logic rather than any application

of principles of [reputation repair].” Id. In the end, he offers nothing more than a “‘because I said

so’ explanation,” which “cannot satisfy the reliability prong of Rule 702 and Daubert.” United

States v. Ray, 583 F. Supp. 3d 518, 542 (S.D.N.Y. 2022).

       For all these reasons, Fisher’s testimony should be excluded in its entirety.




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         B.       Each Portion of Fisher’s Testimony Should Be Precluded for Further Reasons

                  1.        Fisher Should Not Be Permitted to Address Professor Humphreys’
                            Impressions Model or Impact Assessment

         An expert report “must contain a complete statement of all opinions the witness will

express and the basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(i). Of the three tasks that

Professor Humphreys’ report addresses, Fisher’s report includes the “opinions [he] will express”

in response to only one. Professor Humphreys’ report sets forth: (1) an Impressions Model; (2) an

Impact Assessment; and (3) a Damages Model. Humphreys Rep. at 26–72 & Appxs. D, E, F, G, J,

K. But Fisher’s report does not address the Impressions Model or the Impact Assessment at all.

Indeed, Fisher conceded at his deposition that he did not even review her data quantifying the

number of impressions of the defamatory statements or the ideological makeup of those who read

or heard them. Fisher Dep. at 316:4–11.

         Instead of responding to Professor Humphreys’ analysis or methodology, as would be his

role as a rebuttal witness, Fisher simply stated there was no point in doing those calculations at all.

See id. at 296:3–8 (“I don’t think there is a need to figure out how many people [saw or heard the

statements].”); id. at 308:5–7 (“I don’t feel the need to respond on [how many people believed the

statements.”); id. at 316:20–21 (“I don’t need to see surveys to have a good feel on how many

people would believe what he said.”); see also id. at 315:13–320:1. Thus, Fisher should be

precluded from commenting on the Impressions Model or Impact Assessment for the first time in

front of the jury. See Engler v. MTD Prod., Inc., 304 F.R.D. 349, 354 (N.D.N.Y. 2015). 5 That is,


5
 Indeed, “preclusion is automatic absent a determination of either substantial justification or harmlessness.” Engler,
304 F.R.D. at 355 (cleaned up); see also LaMarca v. United States, 31 F. Supp. 2d 110, 122 (E.D.N.Y. 1998) (“[The]
duty to disclose information concerning expert testimony is intended to allow ‘opposing parties to have a reasonable
opportunity [to] prepare for effective cross examination and perhaps arrange for expert testimony from other
witnesses.’”). Fisher’s failure to set forth these opinions was hardly justified. His only excuse for an incomplete report
was the lack of time he had to draft it, but Trump’s delinquency in hiring an expert is no excuse for flouting Rule 26.
See, e.g., Fisher Dep. at 309:16–310:1 (Q. “[D]o you a agree it is important [] in order to understand the impact of



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Fisher should be precluded from opining on Professor Humphreys’ findings of how widely the

statements were disseminated, where they were disseminated, the makeup of people to whom they

were disseminated, or the percentage of people likely to have believed the statements.

                  2.       Fisher Should Not Be Permitted to Draw Legal or Factual Conclusions

         Fisher devotes nearly half of his report to impermissible legal conclusions and factual

determinations that fall far outside the bounds of permissible expert opinion. See Fisher Rep. at 4–

9; see also id. at 2–4, 9–12. That impermissibility should be uncontroversial, as an expert may not

usurp (1) “the role of the trial judge in instructing the jury as to the applicable law,” Nimely v. City

of N.Y., 414 F.3d 381, 397 (2d Cir. 2005); (2) “the role of the jury in applying that law to the facts

before it,” id.; or (3) “the role of the trial court to act as gatekeepers to ensure the relevance and

reliability of all expert testimony,” Capri Sun GmbH v. Am. Beverage Corp., 595 F. Supp. 3d 83,

138–39 (S.D.N.Y. 2022). Fisher’s report attempts to do all three.

         First, in a section titled “Analysis of Statements,” Fisher goes through each allegedly

defamatory statement and offers his opinion on whether the statement meets the legal criteria for

defamation. Fisher Rep. at 4–7. He then concludes: “It is my opinion that none of the statements

she identified can be determined as being false and the negative implications are expressions of

his opinions which constitute free speech and are protected under the First Amendment.” Id. at 7;

see id. at 8–9 (similar for defamation per se). 6 It is hard to imagine anything that would more

demonstrably constitute legal assertions.


alleged defamation to understand the percentage of people exposed to those statements that are likely to believe it or
disbelieve it? A. Well, it’s—it’s a moot point, … because the bottom line is regardless of whether it’s something that’s
worthwhile or not in this particular case, I did not have the ability to do so or … more specific, the time to do so.”).
Nor is this failure harmless, given that discovery long ago closed and trial is approaching. Engler, 304 F.R.D. at 355.
6
  The legal conclusions include statements like, “it is more of a defamatory statement for the Plaintiff to have made a
statement that it did occur”; “Trump’s comment was clearly an opinion and constitutes speculation and supposition”;
“His statement can also be classified as conjecture, speculation and opinion”; “This can also be categorized as an
opinion”; “This was clearly an opinion.” Fisher Rep. at 5–7.



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         Second, Fisher’s report provides his opinions on the facts of the case and the credibility of

the witnesses—often relying on Trump’s deposition to support his views on truth and falsity. See

Fisher Rep. at 5–8. Indeed, he makes various factual assertions by crediting Trump’s testimony,

including that “[t]here is no evidence that the rape occurred,” “Trump was parroting something

that someone told him,” and Trump’s denial “cannot be a false statement” because it’s an act that

“hasn’t been proven to have taken place.” 7 Id. at 5–7, 11; see also id at 168:16–173:12. 8 Courts

regularly preclude expert testimony that “usurps the province of the jury to make factual

determinations,” Bank of N.Y. Mellon Tr. Co. v. Morgan Stanley Mortg. Cap., Inc., No. 11 Civ.

505, 2017 WL 715909, at *2 (S.D.N.Y. Feb. 10, 2017), or “instruct[s] the jury as to an ultimate

determination that was exclusively within its province, namely, the credibility of [witnesses],”

Nimely, 414 F.3d at 398.

         Third, throughout his report and deposition, Fisher demeans Professor Humphreys’

qualifications because, according to him, she does not have the necessary experience. See Fisher

Rep. at 2–4, 9–12; Fisher Dep. at 111:24–112:23, 117:12–25, 119:10–17, 241:11–22. 9 But it is

solely the prerogative of the court to assess the reliability of expert testimony, including whether

an expert is qualified to testify in the first place. See Capri Sun GmbH, 595 F. Supp. 3d at 13–39

(precluding an expert from testifying as to another expert’s qualifications).




7
  Fisher also characterizes Trump’s defamatory statements as “relative[ly] mild.” Fisher Rep. at 11; see also Fisher
Dep. at 391:10–16 (“Q. And is it your opinion that the President of the United States implying someone is too ugly to
sexually assault is mild? A. Yes, yes, … given who it’s coming from, yes. I mean, Trump doesn’t think much of
women.”).
8
  At his deposition, Fisher went further, hypothesizing that a person can never prove a rape happened based on her
testimony alone—not-so-subtly implying that Carroll cannot do so here. Fisher Dep. at 171:21–172:9.
9
  Fisher made his comments without even having read Professor Humphreys’ CV, Fisher Dep. at 104:12–17, without
realizing that she is a professor at Northwestern’s School of Journalism (a fact listed in the first sentence of her report),
id. at 121:4–20, and while admitting he does not know what people learn or teach in journalism school today, id. at
123:10–16; see also id. at 123:14–16 (“[W]hen I was going to journalism school, the internet didn’t exist.”).



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               3.     Fisher Should Not Be Permitted to Testify Regarding Professor
                      Humphreys’ Reputation Repair Damages Model

       In the section of his report titled “Reputation Repair Program,” Fisher offers a series of

inaccurate, unsupported conclusions that are not tied to his experience or any other methodology.

Fisher Rep. 9–12. Even where an expert’s “method” is the purported “application of experience to

facts,” the testimony must still be “grounded, well-reasoned, and not speculative,” and must “show

how his or her experience … led to his conclusion,” In re MTBE, 2008 WL 1971538 at *6 (citations

omitted). Moreover, the expert’s assumptions must have “adequate factual bas[es],” Davis v.

Carroll, 937 F. Supp. 2d 390, 418 (S.D.N.Y. 2013). Applying those familiar criteria here, Fisher’s

response to Humphreys’ damages model calculating what it would cost to counteract the negative

impact of Trump’s defamatory statements should be excluded in its entirety. His response is

speculative and conjectural; it is untied to the record; and it completely “neglects to explain how

his experience supports his conclusion[s].” LinkCo, Inc. v. Fujitsu Ltd., No. 00 Civ. 7242, 2002

WL 1585551, at *4 (S.D.N.Y. July 16, 2002); see supra at 12–13.

       The unreliability of Fisher’s analysis is most evident when taken paragraph by paragraph.

To begin, Fisher launches into a critique of Humphreys’ “Type of Program” by asserting she is

proposing only a “social media campaign” and “not a diverse [m]ulti-faceted communications

campaign,” criticizing her for “[having] almost the entire program geared to online exposure,” and

insisting that “[t]he most successful type of communications program features dissemination of

information through multiple communications channels.” Fisher Rep. at 9–10. But Professor

Humphreys’ campaign does, in fact, feature “multiple communications channels”— the majority

of her target impressions are for media types other than social media or internet sources, which is

evident on the face of her report and thoroughly detailed in Appendix K. Humphreys’ Rep. at 66–

67, 126–32. Fisher’s statement that “[t]he vast majority of her program is linked to [the internet



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and social media], at the near exclusion of other channels of communication” is blatantly

erroneous—though perhaps unsurprisingly so, considering that Fisher admitted that he only

skimmed Professor Humphreys’ report and failed to read Appendix K altogether. 10

        Fisher next attacks Professor Humphreys’ “Target Audiences,” again incorrectly asserting

that “she doesn’t clearly define her audience” and “it would appear she is targeting the public in

general.” Fisher Rep. at 10. This assertion is blatantly wrong: Professor Humphreys’ entire Impact

Assessment is dedicated to discerning the readership demographics of the different media sources

that disseminated the statements and determining the precise percentages of people who were

likely to believe Trump’s statements, and her damages analysis and reputation repair campaign are

premised on targeting that specific audience. See Humphreys Rep. at 40–59, 66. Indeed, Fisher

admitted as much at his deposition when confronted with Professor Humphreys’ clear target

audience, stating, “I will concede to you that that is a—a more targeted definition. … [Y]ou’re

right, that’s a … more defined definition.” Fisher Dep. at 379:15–380:2.

        Fisher then launches into a series of unsupported factual assertions and opinions that he

ties neither to his experience nor any other sources or methodology, as confirmed during his

deposition. His report stated that, because Trump was a “highly visible, famous and well-known

person who is also highly controversial,” “you aren’t going to change the negative comments or

opinions [Trump] had about Carroll because recipients of them will have believed them or not

when hey [sic] were first heard.” Fisher Rep. at 10. But he admitted that his opinions of Trump


10
   See Fisher Dep. at 238:9–21 (“I can’t even be sure I had the appendices, to be honest with you. But I didn’t see
[Appendix K] one way or the other.”); see also id. 103:23–104:2. As if that were not enough, reports that Fisher has
submitted in other cases reveal that he himself has proposed numerous campaigns that focus entirely on the internet,
and include no reference to broadcast TV, cable TV, radio, podcasts, or print newspapers (unlike Professor
Humphreys, who includes all these channels and more). See, e.g., Robert J. Fisher, Expert Report, Am. Society of
Home Inspectors v. Int’l Ass’n of Certified Home Inspectors, No. 18 Civ. 001559 (D. Colo. May 14, 2020), ECF 72-
1; Robert J. Fisher, Expert Report, 100+ Animal Rescue, Inc. v. Butkus, No. 17 Civ. 61893 (S.D. Fla. Feb. 14, 2020),
ECF 76; Robert J. Fisher, Expert Report, Zinn v. City of Scottsdale, No. 2:17 Civ. 01813 (Super. Ct. Ariz., Maricopa
Cty. Jan. 16, 2020), ECF 66-1.



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and the effect of Trump’s statements were based on his personal views and conversations with

“friends, business[,] family, and business associates”—not on his own expertise or any data. Fisher

Dep. at 394:12–395:2; see also id. at 316:20–22, 318:23–25. Fisher’s other comments—that

“Trump is controversial and often bombastic,” which “make[s] it less likely some people would

believe him” and that “Trump’s previous admissions of sexual inappropriateness would also lessen

people’s belief in the negative statements, comments or opinions he had of Carroll”—are equally

unsubstantiated opinions tied neither to his own expertise nor to any data. Fisher Rep. at 11; see

Fisher Dep. at 319:23–320:1.

        In addition, Fisher makes the unfounded assertion that “Carroll’s long standing positive

image would possibly offset most of his derogatory remarks,” the implication of which is that

Carroll did not incur much damage to her reputation from Trump’s statements. Fisher Rep. at 11.

Fisher admitted that this statement was not based on any data or his experience; rather, he thought

it was “reasonable to assume.” Fisher Dep. at 393:18. But this assumption is the opposite of what

he thought it was “reasonable to assume” in other cases that he has testified in. As Fisher

acknowledged, he has authored reports where he said, “It takes years to build a reputation and

seconds to destroy it.” Id. at 394:5–6. As for Fisher’s failure to apply that principle here: “I usually

do that in conjunction with the reputation damage repair programs I write … but in this case I’m

representing the defendant, so I didn’t ….” Id. at 399:6–11. Under Rule 702, testimony may be

excluded where the expert “failed to apply his own methodology reliably.” Amorgianos v. Nat’l

R.R. Passenger Corp., 303 F.3d 256, 268 (2d Cir. 2002); see also Faulkner, 46 F. Supp. 3d at 381

(where “methodology [is] aimed at achieving one result,” an expert’s “analysis is unreliable” and

“must be excluded”).

       Finally, Fisher makes a series of statements based on percentages, stating that, “[i]f only




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basically 25% would believe Trump, that leaves 75% of the public who could be impacted. If you

reasonably assume that at least 50% wouldn’t believe anything he said, you are left with a very

small percentage that you would have to reach to counteract his negative comments about Carroll.”

Fisher Rep. at 11. But Fisher’s report “provides no justification whatsoever for the numerical

values” that he selected. City of Almaty, Kazakhstan v. Ablyazov, No. 15 Civ. 5345, 2021 WL

5154110, at *13 (S.D.N.Y. Nov. 5, 2021) (cleaned up). When asked how he determined these

percentages, Fisher answered, “those are reasonable projections based on what polls and surveys

have shown about what his support is”—but admitted that no polls or surveys were cited in his

report. Fisher Dep. at 383:2–7. Here, too, his testimony violates core rules that govern expert

testimony.

IV.    THE COURT SHOULD EXCLUDE TESTIMONY OF WITNESSES NOT
       DISCLOSED IN DISCOVERY, TESTIMONY ADDUCING UNDISCLOSED
       INFORMATION, AND COMMENTARY OR TESTIMONY CONCERNING DNA

       The Federal Rules impose on litigants a duty to disclose and timely supplement certain

information as part of the discovery process. Yet, Trump admitted at his deposition that he and his

counsel have taken a loose approach to these discovery obligations because none of them took

Carroll’s case “seriously.” Trump Dep. at 205:9–18. Two elements of Trump’s discovery conduct

are of particular relevance here. First, in Trump’s initial disclosures, he referred to groups of people

with potentially relevant information in nonspecific, collective terms. Ex. 11 at 2–3. With one

irrelevant exception, Trump did not identify a single individual who was likely to have information

that he would use to support his defenses. When Trump supplemented his disclosures months later

to add a reference a potentially relevant insurance agreement, he otherwise referred back to his

prior disclosures. Ex. 12 at 2. Trump also made the same nonspecific references to witnesses in

his January 9, 2023 initial disclosures in Carroll II. Ex. 13 at 2–3.




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         Second, in the one instance Trump offered names of potential witnesses, he made clear that

his answer was neither serious nor accurate. Carroll’s Interrogatory No. 2 sought the identity of

“all individuals with whom [Defendant has] communicated, by any means, concerning Plaintiff or

this Action.” Ex. 14 at 2. After months of stalling, Trump eventually supplied a supplemental

response to that interrogatory. He listed the names of only six individuals. Id. at 2–3. It was clear

from the start that those six names had no real significance. Trump’s counsel confirmed by email

that Defendant “d[id] not intend to call any of the individuals identified in Interrogatory No. 2 as

witnesses at trial.” Ex. 15. And, then, at his deposition, Trump denied having spoken with five of

the six individuals he had previously identified. See Trump Dep. at 108:18–110:9. He even went

so far as to declare that “[t]he deposition rules” because his interrogatory responses were “not

signed by” him. Id. at 111:15–17.

         Trump’s latest word on the matter represents yet another switch. In the Joint Pretrial Order,

Trump included five new nonparty witnesses in his witness list: David Haskell, Elizabeth

Dyssegaard, Erin Hobday, Laurie Abraham, and Sarah Lazin. ECF 128. 11 But under Rule 37(c),

Trump cannot offer testimony from any undisclosed witnesses at trial absent circumstances that

are not present here. The Court should thus preclude testimony from the five new witnesses

identified in the Joint Pretrial Order and any other witness whom Trump has not disclosed. In

addition, the Court should hold that Trump cannot testify—directly or by implication—to

information that any undisclosed witnesses theoretically could have testified to if they had been

properly disclosed (which has already been an issue with Trump in these proceedings). And in the



11
  The list also includes Birnbach, Fisher, and Anderson Cooper. Carroll obviously does not object to Birnbach, as her
testimony is part of Carroll’s case-in-chief. Carroll objects to Fisher’s testimony on other grounds, as explained above.
See supra 10–22. Cooper was the only individual identified in Trump’s initial disclosures as potentially having
“discoverable knowledge or information to support one or more of his defenses.” Ex. 11 at 2. Trump did not depose
or otherwise obtain discovery from Cooper, and it is not clear what relevant information Cooper could have.



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same vein, given Trump’s repeated failure to comply with the applicable discovery rules, the Court

should preclude any testimony or commentary at trial concerning DNA evidence.

       A.      Trump Has Not Disclosed Witnesses Under Rules 26(a)(1) and (e) and Should
               Be Precluded from Calling Them to Support His Defenses

       The Federal Rules of Civil Procedure are designed to prevent “surprise” and “trial by

ambush.” Am. Stock Exch., LLC v. Mopex, Inc., 215 F.R.D. 87, 93 (S.D.N.Y. 2002). To achieve

that goal, Rule 26(a)(1) requires that a party, “without awaiting a discovery request,” proceed to

name “each individual likely to have discoverable information—along with the subjects of that

information—that the disclosing party may use to support its claims or defenses.” Fed. R. Civ. P.

26(a)(1)(A)(i). Rule 26(e) further instructs a party to “supplement or correct” a disclosure or

response when necessary. See Fed. R. Civ. P. 26(e)(1)(A). Here, Trump’s initial disclosures

identified only one person. During discovery, when the identification of witnesses is a key aspect

of the fact-finding process, Trump doubled—and tripled and quadrupled—down on his position

that he has no witnesses to call as part of his defense. Now, however, long after discovery has

closed, Trump apparently intends to call six nonparty witnesses. But his failure to identify all but

one of those witnesses earlier in the process precludes him from using any of the five previously

undisclosed witnesses, none of whom were deposed, at trial. 523 IP LLC v. CureMD.Com, 48 F.

Supp. 3d 600, 638 (S.D.N.Y. 2014).

       The consequences for violating Rule 26 are clear: “the party is not allowed to use that

information or witness to supply evidence … at a trial, unless the failure was substantially justified

or is harmless.” Fed. R. Civ. P. 37(c)(1). That analysis is aided by four factors: “(1) the party’s

explanation for the failure to comply with the disclosure requirement; (2) the importance of the

testimony of the precluded witnesses; (3) the prejudice suffered by the opposing party as a result




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of having to prepare to meet the new testimony; and (4) the possibility of a continuance.” Patterson

v. Balsamico, 440 F.3d 104, 117 (2d Cir. 2006) (cleaned up). Each factor favors preclusion here.

         First, Trump’s discovery conduct to date belies any argument that his failure to identify

evidence or witnesses was justified. See, e.g., Simon v. City of N.Y., No. 14 Civ. 8391, 2017 WL

57860, at *6 (S.D.N.Y. Jan. 5, 2017). Indeed, Carroll identified Trump’s new witnesses in her

responses to Trump’s sweeping interrogatories or even earlier in the litigation, but he did not list

any of them in any of his disclosures in this action or in Carroll II. 12 Second, Trump has maintained

the position throughout this case “that the underlying incident alleged in the Complaint did not

occur,” Ex. 11 at 2, and he testified at his deposition that he could not point to any documents or

witnesses to corroborate his account, Trump Dep. 75:25–76:16. Third, disclosure of a new witness

after the close of fact discovery and on the eve of trial is inherently prejudicial. See, e.g., Patterson,

440 F.3d at 118. Finally, and for good reason, the Court has previously declined to allow Trump

to continue delaying these proceedings based on a failure to follow the rules. See Carroll v. Trump,

590 F. Supp. 3d 575, 587 (S.D.N.Y. 2022). This situation is no different. Thus, preclusion is the

appropriate sanction, and Trump cannot call any witness whom he did not properly disclose.

         B.       Trump Should Be Precluded from Testifying as to Any Undisclosed
                  Information, Including Testimony of Undisclosed Witnesses

         As part of its decision precluding Trump from calling undisclosed witness, the Court

should also make clear that Trump cannot suggest what any undisclosed witness would have said

on his behalf. That issue has already arisen in these proceedings. For instance, Trump did not

disclose any witness who provided him security services in the mid-1990s. Yet, at his deposition,




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   As further evidence that Trump had knowledge of these individuals long ago, Trump sent Carroll notice of
subpoenas to all five of them on August 9, 2022, but still elected not to list them in his disclosures. While it is not
clear which of the subpoenas were served, no depositions of these individuals took place. As a result, we reasonably
assumed that Trump had decided that they were no longer potential witnesses with relevant testimony for trial.


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Trump testified that he “would [be able] to have somebody from security confirm a statement that

[the assault] never happened,” vaguely adding that he “pretty much to always” had security with

him in that time period. Trump Dep. at 73:8–9, 73:18–19. But Trump failed to supplement or

correct the silent record regarding the existence of any such witness—despite assuring that he

would “check,” “ask people,” and “find out” who served in his security detail from the fall of 1995

through the spring of 1996. Id. at 75:8–16. Concocting but not disclosing “evidence” to support

his side is a well-known pattern for Trump. Indeed, in his very first statement about Carroll, Trump

“thank[ed] Bergdorf Goodman for confirming they have no video footage of any such incident,

because it never happened.” Ex. 16; Trump Dep. at 59:6–9. But Trump later admitted under oath

that neither he nor anyone on his team ever spoke with Bergdorf’s. Id. at 59:6–9, 78:6–10.

         Testimony of this nature is not permissible and will confuse the trial. Trump cannot

circumvent Rules 26 and 37 by, on the one hand, claiming that there is no information or witnesses

to support his defense and then, on the other, testifying to the ways in which undisclosed

information or witnesses would support him. In trying to have it both ways, Trump is effectively

attempting to spare the undisclosed information and witnesses from the adversarial process by

providing such information through his testimony alone. That is not how the Rules work. To the

contrary, under Rule 37(b)(2)(A)(ii), Courts regularly preclude all evidence and testimony related

to undisclosed information. E.g., In re Gen. Motors LLC Ignition Switch Litig., No. 14 M.D. 2543,

2017 WL 2880882, at *2 (S.D.N.Y. July 5, 2017). That safeguard is important here, since Trump’s

reliance on undisclosed information and the supposed knowledge of undisclosed witnesses to

support his defense would “provide [the other side] with no means of effectively cross-examining

whether that representation is credible.” Linde v. Arab Bank, PLC, 269 F.R.D. 186, 204 (E.D.N.Y.

2010).




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        The Court should thus prohibit Trump from testifying—directly or by implication—about

the ways in which undisclosed witnesses might have supported his defense if they had been called.

        C.      The Court Should Preclude Testimony or Commentary Concerning DNA
                Evidence

        As this Court knows from a related decision made in Carroll II, Carroll sought for years to

test Trump’s DNA against a mixture of DNA found on the dress that she wore during the attack at

Bergdorf’s, but ultimately changed strategies after Trump adamantly refused to provide DNA. See

Carroll v. Trump, No. 22 Civ. 10016, 2023 WL 2006312, at *1–*6 (S.D.N.Y. Feb. 15, 2023). As

a result, discovery in Carroll I closed without any fact-finding or expert analysis relating to DNA,

and discovery in Carroll II began and closed without even a mention of DNA. Last week, however,

“three days after [Trump’s] latest request for a multi-week trial postponement was substantially

denied” and “one day after the parties filed a joint pretrial order in [Carroll I] that makes clear that

neither [Carroll] nor [Trump] intends to call any DNA experts as witnesses in [that] trial,” Trump

proposed to provide his DNA sample if the Court would require Carroll to produce an undisclosed

appendix to a years-old DNA report. Id. at *1. The Court rejected Trump’s motion to reopen

discovery, finding that there was “no justification for imposing [Trump’s] proposal on [Carroll]

now that she has prepared for trial on the entirely justified basis that there will be no DNA

evidence.” Id. at *2.

        In light of this ruling, and by virtue of its reasoning, the Court should preclude testimony

or commentary regarding any aspect of this DNA issue at the trial—including Trump’s eleventh-

hour “offer” to reopen discovery so he might provide a DNA sample and any inferences his counsel

might ask the jury to draw about the lack of DNA evidence at trial. Under Rule 403, a court may

exclude evidence “if its probative value is substantially outweighed by a danger of … unfair

prejudice, confusing the issues, misleading the jury, undue delay, [or] wasting time.” United States



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v. Gabinskaya, 829 F.3d 127, 134 (2d Cir. 2016). That analysis weighs decisively in Carroll’s

favor.

         To start, any testimony related to DNA evidence has no probative value in this case: “No

one knows whether [Trump’s] DNA is on the dress.” Carroll, 2023 WL 2006312, at *8. Faced

with a similar situation, where DNA evidence was not secured during discovery, the Seventh

Circuit upheld not only the district court’s decision to squash a tardy subpoena to secure such

evidence, but also the preclusion of any “argument or questioning [of] witnesses regarding the lack

of testing of DNA.” Mitchell v. City of Chicago, 862 F.3d 583, 587 (7th Cir. 2017). As the Seventh

Circuit explained, any “[a]rgument or evidence demonstrating unavailability of DNA evidence

would not tend to make the existence of any fact that is of consequence ‘more probable or less

probable than it would be without the evidence,’” and thus had “no tendency to prove liability.”

Id. The same is true here.

         The risks inherent in allowing nonprobative references to DNA are heightened given the

outsized weight that juries tend to give to DNA evidence or the lack thereof. Courts have

recognized a so-called “CSI effect” by which jurors who “have been exposed to legal proceedings

in the media … have developed an expectation” related to DNA testing. Gray v. Lamanna, No. 17

Civ. 6324, 2021 WL 4844536, at *7 n.3 (E.D.N.Y. Oct. 18, 2021). Here, the jury could attach

undue weight to DNA evidence that does not exist, including to the absence of any DNA “match,”

and could be prejudicially confused or deceived by a misleading suggestion that Trump was

willing to provide DNA. Cf. Sadler v. Moran Towing Corp., No. 01 Civ. 1666, 2002 WL 1977604,

at *1 (S.D.N.Y. Aug. 28, 2002) (Kaplan, J.) (evidence that would “suggest, improperly, a

willingness on defendants’ part to settle,” when no effort to settle had been made, is “misleading,”

“confusing” and its “probative value would be far outweighed by unfair prejudice”).




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        Moreover, any mention of DNA at trial will force the parties to detail the ins and outs of

the related discovery disputes, leading to significant jury confusion, wasted time, and prejudice.

Indeed, there is no way to raise DNA before the jury without also requiring testimony and other

evidence regarding the history of Carroll I and Carroll II; the differences and overlap between the

two actions; Trump’s broader pattern of discovery obstinance and dilatory tactics that Carroll

responded to by abandoning her longstanding efforts to obtain Trump’s DNA; the responses of

Trump’s counsel to Carroll’s requests for DNA; and more. All this would undoubtedly create a

“sideshow” at trial on collateral issues and push the jury into the improper function of relitigating

the discovery dispute. Cf. Guidi v. Inter-Cont’l Hotels Corp., No. 95 Civ. 9006, 2003 WL 1907904,

at *1–*2 (S.D.N.Y. Apr. 16, 2003) (collecting similar cases of juror confusion). Courts have

generally observed that evidence regarding discovery conduct has “limited or no probative value,”

and “the dangers of unfair prejudice, jury confusion, and waste of time are quite real.” In re Gen.

Motors LLC Ignition Switch Litig., No. 14 M.D. 2543, 2015 WL 8130449, at *4–*5 (S.D.N.Y.

Dec. 3, 2015); accord Miller UK Ltd. v. Caterpillar, Inc., No. 10 Civ. 03770, 2015 WL 7351674,

at *10 (N.D. Ill. Nov. 20, 2015); Brighton Collectibles, Inc. v. Marc Chantal USA, Inc., No. 06

Civ. 1584, 2009 WL 10674074, at *3 (S.D. Cal. Apr. 1, 2009). That is certainly the case here.

        Finally, the type of testimony that Trump or his lawyers apparently previewed for the press

is exactly the sort of sandbagging that the Federal Rules are designed to prevent. 13 See Fed. R. Civ.

P. 26 & 37(c)(1); Haas v. Delaware & Hudson Ry. Co., 282 F. App’x 84, 86 (2d Cir. 2008) (“The

purpose of [Rule 37] is to prevent the practice of ‘sandbagging’ an opposing party with new



13
   See Jose Pagliery, Trump Says He’ll Hand Over His DNA for E. Jean Carroll Case, Daily Beast (Feb. 9, 2023)
(“According to a source familiar with his defense team’s new strategy, Trump’s proposition has not yet been made to
the opposing side. But if they follow through, it would position them to tell jurors his DNA was offered—just never
tested.”). Tipping his hand even further, Trump included the DNA analysts whom Carroll consulted years ago as part
of his witness list in Carroll II, even though he had never disclosed them as witnesses before. See Proposed Joint
Pretrial Order, Carroll v. Trump, No. 22 Civ. 10016 (S.D.N.Y. Feb. 16, 2023), ECF 60.


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evidence.”). To ward off “surprise” and “trial by ambush,” courts routinely preclude parties from

introducing evidence that was disclosed for the first time only after the close of discovery,

especially where, as here, the parties were aware of the issues well before. Am. Stock Exch., 215

F.R.D. at 93; Downey v. Adloox Inc., No. 16 Civ. 1689, 2018 WL 794592, at *1–*2 (S.D.N.Y.

Feb. 8, 2018); Estate of Jaquez v. Flores, No. 10 Civ. 2881, 2016 WL 1060841, at *8 (S.D.N.Y.

Mar. 17, 2016). Trump has had “years in which to make DNA an issue in this case.” Carroll, 2023

WL 2006312, at *2. He did not. Now, on the eve of trial, he cannot change course by offering

testimony on what the DNA evidence might show. Cf. Djangmah v. Falcione, No. 08 Civ. 4027,

2013 WL 6388364, at *2–*4 (S.D.N.Y. Dec. 5, 2013). The Court should not abide his

gamesmanship and should preclude any testimony purportedly related to DNA.

V.     THE COURT SHOULD PRECLUDE INQUIRY INTO A SERIES OF
       IRRELEVANT TOPICS IN CONNECTION WITH STEPHANIE GRISHAM’S
       TESTIMONY

       Stephanie Grisham served in Trump’s White House for nearly four years and was publicly

announced as Trump’s Press Secretary and Communications Director just one day after Trump’s

June 24, 2019 statement about Carroll. Trump Dep. at 114:2–5. At Grisham’s deposition, Trump’s

counsel cross-examined her regarding two prior misdemeanor convictions and an unrelated

pending lawsuit, and repeatedly objected to the deposition based on Grisham’s use of a pain

reliever following a serious foot injury. The Court should preclude cross-examination or the

introduction of evidence regarding these topics as improper character evidence under Rules 608

and 609, and as unduly prejudicial under Rule 403.

       A.     The Court Should Preclude Cross-Examination or the Presentation of
              Evidence Regarding Grisham’s Prior Misdemeanor Convictions

       Grisham was arrested on two prior occasions, between 2013 and 2015 in Arizona, resulting

in convictions for reckless driving and driving under the influence. Ex. 17 (“Grisham Dep.”) at



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88:13–89:3, 89:18–90:7. Rule 608 permits cross-examination regarding “specific instances of a

witness’s conduct in order to attack or support the witness’s character for truthfulness” only where

the prior conduct is “probative of the character for truthfulness or untruthfulness.” Rule 609 allows

a party to attack a witness’s character for truthfulness “by evidence of a criminal conviction” only

where the conviction required proof of “a dishonest act or false statement.”

       Grisham’s driving-related convictions do not fit within either Rule. The criminal statutes

at issue do not have as an element falsity or dishonesty. See A.R.S. § 28-693 (reckless driving);

A.R.S. § 28-1381 (driving or actual physical control while under the influence). And courts in this

District have consistently held that convictions for driving while intoxicated do “not involve

dishonest acts or false statements.” United States v. Bowen, 511 F. Supp. 3d 441, 453 (S.D.N.Y.

2021); United States v. Whitley, No. 04 Cr. 1381, 2005 WL 2105535, at *3 (S.D.N.Y. Aug. 31,

2005) (similar). Because Grisham’s prior misdemeanor convictions fall outside these rules, neither

cross-examination nor the introduction of evidence regarding those convictions is permissible.

       Even if it were, the probative value of Grisham’s misdemeanor convictions is substantially

outweighed by the prejudice of admitting them. See Fed. R. Evid. 403. The impeachment value of

old misdemeanors that do not involve dishonesty or untruthfulness is low, and inquiry into

Grisham’s driving-related conduct would serve only to confuse the jury and prolong her testimony.

See United States v. Potapova, 800 F. App’x 14, 16 (2d Cir. 2020); Jean-Laurent v. Hennessy, 840

F. Supp. 2d 529, 544 (E.D.N.Y. 2011).

       B.      The Court Should Preclude Cross-Examination of Grisham Regarding an
               Unrelated Lawsuit That Remains Pending

       Grisham is currently a defendant in a defamation suit brought in October 2021 by her ex-

boyfriend (and current U.S. Representative) Max Miller, who claims that Grisham defamed him

when she publicly stated that her relationship with another White House staff member had “turned



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abusive.” Compl., Miller v. Grisham ¶ 11, No. CV-21-953971 (Ohio Ct. Com. Pl., Cuyahoga Cty.

Oct. 5, 2021). That case will be in discovery until at least April 6, 2023, with dispositive motions

not due until May 8, 2023. Journal Entry, Miller v. Grisham, No. CV-21-953971 (Ohio Ct. Com.

Pl., Cuyahoga Cty. Dec. 6, 2022).

       Courts regularly prohibit cross-examination of a witness about pending litigation like this.

Rule 608(b) does “not authorize inquiry on cross-examination into instances of conduct that do

not actually indicate a lack of truthfulness.” United States v. Nelson, 365 F. Supp. 2d 381, 386

(S.D.N.Y. 2005). Where litigation remains pending, there will have been no “adverse credibility

finding” that could come in under Rule 608(b). Id. at 389, 392; accord United States v. Donovan,

577 F. Supp. 3d 107, 122 (E.D.N.Y. 2021) (precluding cross-examination on pending litigation

because there had been “no finding of any wrongdoing, and mere allegations are irrelevant to

truthfulness”). There have been no findings against Grisham in the Ohio action, and therefore

cross-examination about that action should not be permitted.

       Such cross-examination should also be prohibited under Rule 403. Courts have had little

difficulty finding that the probative value of “mere” allegations “is outweighed by the danger of

unfair prejudice, confusion of the issues and considerations of undue delay.” Gogol v. City of N.Y.,

No. 15 Civ. 5703, 2018 WL 4616047, at *4 (S.D.N.Y. Sept. 26, 2018). For one, there is a

significant risk that jurors will give undue weight to the unsubstantiated allegations from another

lawsuit. Cf. United States v. Whitmore, 359 F.3d 609, 619 (D.C. Cir. 2004) (upholding exclusion

of evidence regarding prior judicial finding which fell short of a perjury conviction because jury

“might rely too heavily on the finding in making its own credibility determination”). Moreover,

allowing Trump’s counsel to cross-examine Grisham on the other lawsuit would force Carroll’s

counsel to pursue a confusing and time-consuming inquiry into the merits of Representative




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Miller’s defamation claim—the exact sort of “‘trial within a trial’ that Rule 403 disfavors.” E.g.,

Doe v. Lima, No. 14 Civ. 2953, 2020 WL 728813, at *8 (S.D.N.Y. Feb. 13, 2020); In re WorldCom,

Inc. Sec. Litig., No. 02 Civ. 3288, 2005 WL 578109, at *2 (S.D.N.Y. Mar. 4, 2005).

       C.      The Court Should Preclude the Presentation of Evidence or Cross-
               Examination of Grisham Regarding Her Past Use of a Pain Reliever

       A few weeks prior to her deposition, Grisham broke her foot, for which she was prescribed

a pain reliever. Grisham Dep. at 9:15–25. At the beginning of her deposition, Grisham noted that

she had taken a “very low dose” of her medication and explained that it had no effect on her ability

to testify. Id. at 10:1–16. Trump’s counsel interrupted Grisham’s testimony and demanded that the

deposition be ended. Id. at 12:1–13:20. Counsel then requested a conference before the Court and

made repeated objections based on Grisham’s “mental capacity.” E.g., id. at 29:9–22.

       The Court has already made clear that Grisham’s prescription medication is irrelevant. At

the mid-deposition conference that Trump’s counsel requested, the Court quickly put an end to

these disruptive tactics:

       THE COURT: Do you understand the questions? And are you capable of testifying?

       MS. GRISHAM: Yes, your Honor.

       THE COURT: That’s it, Mr. Madaio. Stop wasting time. [The deposition] goes
       forward.

Tr. of Oct. 6, 2022 Conf. at 5. If there was no reason to stop the deposition, there is no reason why

Grisham’s past use of her medication would have any relevance at trial. See Cordius Tr. v.

Kummerfeld, No. 99 Civ. 3200, 2008 WL 113683, at *3 (S.D.N.Y. Jan. 10, 2008) (“The test [for

mental capacity] is whether the prospective witness ‘has sufficient intelligence to understand the

nature of any oath and to give a reasonably accurate account of what he has seen and heard[.]’”).

Cross-examination regarding Grisham’s medication should be precluded as irrelevant under Rule

401, unduly prejudicial under Rule 403, and improper character evidence under Rule 608.


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VI.       THE COURT SHOULD PRECLUDE COMMENTS AND CROSS-EXAMINATION
          REGARDING CARROLL’S CHOICE OF COUNSEL

          At his deposition, Trump previewed a strategy of maligning Carroll’s counsel to distract

from the actual issues. Among other things:

      •   Trump claimed that Carroll’s counsel was “doing this [lawsuit] for the Democrat party, …
          your friends over in the Democrat party,” Trump Dep. at 202:10–12, even declaring at one
          point, “You’re a political operative. … You’re a disgrace,” id. at 142:8–9; see also, e.g.,
          id. at 197:18 (“But the Democrat party. That’s you.”); id. at 88:25–89:2 (“I think you’re
          aligned with [Hillary Clinton] too actually.”); id. at 171:11 (“I beat your friend [Hillary
          Clinton] pretty badly.”).

      •   Trump speculated that Carroll’s counsel used unscrupulous means to obtain the time taken
          to depose him, stating, “I knew that we’d be wasting a day doing this, a whole day doing
          this. I don’t know how you do it. You’ve got to be connected to get this kind of a time.”
          Id. at 144:16–17. Those comments fit within Trump’s broader comments about the
          supposed “broken” nature of the judicial system. Id. at 144:4–7, 24–25 (“The system in our
          country is broken, and the system in New York City is broken, in New York and New York
          State. It’s a broken system. … [Judge Kaplan] is not a fan of mine, obviously.”).

      •   Trump threatened to sue Carroll’s counsel multiple times: “And I’ll sue you too because
          this is—how many cases do you have? Many, many cases, and I know the statements that
          were made—that you made. Keep Trump busy because this is the way you defeat him, to
          keep him busy with litigation. So I will be suing you also, but I’ll be suing her very strongly
          as soon as this case ends. But I’ll be suing you also.” Id. at 130:19–131:2.

      •   While discussing the appearance of a woman who had accused him of sexual impropriety,
          Trump disparaged Carroll’s counsel in the same vein, stating, “You wouldn’t be a choice
          of mine, either, to be honest with you. I hope you’re not insulted. I wouldn’t under any
          circumstances have any interest in you. I’m honest when I say it. … Even if you weren’t
          suing me, I would have no interest. Okay?” Id. at 184:17–20, 185:6–7.

          Trump should not be permitted to continue with this strategy at trial. Personal attacks on a

party’s counsel are “reprehensible” and “detract from the dignity of judicial proceedings.” United

States v. Xiong, 262 F.3d 672, 675 (7th Cir. 2001); see also Allen v. Royce, No. 19 Civ. 3672, 2022

WL 125367, at *9 (E.D.N.Y. Jan. 13, 2022) (“[A]ttacks on the credibility or motives of defense

counsel are not permissible.”). Courts regularly preclude testimony regarding opposing counsel

under both Rules 401 and 403. E.g., Hart v. RCI Hosp. Holdings, Inc., 90 F. Supp. 3d 250, 273

(S.D.N.Y. 2015) (granting motion to exclude commentary or arguments related to “lawyer-driven


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lawsuits” because “the jury’s attitudes about … the business model, role, or ethics of [] counsel,

have no bearing” on the merits of the case and “can serve only to confuse, inflame, and introduce

unfair prejudice”); Blue Cross & Blue Shield of N.J., Inc. v. Philip Morris, Inc., No. 98 Civ. 3287,

2000 WL 1805359, at *2 (E.D.N.Y. Dec. 11, 2000) (granting motion to exclude references to

attorneys and firms representing defendants). 14 Carroll’s choice of counsel—and Trump’s opinion

and speculation regarding her counsel—have no bearing on whether Trump raped and defamed

Carroll. Any testimony or commentary regarding her counsel should be excluded in its entirety.

                                                CONCLUSION

         For the foregoing reasons, the Court should:

     •   Admit Carroll’s prior consistent statements about Trump’s attack to Birnbach and Martin;

     •   Admit the testimony of Stoynoff and Leeds regarding their own experiences with Trump;

     •   Preclude Fisher from testifying as a rebuttal expert witness;

     •   Exclude testimony from witnesses whom Trump has not disclosed; preclude Trump from
         testifying to undisclosed information, including the testimony that undisclosed witnesses
         could theoretically offer in support of his defense; and preclude any testimony or
         commentary at trial concerning DNA evidence;

     •   Preclude cross-examination or evidence regarding Grisham’s prior misdemeanor
         convictions, her unrelated pending lawsuit, and her use of a prescription medication; and

     •   Preclude comments and cross-examination regarding Carroll’s choice of counsel.




14
   See also, e.g., Hartwig v. JDP, Inc., No. 19 Civ. 00008, 2021 WL 9440803, at *2 (S.D. Iowa Jan. 25, 2021)
(excluding “[a]ny statement disparaging ... Defendants’ counsel [or] any Defendants’ case or theory”); Smith v. Toyota
Motor Corp., No. 16 Civ. 24, 2018 WL 1806698, at *9 (E.D. Mo. Apr. 17, 2018) (excluding references to
representation by defense counsel); Eidos Display, LLC v. Chi Mei Innolux Corp., No. 11 Civ. 00201, 2017 WL
2773944, at *1 (E.D. Tex. May 26, 2017) (excluding references to the litigation’s funding); Fears v. Keystone
Petroleum Transp., LLC, No. 10 Civ. 02789, 2014 WL 11517819, at *4 (N.D. Ga. Jan. 17, 2014) (excluding comments
that “disparage Defendants or defense counsel, imply or infer that Defendants or defense counsel have bad characters,
violated the law, [or] engaged in discovery abuse or fraud”); Kellogg v. Nike, Inc., No. 07 Civ. 70, 2008 WL 4216130,
at *3 (D. Neb. Sept. 12, 2008) (excluding comments about the “[defendant’s] attorneys’ law firm and size, type, names,
and identities of other clients represented by the firm”).



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Dated: New York, New York                        Respectfully submitted,
       February 16, 2023

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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


  E. JEAN CARROLL,                              Civil Action No.: 1:20-cv-7311-LAK-JLC
                      Plaintiff,
        v.

  DONALD J. TRUMP, in his personal capacity,

                      Defendant.


                   MEMORANDUM OF LAW IN OPPOSITION TO
                   PLAINTIFF’S OMNIBUS MOTION IN LIMINE



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        Defendant, Donald J. Trump (“Defendant”), by and through his undersigned attorneys,

Habba Madaio & Associates LLP, respectfully submits this memorandum of law in opposition to

the omnibus motion in limine filed by the plaintiff, E. Jean Carroll (“Plaintiff”), on February 2016,

2023 (the “Motion”). For the reasons set forth herein, the Motion should be denied.

                                       LEGAL STANDARD

        It is well-established that a district court may determine evidentiary issues in motions in

limine prior to the commencement of trial. See, e.g., United States v. Dupree, 706 F.3d 131, 135

(2d Cir. 2013). “The purpose of an in limine motion is ‘to aid the trial process by enabling the

Court to rule in advance of trial on the relevance of certain forecasted evidence, as to issues that

are definitely set for trial, without lengthy argument at, or interruption of, the trial.’” Palmieri v.

Defaria, 88 F.3d 136, 141 (2d Cir. 1996). In deciding a motion in limine, the Court should exclude

evidence that is clearly inadmissible on all potential grounds. Highland Capitol Management LP

v. Schneider, 370 F.Supp.2d 461 (S.D.N.Y. 2005); see also Fed. R. Evid. 402. Further, under Rule

403, even otherwise relevant evidence should be found inadmissible where it “probative value is

substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

        Accordingly, for the reasons set forth herein, Plaintiff’s omnibus motion in limine must be

denied in its entirety.

                                           ARGUMENT

    I. The Court Should Preclude Natasha Stoynoff and Jessica Leeds From Testifying At
       Trial.

        In her Motion, Plaintiff attempts to argue that the Court should admit the testimony of two

proposed witnesses, Natasha Stoynoff and Jessica Leeds, each of whom intend to offer testimony

concerning alleged prior encounters they claim to have had with Defendant. Plaintiff’s position,



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however, is unavailing since the introduction of this type of propensity evidence is clearly

foreclosed by the Rules of Evidence and governing case law. 1

        Rule 404(b) provides that “[e]vidence of any other crime, wrong, or act is not admissible

to prove a person’s character in order to show that on a particular occasion the person acted in

accordance with the character.” Fed. R. Evid. 404(b)(1). Pursuant to this Rule, “[e]vidence of prior

criminal conduct is admissible under Federal Rules of Evidence 404(b) and 403 if it is relevant to

an issue at trial other than the defendant’s character, and if its probative value is not substantially

outweighed by the risk of unfair prejudice.” United States v. Williams, 205 F.3d 23, 33 (2d

Cir.2000) (citing United States v. Livoti, 196 F.3d 322, 326 (2d Cir.1999)) (emphasis added). The

Second Circuit has clarified that, for ‘other act’ evidence to be properly admitted under Rule 404,

the following requirements must be satisfied: “(1) it [is] offered for a proper purpose; (2) it [is]

relevant to a material issue in dispute; (3) its probative value is substantially outweighed by its

prejudicial effect; and (4) the trial court [gives] an appropriate limiting instruction to the jury if so

requested by the defendant.” United States v. Flam, 369 F.3d 154, 156 (2d Cir. 2004) (citing United

States v. Downing, 297 F.3d 52, 58 (2d Cir. 2001).

        Here, Plaintiff readily admits that the proposed testimony of Ms. Stoynoff and Ms. Leeds

qualifies as ‘other act’ evidence prohibited by Rule 404(b)(1). Indeed, there is no reasonable

dispute that the testimony of these two witnesses, Ms. Stoynoff and Ms. Leeds, constitutes

anything other than propensity evidence, since Plaintiff admittedly seeks to introduce their

testimony to as a means of showing that it is “more likely that [Defendant] sexually assaulted

[Plaintiff][.]” See Pl. Mem. at 10 (ECF No. 134). Therefore, absent an exception to Rule 404(b)(1),



1
  Additional argument explaining why the testimony of these two witnesses is improper—and must
be deemed inadmissible—is set forth in Defendant’s Memorandum of Law in support of Motions
in Limine (ECF No. 131), which Defendant incorporates by reference herein.


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this evidence is barred as a matter of law. See, e.g., United States v. Curley, 639 F.3d 50, 57 (2d

Cir. 2011) (citing Fed. R. Evid. 404(b)) (“Other act’ evidence serves a proper purpose so long as

it is not offered to show the defendant’s propensity to commit the offense.” Curley, 639 F.3d at 57

(citing Fed. R. Evid. 404(b)); see also Hynes v. Coughlin, 79 F.3d 285, 290 (2d

Cir.1996) (character evidence inadmissible to show “propensity”); United States v. Barnason, 825

F.Supp.2d 367, 371 (S.D.N.Y. 2012) (“In general, ‘propensity’ evidence is inadmissible.”) (citing

Fed. R. Evid. 404(b)); Rapp v. Fowler, 20-CV-9586 (LAK), 2022 WL 5243030, at *1 (S.D.N.Y.

Oct. 6, 2022) (“Evidence to show propensity in most circumstances is precluded by the Federal

Rules of Evidence.”).

       Plaintiff, unsurprisingly, ventures to claim that two exceptions apply in the instant scenario.

First, she contends that the testimony of Ms. Stoynoff and Ms. Leeds qualify as evidence of “other

sexual assault,” which is admissible pursuant to Rule 415. Second, Plaintiff argues that said

testimony is admissible under Rule 404(b)(2) as evidence of an apparent modus operandi. Both

arguments miss the mark and are predicated upon misapplied principles of law.

       A. The Witnesses’ Testimony Does Not Qualify Under The Rule 415 Exception

       Plaintiff contends that the testimony of both Ms. Stoynoff and Ms. Leeds should be deemed

admissible pursuant to Rule 415, which sets forth a narrow exception to the prohibition on

propensity evidence. In straining to arrive at this conclusion, Plaintiff raises disingenuous

arguments, distorts the applicable standard of law, and mischaracterizes operative case law –

including prior decisions rendered by this Court.

       Rule 415 “reflects an exception in prosecutions for sex crimes to the common law practice

of excluding propensity evidence.” United States v. Spoor, 904 F.3d 141, 154 (2d Cir. 2018) (citing

United States v. Schaffer, 851 F.3d 166, 178-79 (2d Cir. 2017)).




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        Rule 415(a) provides, in relevant part:

        In a civil case involving a claim for relief based on a party's alleged sexual assault
        or child molestation, the court may admit evidence that the party committed any
        other sexual assault or child molestation. The evidence may be considered as
        provided in Rules 413 and 414.

Fed. R. Evid. 415(a).

        As Plaintiff correctly acknowledges, for evidence to qualify under Rule 415, two

requirements must be satisfied: (1) the subject action must be “based on” a “sexual assault”; and

(2) the conduct alleged by the nonparty accuser must qualify as a “sexual assault” under Rule

413(d). See Pl. Mem. at 6 (ECF No. 134) (citing Barnason, 825 F. Supp. 2d at 372). Here, contrary

to Plaintiff’s contention, neither condition is satisfied.

        First, as detailed at length in Defendant’s Memorandum of Law in support of Motions in

Limine, which is incorporated by reference herein, this Court should adopt the ‘categorical

approach’ endorsed by the Wright & Miller treatise. Under this approach, the instant action is not

“based on” a sexual assault since Plaintiff’s sole claim sounds in defamation. See ECF No. 131 at

5-6.

        Second, none of the conduct alleged by either proposed witness, Ms. Stoynoff or Ms.

Leeds, meets the statutory definition of a “sexual assault” under Rule 415. The term “sexual

assault” is derived from Rule 413(d), which defines it as conduct that is “a crime under federal law

or under state law” and which also involves:

        (1) any conduct prohibited by 18 U.S.C. chapter 109A;

        (2) contact, without consent, between any part of the defendant’s body — or an
        object — and another person’s genitals or anus;

        (3) contact, without consent, between the defendant’s genitals or anus and any part
        of another person’s body;




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       (4) deriving sexual pleasure or gratification from inflicting death, bodily injury, or
       physical pain on another person; or

       (5) an attempt or conspiracy to engage in conduct described in subparagraphs (1)–(4).

Fed. R. Evid. 413(d).

       Contrary to Plaintiff’s claim that “[o]f the five proscribed categories, the most directly

applicable ones to this case are Rule 413(d)(1) and (d)(2),” Pl. Mem. at 6 (ECF No. 134), neither

provision is applicable here.

       With respect to Rule 413(d)(1)—which encompasses “any conduct prohibited by 18 U.S.C.

chapter 109A”—Plaintiff points to this Court’s holding in Rapp v. Fowler, No. 20-cv-9586 (LAK),

2022 WL 5243030 (S.D.N.Y. Oct. 6, 2022) to claim that the proposed testimony need only meet

the statutory definition of “sexual contact” contained in 18 U.S.C. chapter 109A. However, this

position is based upon an incorrect reading of this Court’s decision in Rapp because Plaintiff

overlooks the jurisdictional requirement of 18 U.S.C. chapter 109A.

       18 U.S.C. chapter 109A is comprised of eight sections, four of which are relevant to Rule

413(d)(1) since they criminalize various type of sexual conduct – 18 U.S.C. §§ 2241, 2242, 2243,

and 2244. 2 Each of these sections contain a uniform limiting principle, namely that they only apply

to conduct that occurs “in the special maritime and territorial jurisdiction of the United States or

in a Federal prison, or in any prison, institution, or facility in which persons are held in custody

by direction of or pursuant to a contract or agreement with the head of any Federal department

or agency.” See 18 U.S.C. §§ 2241(a)-(b), 2242, 2243(a)-(b) 3, and 2244(a)-(b) (emphasis added).




2
  Section 2245 also criminalizes certain conduct, but it is plainly inapplicable here since it requires
an allegation of murder. See 18 U.S.C. § 2245.
3
  Section 2243(c) is the only provision which does not contain the identical territorial jurisdiction
language, but it requires the actor to have been “acting in their capacity as a Federal law
enforcement office” so it clearly has no application here.


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The “special maritime and territorial jurisdiction of the United States,” in turn, is confined to the

following areas:

       (1) The high seas, any other waters within the admiralty and maritime jurisdiction
           of the United States and out of the jurisdiction of any particular State, and any
           vessel belonging in whole or in part to the United States or any citizen thereof,
           or to any corporation created by or under the laws of the United States, or of
           any State, Territory, District, or possession thereof, when such vessel is within
           the admiralty and maritime jurisdiction of the United States and out of the
           jurisdiction of any particular State.

       (2) Any vessel registered, licensed, or enrolled under the laws of the United States,
           and being on a voyage upon the waters of any of the Great Lakes, or any of the
           waters connecting them, or upon the Saint Lawrence River where the same
           constitutes the International Boundary Line.

       (3) Any lands reserved or acquired for the use of the United States, and under the
           exclusive or concurrent jurisdiction thereof, or any place purchased or
           otherwise acquired by the United States by consent of the legislature of the State
           in which the same shall be, for the erection of a fort, magazine, arsenal,
           dockyard, or other needful building.

       (4) Any island, rock, or key containing deposits of guano, which may, at the
           discretion of the President, be considered as appertaining to the United States.

       (5) Any aircraft belonging in whole or in part to the United States, or any citizen
           thereof, or to any corporation created by or under the laws of the United States,
           or any State, Territory, district, or possession thereof, while such aircraft is in
           flight over the high seas, or over any other waters within the admiralty and
           maritime jurisdiction of the United States and out of the jurisdiction of any
           particular State.

       (6) Any vehicle used or designed for flight or navigation in space and on the
           registry of the United States pursuant to the Treaty on Principles Governing the
           Activities of States in the Exploration and Use of Outer Space, Including the
           Moon and Other Celestial Bodies and the Convention on Registration of
           Objects Launched into Outer Space, while that vehicle is in flight, which is from
           the moment when all external doors are closed on Earth following embarkation
           until the moment when one such door is opened on Earth for disembarkation or
           in the case of a forced landing, until the competent authorities take over the
           responsibility for the vehicle and for persons and property aboard.

       (7) Any place outside the jurisdiction of any nation with respect to an offense by
           or against a national of the United States.



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       (8) To the extent permitted by international law, any foreign vessel during a voyage
           having a scheduled departure from or arrival in the United States with respect
           to an offense committed by or against a national of the United States.

       (9) With respect to offenses committed by or against a national of the United States
           as that term is used in section 101 of the Immigration and Nationality Act . . .
           the premises of United States diplomatic, consular, military or other United
           States Government missions or entities in foreign States, including the
           buildings, parts of buildings, and land appurtenant or ancillary thereto or used
           for purposes of those missions or entities, irrespective of ownership; and
           residences in foreign States and the land appurtenant or ancillary thereto,
           irrespective of ownership, used for purposes of those missions or entities or
           used by United States personnel assigned to those missions or entities.

18 U.S.C.A. § 7.

       Notably, neither Ms. Stoynoff nor Ms. Leeds testified that their alleged encounters with

Defendant took place in any of the above-enumerated locations considered to be within the “special

maritime and territorial jurisdiction of the United States.” Ms. Stoynoff claimed that her purported

interaction with Defendant occurred at his Mar-a-Lago residence in Palm Beach, Florida, see

Habba Decl., Ex. A , which is plainly not covered by 18 U.S.C.A. § 7. As for Ms. Leeds, although

she claimed that her alleged experience with Defendant occurred on an aircraft, she stated that it

was a domestic flight that was traveling from Dallas to New York. See Habba Decl., Ex. B. Thus,

subsection (4) of 18 U.S.C.A. § 7 is not applicable to her claim, nor is any other subsection of the

statute. As a result, since neither Ms. Stoynoff nor Ms. Leeds will testify about an event that

occurred in the “special maritime and territorial jurisdiction of the United States,” the subject

matter of their testimony cannot possibly be concerning “conduct prohibited by 18 U.S.C. chapter

109A.” Fed. R. Evid. 413(d)(1). Therefore, 413(d)(1) has no application here.

       Further, contrary to Plaintiff’s contention, this Court’s decision in Rapp only solidifies this

point. In Rapp, this Court noted that the definition of “sexual contact”—which Plaintiff so heavily

relies upon—is only relevant “if all of the other elements of Section 2244’s predicates are




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satisfied.” Rapp, 2022 WL 5243030, at *2 (emphasis added). One of those elements is the

requirement that the conduct occur “in the special maritime and territorial jurisdiction of the

United States or in a Federal prison, or in any prison, institution, or facility in which persons are

held in custody by direction of or pursuant to a contract or agreement with the head of any Federal

department or agency.” 18 U.S.C. 2244; see also United States v. Porterfield, 20-CR-42-A, 2022

WL 17091256, at *8 (W.D.N.Y. Nov. 21, 2022) (noting that the “federal jurisdiction element

[must] be met” to establish a violation of 18 U.S.C. § 2244(a)). Since that is clearly not the case in

the instant matter, Rule 413(d)(1) does not apply.

        As for Rule 413(d)(2)—as discussed at length in Defendant’s Memorandum of Law in

Support of his Motions in Limine—there is simply no testimony from either Ms. Stoynoff or Ms.

Leeds which alleges that Defendant engaged in any conduct purportedly involving contact between

any party of Defendant’s body and the genitals or anus of either woman. Therefore, Rule 413(d)(2)

has no relevance to the proposed testimony of either witness.

        Plaintiff also makes a half-hearted attempt to argue that Rule 413(d)(5) applies because,

according to Plaintiff, “both women indicate in their testimony that [Defendant] would have

continued his assault had he not been stopped.” See Pl. Mem. at 7-8 (ECF No. 134). This argument

is unavailing because there is simply no support for Plaintiff’s bald assertion; indeed, despite

claiming that their position is supported by the witnesses’ testimony, Plaintiff fails to cite to either

deposition transcript in support of her claim that both women alleged that Defendant “would have

continued his assault had he not been stopped.” Id. This omission speaks volumes – neither

transcript contains any such testimony.

        Plaintiff’s misleading assertion aside, Rule 413(d)(5) is irrelevant because neither of the

witnesses’ testimony are sufficient to show that Defendant attempted to commit any of the acts




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enumerated in Rule 415(d)(1) through (d)(4). See Fed. R. Evid. 413(d)(5) (requiring a showing of

“an attempt or conspiracy to engage in conduct described in subparagraphs (1)–(4).”). To establish

that an individual attempted to commit a crime, it must be shown that said individual “intend[ed]

to commit the crime and t[ook] a ‘substantial step’ towards its completion.” United States v.

Hourihan, 66 F.3d 458, 462 (2d Cir. 1995) (citing United States v. Rosa, 11 F.3d 315, 337 (2d Cir.

1993). Here, Plaintiff is unable to satisfy either element.

       To establish intent, it is necessary to “prove that the defendant intended to engage in

conduct constituting a crime.” United States v. Crowley, 318 F.3d 401, 408 (2d Cir. 2003). Neither

woman has offered any testimony to this effect. They both testified that there was no verbal

communication between themselves and Defendant during the alleged encounters, and neither

alleged any facts which tend to show that Defendant had intended to initiate non-consensual

contact with their genitals or anus. See Habba Decl., Ex. A at tr. 21:9-13 (Q: And did he say

anything when he started kissing you? A: No. Q: Did he say anything before? A: Not that I

recall.”); Habba Decl., Ex. B at tr. 19:19-25 (“Q: And did [Defendant] say anything while this was

happening? A: Not a word. There was never any sound that I can recall. Q: Did you say anything

while this was happening? A: Nope.”). Therefore, the intent element fails cannot be satisfied with

respect to either witness.

       As for second element, “[a] substantial step must be something more than mere preparation,

yet may be less than the last act necessary before the actual commission of the substantive

crime.” United States v. Manley, 632 F.2d 978, 987 (2d Cir.1980). The step “must be necessary to

the consummation of the crime and be of such a nature that a reasonable observer, viewing it in

context could conclude beyond a reasonable doubt that it was undertaken in accordance with a

design to violate the statute.” United States v. Brand, 467 F.3d 179, 202 (2d Cir. 2006) (citing




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Manley, 632 F.2d at 987-988. “In determining whether conduct constitutes the requisite

‘substantial step,’ ‘the finder of fact may give weight to that which has already been done as well

as that which remains to be accomplished. . . .’” United States v. Pugh, 937 F.3d 108, 119 (2d. Cir.

2019) (quoting Manley, 632 F.2d at 987).

       Here, neither Ms. Stoynoff nor Ms. Leeds have alleged that Defendant took any

“substantial step” towards violating Rule 413(d)(1) through (d)(4). Ms. Stoynoff’s testimony—

which alleges that Defendant “grabb[ed] [her] shoulders and push[ed] [her] against [a] wall and

start[ed] kissing [her]”—simply does not implicate that Defendant sought to initiate non-

consensual contact with her genitals, or any other conduct that fits the statutory definitions of

“other sexual assault” set forth in Rule 413(d). See Habba Decl., Ex. A at tr. 21:7-8. As for Ms.

Leeds, she testified that her supposed encounter with Defendant lasted “just a few seconds” and

did not involve any contact, or attempted contact, with either party’s genitals. Habba Decl., Ex. B.

at tr. 19:13. While she did claim that Defendant “started putting his hands up [her] skirt,” this non-

descript account, without more, is insufficient to establish that Defendant took a “substantial step”

towards violating Rule 415(d), particularly since she failed to indicate whether Defendant’s hands

made any contact with her body and, if so, how far the contact was from her genitals, what direction

his hands were moving, how quickly they were moving, or any other relevant details that would

provide a basis to infer that Defendant intended to initiate non-consensual contact with her genitals.

See Rapp, 2022 WL 5243030, at *2 (finding that testimony that defendant placed his “‘hand on

[the deponent’s] leg . . . about two inches above [his] knee’ and remained there for ‘maybe 30 to

45 seconds’” is “not evidence of an ‘other sexual assault’ within the meaning of Rule415(a),

regardless of the question of intent.”); see also Johnson v. Elk Lake School Dist., 283 F. 3d 138,

156 (3d Cir. 2002) (“Where a past act cannot be shown with reasonable certainty, its probative




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value is reduced and it may prejudice the defendant unfairly, confuse the issues, mislead the jury,

and result in undue delay and wasted time.”).

        Based on the foregoing, the testimony of Plaintiff’s proposed witnesses, Ms. Stoynoff and

Ms. Leeds, do not fall within the purview of Rule 415. Therefore, this evidence must be excluded

from trial.

        B. The Proposed Testimony Is Not Modus Operandi Evidence

        While it is true that the Second Circuit takes an “inclusionary approach” to Rule 404(b)(2)

evidence, this approach does not permit a party “to offer, carte blanche, any prior act of the

defendant in the same category of [activity].” United States v. McCallum, 584 F.3d 471, 475 (2d.

Cir. 2009) (quoting United States v. Garcia, 291 F.3d 127, 137 (2d Cir. 2002)). The party seeking

to introduce evidence under Rule 404(b)(2) “must do more than demonstrate that the evidence is

not offered solely to show that the defendant is a bad person,” United States v. Benedetto, 571 F.2d

1246, 1249 (2d Cir. 1978); she must show that one of the specifically enumerated exceptions to

Rule 404(b)(2) applies.

        Plaintiff contends that the testimony of Ms. Stoynoff and Ms. Leeds should be admitted as

modus operandi evidence. The justification for permitting modus operandi evidence under Rule

404(b)(2) is “to prove the identity of the defendant as the person who committed the offense being

prosecuted,” which is established by demonstrating that the crime fits within a unique pattern of

conduct attributable to the defendant. United States v. Campbell, 300 F.3d 202, 215 (2d Cir. 2002).

As explained by the Second Circuit:

        Evidence of a person's prior similar acts is probative on the issue of identity, only
        when his commission of other acts tends to show that he had a design or plan to
        commit the act alleged. For the prior similar acts to be probative of identity there
        must be “a high degree of similarity ... [leading] to the logical inference, by virtue
        of the combination of common features, that a common plan or design was at the
        basis for all the [criminal acts] and hence that it was the [defendant] who committed



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       this [criminal act].” United States v. Danzey, 594 F.2d 905, 913 (2d Cir.), cert.
       denied, 441 U.S. 951, 99 S.Ct. 2179, 60 L.Ed.2d 1056 (1979). Indeed, as we have
       previously noted, “evidence of other crimes offered to prove identity or common
       plan or design must be more similar than when those crimes are offered to prove
       intent.” Id. at 913 n. 6. The more unique and unusual are the common
       characteristics of the similar acts involved, the more probative become the prior
       acts, since they then are sufficiently distinctive to be viewed as “fingerprints” or
       “signatures” of the person charged. United States v. Benedetto, 571 F.2d 1246,
       1249 (2d Cir.1978).

United States v. Neary, 733 F.2d 210, 216 (2d Cir. 1984).

       To qualify as evidence of a modus operandi, the alleged conduct must “share enough

characteristics with the charged offenses that they share the ‘signature’ required for use in

establishing a modus operandi under Rule 404(b),” United States v. Reese, 933 F.Supp.2d 579,

582 (S.D.N.Y. 2013) (citing United States v. Danzey, 594 F.2d 905, 911 (2d Cir.1979)). In other

words, the evidence sought to be introduced must show be that of a “signature crime,’ i.e., a modus

operandi where the crimes are ‘so nearly identical in method as to ear-mark them as the handiwork

of the accused.’” United States v. Mills, 895 F.2d 897, 907 (2d Cir. 1990). “[M]uch more is

demanded than the mere repeated commission of crimes of the same class, such as repeated

burglaries or thefts . . . [t]he device used must be so unusual and distinctive as to be like a

signature.” United States v. Benedetto, 571 F.2d 1246, 1249 (2d Cir. 1978) (emphasis in original).

       In the instant scenario, Plaintiff’s position that the conduct alleged by Ms. Stoynoff and

Ms. Leeds is so distinct that it should be viewed as a “signature crime” is plainly without merit.

Mills, 895 F.2d at 907. Indeed, the purported modus operandi that Plaintiff seeks to attribute to

Defendant—sexually assaulting a woman and then subsequently denying it—is (unfortunately)

not conduct that can be considered unique in our society. 4 It certainly is not the type of distinct



4
  Plaintiff acknowledges as much in her Complaint by repeatedly stressing her belief that sexual
assault is “pervasive” in modern society and that “powerful” men are often not held accountable
for such acts. See generally Complaint (ECF No. 1).


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and identifiable conduct that can be “ear-mark[ed] . . . as the handiwork” of Defendant to charge

him as the only perpetrator who could have possibly committed the act in question. Id. At most,

the testimony of the two witnesses would merely purport to show the “repeated commission of

crimes of the same class,” which falls well short of qualifying as a modus operandi.

       Further, Plaintiff’s contention that she seeks to introduce the testimonial evidence because

“it makes it more likely that [Defendant] sexually assaulted [Plaintiff] and then lied when he denied

having done so,” Pl. Mem. at 10 (ECF No. 134), reveals her true intention – to introduce the

evidence solely for the purpose of establishing propensity. As such, Plaintiff’s request should be

rejected for the same reason this Court declined to admit propensity evidence in Rapp v. Fowler:

       Plaintiff here argues that the evidence . . . is pertinent to whether Mr. Fowler's
       interaction with Mr. Rapp was motivated by Mr. Fowler's desire to gratify either
       his own or Mr. Rapp's sexual desire or to degrade or abuse Mr. Rapp or,
       alternatively, to corroborate Mr. Rapp's testimony concerning his encounter with
       the Mr. Fowler. The second of these arguments really amounts to saying that the
       evidence is offered precisely for the prohibited purpose of showing Mr. Fowler's
       character in order to show that he acted in accordance with that character on a
       different occasion — is offered purely to show propensity. And the probative value
       of the first argument, if it has any, would be outweighed quite substantially by the
       risk that the jury would consider the evidence regarding Mr. Dawes purely or
       predominantly for the unfair, and prejudicial purpose foreclosed by Rule 404(b)(1).

Rapp, 2022 WL 5243030, at *2.

       Therefore, Plaintiff’s request to introduce the testimony of Ms. Stoynoff and Ms. Leeds

as modus operandi evidence must be denied.

       C. Even If Otherwise Admissible, The Testimony Of Ms. Stoynoff and Ms. Leeds
          Must Be Precluded Under Rules 402 and 403

       Assuming arguendo that one or both of the proposed testimonies of Ms. Stoynoff and/or

Ms. Leeds qualify under either the Rule 415 or Rule 404(b)(2) exceptions—which they do not—

such evidence is nonetheless inadmissible under Rules 402, due to irrelevance, and under 403,

since the probative value of such evidence is substantially outweighed by its potential for unfair



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prejudice. These arguments are fully set forth in Defendant’s Memorandum of Law in support of

Motions in Limine (ECF No. 131), and Defendant fully incorporates them by reference herein. See

also Rapp, 2022 WL 5243030, at *2 (finding testimony of prior sexual assault, which was

inadmissible under Rule 415, was likewise inadmissible under Rule 404(d)(2) because it was

“offered purely to show propensity” and because its probative value was “quite substantially

outweighed by the risk that the jury would consider the evidence regarding [the witness] purely or

predominantly for the unfair, and prejudicial purpose foreclosed by Rule 404(b)(1).”).

   II.      Plaintiff’s Motion in Limine to Exclude the Expert Report and the Testimony of
            Robert Fisher as Defendant’s Rebuttal Expert Witness Should Be Denied

         A. The Defendant’s Expert Report of Robert Fisher Sufficiently Rebuts the
            Plaintiff’s Expert Report of Professor Ashlee Humphreys

         Plaintiff seeks to exclude Robert Fisher (“Fisher”) as an expert witness in this litigation

due to his purported failure to properly rebut the report of Plaintiff’s proposed expert Professor

Ashlee Humphreys. This argument is wholly without merit, as set forth more fully below.

         A court maintains full discretion to determine whether expert testimony will be admitted.

See United States v. Duncan, 42 F.2d 359 (2d Cir. 1992) (internal citations omitted). Further, the

Federal Rules of Evidence “provide a liberal standard for the admissibility of expert testimony.”

United States v. Dukagjini, 326 D.3d 45, 52 (2d Cir. 2003) (citing Daubert v. Merrell v. Down

Pharmaceuticals, 509 U.S. 579, 588 (1993).

         As such, “[o]ne of the fundamental requirements of Rule 702 is that the proposed testimony

‘assist the trier of fact to understand the evidence or to determine a fact in issue.’” In re Resuling

Prod. Liab. Litig., 309 F. Supp.2d 531, 540 (S.D.N.Y. 2004) (quoting Rule 702).

         As stated in Plaintiff’s moving papers, under Rule 26(a)(2)(D)(ii), a party may submit

expert testimony that is “intended solely to contradict or rebut evidence on the same subject matter




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identified by another party.” However, “[a] rebuttal report is not the proper ‘place for presenting

new arguments, unless presenting those arguments is substantially justified and causes no

prejudice.” Ebert v. Nassau County, No. CV 05-5445, 2008 WL 4443238, at *13 (E.D.N.Y. Sept.

26, 2008) (citations omitted).

       Despite Plaintiff’s assertions to the contrary, the content of Fisher’s expert report does

proffer evidence that effectively “contradicts or rebuts evidence” provided by Professor

Humphreys in her proposed expert report. With respect to her qualifications as a potential expert,

Fisher emphasizes that Professor Humphreys “does not indicate that she has any professional

background, experience or expertise in reputation management, damage or repair – which are the

center of this case.” See Habba Decl., Ex. C at 2.

       Regarding Professor Humphreys’ methodology in preparing her report, Fisher emphasizes:

       It [is] also important to note that internet exposure (and even media exposure) is a
       form of ‘indirect’ communications meaning that the receiver is not getting the
       message directly from the sender. The most effective form of communications is
       “direct” contact. There are many ways to do this (e.g., direct verbal conversations,
       letters, emails, speaking engagements, appearances at events) and does not appear
       that any form of direct communications is in Humphreys’ program.

Habba Decl., Ex. C at 10.

       Additionally, on page eight of his expert report, Fisher rebuts Professor Humphreys’

definition of “reputation” and counters by stating that “[a] more appropriate definition of

reputation would be that a reputation is the sum of all our actions that is reflected by the people

around us in the way they treat us or interact with us. It is an indirect result of anything and

everything that we do. Successful people have always stressed on the building and maintaining of

reputation as a fundamental ingredient to success. This distinction is important in relation to the

claims made by Carroll against Trump.” Id.




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       Further, with respect to the reputational repair program proffered by Professor Humphreys

and the methodology to support her conclusions, Fisher opines that “[h]aving almost the entire

program geared to online exposure is equivalent to ‘putting all your eggs in one basket.’ The most

successful type of communications program features dissemination of information through

multiple communications channels.” Id.

       On that point, Fisher further rebuts Humphreys’ report by stating that “the most effective

ways to do this (e.g., direct verbal conversations is ‘direct’ contact. There are many ways to do

this (e.g., direct verbal conversations, letters, emails, speaking engagements, appearances at

events) and it does not appear that any form of direct communications is in Humphreys’ program.”

Id.

       Based upon the foregoing, Plaintiff’s argument is meritless. In compliance with Rule

26(a)(2)(D)(ii), Rule 702, and applicable and supporting case law, it is clear that the expert report

of Robert Fisher effectively “contradicted or rebutted” the opinions set forth by Professor

Humphreys. Furthermore, the rebuttal report set forth by Fisher is supported by sufficient and

compelling evidence, as set forth above. Accordingly, Fisher’s expert testimony should be

admitted at the time of trial, and Plaintiff’s Motion in Limine should be denied.

       B. Defendant’s Expert Report from Robert Fisher Should Not be Excluded as It
          Complies with Rule 702 and the Daubert Case
       Plaintiff also seeks to preclude Robert Fisher from testifying as an expert at trial due to his

purported failure to comply with the case of Daubert v. Merrell v. Dow Pharmaceuticals, 509 U.S.

579 (1993) and Rule 702 of the Federal Rules of Evidence. Plaintiff’s contentions in this regard

are similarly unpersuasive and should be summarily dismissed by this Court.

       As set forth above, the applicable Rule of Evidence governing expert testimony is Fed. R.

Evid. 702. In applying Rule 702, “general acceptance” is not a prerequisite to admissibility. See



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Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 169 (1988). On that point, the Supreme Court of

the United States held that a rigid “general acceptance” requirement would be contrary to the

“liberal thrust” of the Federal Rules and the Court’s “general approach of relaxing the traditional

barriers or ‘opinion’ testimony.” Beech Aircraft Corp, 488 U.S. at 169 (citing Rules 701 to 705).

          Rule 702 provides:

          If scientific, technical, or other specialized knowledge will assist the trier of fact to
          understand the evidence or to determine a fact in issue, a witness qualified as an expert by
          knowledge, skill, experience, training, or education, may testify thereto in the form of an
          opinion or otherwise.
Fed. R. Evid. 702. In analyzing the requirements set forth in Rule 702, it is essential to note that

not all five elements need to be complied with in order to comply with Rule 702 – only one of the

five elements need to be satisfied. See Daubert v. Merrell v. Dow Pharmaceuticals, 509 U.S. 579

(1993).

          Therefore, regarding the requirements set forth by Rule 702, it is respectfully submitted

that Fisher meets three of these elements: knowledge, skill and experience. As such, Robert Fisher

clearly qualifies as an expert in this litigation and his expert testimony should be admitted.

          With respect to the “skill element” set forth in Rule 702, Fisher testified during his

deposition that he received several awards and honors throughout his career. Specifically, he

received awards from the Public Advisors Society of America and the Public Communicators of

Los Angeles. See Habba Decl., Ex. D at tr. 41:5-42:4.

          In particular, Fisher testified that one of the multiple awards he received in the reputational

damage field was when he repaired the damaged reputation of the brothel industry in Nevada and

rehabilitated its perception overall in the community. Id. at tr. 42:5 – 43:22. Additionally, Fisher

testified that he “managed to short-circuit the eviction of [tenants of an upscale condo complex,




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Marina Del Verde] by creating a reputational damage program to repair the tenants’ reputation and

allow them to remain as tenants in this condo complex. Id. at tr. 43:23-44:9.

       Regarding the “experience element” set forth in Rule 702, Fisher further testified to his

extensive experience in public relations, which is essential when analyzing situations involving

reputational harm and reputational damage repair. Id. at tr. 49:12-50:15. With respect to his

expertise in public relations, Fisher’s expert report states that he has 50 years of experience as a

public relations professional and during that time period, “80 to 100 [of his clients] had issues

relating to a damaged reputation crisis situation that negatively impacted their reputation.

       Additionally, throughout his lengthy and extensive career, Fisher “acquired a significant

national reputation with both the legal profession and the news media as a preeminent expert in

crisis communications and reputation damage and repair….” See Habba Decl., Ex. C at 1.

       Fisher also satisfied the “knowledge element” of Rule 702 through his deposition

testimony. Specifically, Fisher testified to the following:

       Q:     And – and what data do you rely upon to determine what the best media is
       for your target audience in terms of credibility and the other things you mentioned?

       A:      Knowledge. I’ve been in this business 50 years. A reporter for “The New
       York Times”, I was in journalism – I know the media, I know which media – who
       the media are, I know what they do, I know who they reach out to, I know who
       reads them or listens to them, I know that – for instance, if I had something from
       Mr. Trump back in the day, I wouldn’t go to MSNBC for it,, I would go to FOX,
       you know or now Newsmax or America One [sic] or whatever..

               But the bottom line is I – I have knowledge; that’s why I’m an expert. I
       have 50 years of knowledge of working with the media. Most of them were around
       50 years ago. “New York Times” was around 50 years ago, so was the Washington
       Post, so was ABC, so was AP, so was Wall Street Journal. I don’t need to consult
       textbooks or media guides – again, we’re just talking about news media at this
       point. I don’t need to consult them to kno?w who – who the movers and shakers
       are or where I need to be.

See Habba Decl., Ex. D at tr. 313:4-314:3.




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          Thus, as set forth above, although only one out of five elements are required to be shown

under Rule 702 to be permitted to provide expert testimony, Fisher clearly establishes three of

those elements: knowledge, experience and skill. As such, it is respectfully requested that Fisher’s

expert testimony should be admitted at trial and Plaintiff’s Motion in Limine should be denied.

          Accordingly, as set forth herein and as evidenced by the contents of Robert Fisher’s expert

report and deposition testimony, Robert Fisher should be admitted as an expert rebuttal witness

for this litigation, as his expert report clearly complies with Rule 702 and the Daubert case.

Consequently, Plaintiff’s Motion in Limine should be denied.

   III.      There Is No Basis To Preclude Any Additional Information, Including Witnesses
             Identified In Defendant’s Pre-Trial Order and References to DNA Evidence

          A. Reference to Plaintiff’s Public Representations concerning DNA Evidence Must
             Be Permitted.

          Plaintiff’s contention that this Court should preclude any testimony or commentary

concerning DNA evidence is wholly unavailing. Contrary to Plaintiff’s assertion, Defendant is

entitled to cross-examine Plaintiff with respect to the fact that she publicly, and falsely, proclaimed

that she was in possession of Defendant’s DNA.

          As previously stated, the Court may only exclude relevant evidence if its probative value

is substantially outweighed by a danger of unfair prejudice, issue confusion, misleading the jury,

undue delay, wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403.

“Evidence should be excluded on a motion in limine only when the evidence is clearly inadmissible

on all potential grounds.” U.S. v. Frederick, 702 F. Supp. 2d 32, 35 (E.D.N.Y. 2009).

          In the instant matter, Defendant seeks to cross-examine Plaintiff on her prior

representations to the public that she had somehow obtained Defendant’s DNA. Indeed, during her

deposition testimony, she candidly admitted that she publicly stated that she had his DNA. See




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Habba Decl., Ex. E at tr. 217:24-218:22. The probative value of Plaintiff's testimony regarding her

prior representations outweighs any nominal prejudice she may claim under the Rule 403

balancing test. The fact that Plaintiff was publicly representing that she was in possession of

Defendant’s DNA, when she in fact was not, goes towards her motivation and tends to show that

she was seeking to attract media attention and bolster her story in the public eye. Indeed, a jury

could view this evidence as a significant and probative factor in support of Defendant’s argument

that Plaintiff manufactured her defamation claim for the purpose of garnering publicity.

       As for potential undue prejudice to Plaintiff, there simply is none. For the avoidance of

doubt, Defendant is not seeking to introduce an expert to opine on Plaintiff’s report, nor does he

intend to introduce Plaintiff’s DNA report on this subject. Instead, Defendant only seeks to cross-

examine Plaintiff as to public statements that she made regarding Defendant’s DNA, and her

motivation for making such statements. Given the limited nature of this inquiry, such testimony

could not conceivably unduly prejudice Plaintiff.

       Nor would such a line of inquiry encroach upon any of the concerns that this Court raised

in the Order dated February 15, 2023 in Carroll II. See Carroll v. Trump, No. 22 Civ. 10016, 2023

WL 2006312 (S.D.N.Y. Feb. 15, 2023). Despite Plaintiff’s attempt to characterize the February

15, 2023 Order as a blanket ban on any and all evidence pertaining to DNA in Carroll II (and,

presumably, this mater), this Court’s ruling was narrow in scope and merely denied Defendant’s

application to obtain an appendix which was attached to a DNA report that Plaintiff filed in state

court. Id. at *3. The denial was premised upon the Court’s finding that pre-trial discovery has

already concluded and that such a request may delay the trial date. Id. at *8. The Order does not,

however, purport to preclude the parties from making any mention of DNA at trial, nor does it

specifically exclude reference to Plaintiff’s numerous public assertions that she obtained




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Defendant’s DNA, thereby prematurely condemning him of guilt 5. Plaintiff has not argued, nor

can she, that Defendant’s cross-examination of Plaintiff on her own prior statements would delay

this trial, nor force the parties to regale the entire history of Plaintiff’s attempts to obtain

Defendant’s DNA. As such, Plaintiff is entitled to introduce testimony and commentary regarding

this highly relevant issue.

       B. All of Defendant’s Trial Witnesses Should Be Permitted To Testify

       In the Motion, Plaintiff contends that Defendant should be precluded from calling five non-

party witnesses identified by Defendant in the pre-trial order—namely, David Haskell, Elizabeth

Dyssegaard, Erin Hobday, Laurie Abraham, and Sarah Lazin—on the basis that Defendant

purportedly violated Rule 26(a)(1) by failing to amend his Initial Disclosures to identify said

witnesses. This position is flawed in its premise since Plaintiff did not have any obligation to

identify these witnesses because they were known to—in fact, disclosed by—Plaintiff. Further,

even if there were some technical violation of Rule 26, the omission of these witnesses from

Defendant’s Initial Disclosures is “harmless” because their names were “known to all parties.” See

Advisory Committee Notes, 146 F.R.D. 682, 691 (1993).

       Rule 26 requires parties to provide “the name . . . of each individual likely to have

discoverable information . . . that the disclosing party may use to support its claims or defenses,

unless solely for impeachment, identifying the subjects of the information.” Fed. R. Civ. P.

26(a)(1)(A). Further, Rule 26(e) requires that the parties supplement its initial disclosures “if the

party learns that in some material respect the information disclosed is incomplete or incorrect, and



5
 For instance, Plaintiff has made numerous posts on social media claiming that the DNA
evidence on “the dress” will purportedly serve as damning evidence against Defendant in this
case. See, e.g., https://twitter.com/ejeancarroll/status/1400122740720480262;
https://twitter.com/ejeancarroll/status/1364995845439901700;
https://twitter.com/ejeancarroll/status/1256301599426785280.


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if the additional or corrective information has not otherwise been made known to the other parties

during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1).

       The key language Plaintiff has conveniently overlooked is that “additional or corrective

information” need only be supplemented in an initial disclosure if it “has not otherwise been made

known to the other parties during the discovery process or in writing.” Id. (emphasis added).

Indeed, as memorialized in the Advisory Committee Notes to the 1993 Amendments, it is well

established that Rule 26 imposes “no obligation to provide supplemental or corrective information

that has been otherwise made known to the parties in writing or during the discovery process, as

when a witness not previously disclosed is identified during the taking of a deposition[.]” Advisory

Committee Notes, 146 F.R.D. 682, 691 (1993); see also Marvel Worldwide, Inc. v. Kirby, 777 F.

Supp. 2d 720, 727 (S.D.N.Y. 2011), aff'd in part, vacated in part on other grounds sub

nom. Marvel Characters, Inc. v. Kirby, 726 F.3d 119 (2d Cir. 2013) (“[T]he duty to supplement a

Rule 26 disclosure is only necessary when the omitted or afteracquired information has not

otherwise been made known to the other parties during the discovery process.”) (quoting 8A

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2049.1 (3d ed. 2010));

       Consistent with this principle, it is evident that Defendant did not commit any violation of

Rule 26. It is beyond dispute that Plaintiff was aware of the identities of the five witnesses and the

scope of their knowledge. In fact, it was Plaintiff who disclosed four of those witnesses, Haskell,

Dyssegaard, Abraham, and Lazin, as individuals who “have any knowledge or information about

any of the allegations in the Complaint” in her answers to interrogatories. Pl. Mem. at 24 (ECF

No. 134); see also Habba Decl., Ex. F. The fifth, Hobday, was discussed by Plaintiff in her

deposition and identified as the managing editor of Elle and the individual who advised Plaintiff




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of her termination. 6 See Habba Decl., Ex. E at tr. 178:12-19. As a result, Defendant did not have

any duty to supplement his Rule 26 initial disclosures to include the identities of any of these

witnesses, since Plaintiff was the one who made their identities known in the first place. See, e.g.,

Laspata DeCaro Studio Coporation v. Rimowa GmbH, 16-cv-934 (LGS), 2018 WL 3059650 at

*9 (S.D.N.Y. June 20, 2018) (finding that plaintiff had “no duty to supplement its initial

disclosures” to include a witness who the defendant had “list[ed] as an individual likely to possess

knowledge relevant to th[e] action.”); Howard University v. Borders, 20-CV-04716 (LJL), 2022

WL 3568477, at *2 (S.D.N.Y. Aug. 17, 2022) (finding that plaintiff had “no obligation to

supplement its initial disclosures” to identify trial witness when defendant was “well aware of [the

witness’s] identity and her role from the beginning of the litigation and that it was possible that

[the plaintiff] might choose to use her as a witness.”); Marvel Worldwide, 777 F. Supp. 2d at 727

(“Because [plaintiff] became aware of [declarants] at . . . depositions, [defendants] did not have a

duty to supplement their Rule 26 initial disclosures.”).

       Moreover, even assuming arguendo that Defendant did commit some technical violation

of Rule 26, it does not follow that preclusion of Defendant’s proposed witnesses is warranted under

Rule 37. “The purpose of [Rule 37] is to prevent the practice of ‘sandbagging’ an opposing party

with new evidence.” Ebewo v. Martinez, 309 F. Supp. 2d 600, 607 (S.D.N.Y. 2004). “Imposition

of sanctions under Rule 37 is a drastic remedy and should only be applied in those rare cases where

a party's conduct represents flagrant bad faith and callous disregard of the Federal Rules of Civil

Procedure.” Hinton v. Patnaude, 162 F.R.D. 435, 439 (N.D.N.Y. 1995) (citation omitted); see also




6
  Plaintiff was also shown communications which revealed that Ms. Hobday was involved in the
internal deliberations to terminate Plaintiff, for reasons that were “shocking” to Plaintiff and which
directly contradict allegations contained in the Complaint. See Habba Decl., Ex. E at tr. 188:25-
189:19.


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Ventra v. United States, 121 F. Supp. 2d 326, 332 (S.D.N.Y. 2000) (“[P]reclusion is a drastic

remedy and therefore [warrants] discretion and caution.”); Kunstler v. City of New York, 242

F.R.D. 261, 265 (S.D.N.Y. 2007) (noting that preclusion is “disfavored”); Ebewo v. Martinez, 309

F.Supp.2d 600, 607 (S.D.N.Y. 2004) (“Courts in this Circuit recognize that preclusion of evidence

pursuant to Rule 37(c)(1) is a drastic remedy and should be exercised with discretion and

caution.”).

       Rule 37(c) provides that “[i]f a party fails to provide information or identify a witness as

required by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply

evidence . . at trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P.

37(c) (emphasis added). The 1993 Advisory Committee Notes to Rule 37 emphasizes that “the

exception for violations that are ‘harmless,’ is needed to avoid unduly harsh penalties” and clarifies

that situations where violation should be considered “harmless” include, among other things, “the

inadvertent omission from a Rule 26(a)(1)(A) disclosure of the name of a potential witness known

to all parties.” See Advisory Committee Notes, 146 F.R.D. 682, 691 (1993); see also Fleet Capital

Corp. v. Yamaha Motor Corp., U.S.A., 2002 WL 31108380, at *2 (S.D.N.Y. Sept. 23, 2002) (“[A]

failure to disclose witness information is ‘harmless’ if the other party was well aware of the identity

of the undisclosed witness and the scope of their knowledge well before trial.”) (quoting 6 Moore's

Federal Practice § 26.27[2][d] at 26-93).

       Here, any violation of Rule 26 by Defendant would clearly qualify as a “harmless” one

since Plaintiff was aware of the identities of Haskell, Dyssegaard, Hobday, Abraham, and Lazin,

and fully understood their relevance to this case. As such, she has no basis for arguing that they

should be precluded from testifying at trial. See, e.g., Harris v. Donohue, 2017 WL 3638452

(N.D.N.Y. Aug. 23, 2017) (declining to preclude witnesses when “[p]laintiff was clearly aware




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that both [witnesses] possessed relevant knowledge [and] could have taken the deposition of either

individual at an appropriate time prior to trial and chose not to.”); Hewitt v. Metro-North Commuter

Railroad, 14-CV-8052 (AJN), 2017 WL 1155068, at *3 (S.D.N.Y. Mar. 24, 2017) (“Because [the

plaintiff] ‘was well aware of the identity of the undisclosed witness and the scope of knowledge

well before the trial,’ [the defendant’s] ‘failure to disclose . . . is ‘harmless.’”) (citations omitted);

Howard University, 2022 WL 3568477, at *2 (“Defendants were well aware of Ms. Jones Gentry's

identity and her role from the beginning of the litigation and that it was possible that Howard might

choose to use her as a witness . . . [t]here thus was no obligation on Howard to supplement its

initial disclosures . . . [a]nd, even if there were such a duty, the violation would be harmless.”);

Mugavero v. Arms Acres, Inc., 03-CV-5724, 2009 WL 1904548, at *5 (S.D.N.Y. July 1,

2009) (“[B]ecause Defendants had reason to know during the discovery period that Peter

Mugavero and Dr. Weinshel might have information relevant to Plaintiff's damages claims, her

failure to disclose their identity in her discovery responses was harmless, and Defendants' motion

to preclude them from testifying is denied.”); Universe Antiques, Inc. v. Vareika, 10-cv-3629, 2011

WL 5117057, at *4 (S.D.N.Y. Oct. 21, 2011) (“The [plaintiffs] will suffer no prejudice if the

Undisclosed Witnesses are called at trial because the Undisclosed Witnesses include individuals

with whom the [plaintiffs] are very familiar . . . [i]n these circumstances, the Court finds no

credible risk of unfair surprise or sandbagging with new evidence.”)

        Further, to the extent that Plaintiff argues that she has been prejudiced because she was

unaware that Defendant intended to call these five individuals as trial witnesses, no such notice

requirement exists under Rule 26. As the court in Harris v. Donahue explained:

        Plaintiff asserts that [he lacked notice] that the defendants intended to use either
        Nielson or Palumbo as witnesses. However, the purpose of Rule 26(a)(1)(A) is to
        “alert an opposing party of the need to take discovery of the named
        witness.” Badolato v. Long Island R.R., 2016 WL 6236311, at *4 (E.D.N.Y. Oct.



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       25, 2016). Plaintiff was clearly aware that both Nielson and Palumbo possessed
       relevant knowledge of underlying June 21, 2014 incident at issue in the case. As
       such, plaintiff could have taken the deposition of either individual at an appropriate
       time prior to trial and chose not to.

       As Harris was well aware of the identity and general scope of knowledge of both
       Nielson and Palumbo before trial, defendants' failure to include either Nielson or
       Palumbo in their Rule 26 disclosure was harmless. Therefore, plaintiff's motion to
       preclude the testimony of Nielson and Palumbo will be denied.

Harris v. Donahue, 1:15-CV-01274 (DNH) (CFH), 2017 WL 3638452, at *2(N.D.N.Y. Aug. 23,

2017). Thus, Plaintiff’s argument is entirely unfounded in the law.

       Lastly, Plaintiff’s contention that Defendant’s has engaged in conduct tantamount to “trial

by ambush” is completely undermined by the manner in which Plaintiff identified her own trial

witnesses throughout the course of discovery proceedings. For instance, Plaintiff identified Cheryl

Lee Beall—who supposedly has knowledge of the Bergdorf Goodman store during the relevant

time periods— as a potential witness for the first time in her Second Supplemental Rule 26(a)(1)

Disclosures, which was served on October 14, 2022 – just five days before the fact discovery period

ended on October 19, 2022. Habba Decl., Ex. G Similarly, Plaintiff identified another Bergdorf-

related witness, Robert Salerno, for the first time in her Third Supplemental Rule 26(a)(1)

Disclosure, which was served on January 6, 2023 – approximately two and a half months after the

close of fact discovery. See Habba Decl., Ex. E. Prior to these disclosures, Defendant had no

knowledge of these individuals, their knowledge, or the purported relevance to this action. Yet,

due to Plaintiff’s late disclosure, Defendant was not provided ample opportunity to depose either

witness; as a result, to date Defendant lacks any understanding as to the subject matter of the

testimony that either witness seeks to provide. This is precisely the type of “‘sandbagging’ an

opposing counsel with new evidence” that is precluded under Rule 37, Ebewo v. Martinez, 309 F.




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Supp. 2d 600, 607 (S.D.N.Y. 2004), and is, undoubtedly, significantly more prejudicial than

Defendant’s purported failure to disclose witnesses who Plaintiff was well aware of.

       Therefore, Plaintiff’s request to precluded Defendant from calling David Haskell,

Elizabeth Dyssegaard, Laurie Abraham, Sarah Lazin, and Erin Hobday as witnesses at trial must

be denied.

                                         CONCLUSION

       For the foregoing reasons, Defendant, Donald J. Trump, respectfully requests that the Court

deny Plaintiff’s omnibus motion in limine in its entirety.

Dated: February 23, 2023                      Respectfully submitted,
       New York, New York
                                              _____________________________
                                              Alina Habba, Esq.
                                              Michael T. Madaio, Esq.
                                              HABBA MADAIO & ASSOCIATES LLP




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UNITED STATES DISTRICT COURT                                                                                                                                                                         i
SOUTHERN DISTRICT OF NEW YORK                                                                                                                                                                    '
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              -against-                                                                                   20-cv-7311 (LAK)


DONALD J. TRUMP, in his personal capacity,

                             Defendant.
------------------------------------------x


                            MEMORANDUM AND ORDER ON
                            PLAINTIFF'S IN LIMINE MOTION


                      Appearances:



                                            Roberta Kaplan
                                            Shawn Crowley
                                            Matthew Craig
                                            Trevor Morrison
                                            KAPLAN HECKER & FINK LLP
                                            Attorneys for Plaintiff

                                            Alina Habba
                                            Michael T. Madaio
                                            HABBA MADAIO & ASSOCIATES LLP
                                            Attorneys for Defendant




LEWIS A. KAPLAN, District Judge.

              This is a defamation case, frequently referred to as Carroll I, brought in November

2019 by writer E. Jean Cairnll against Donald Trump for ce1iain statements Mr. Trump made in June

2019 shortly after Ms. Carroll publicly accused him of sexually assaulting her in the mid-1990s.
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While Carroll I was delayed by appellate proceedings relating to issues under the Westfall Act, Ms.

Carroll brought a second, closely related action against Mr. Trump ("Carroll IF') in November 2022

for damages for sexual assault under the then newly enacted New York Adult Survivors Act and for

defamation by a statement Mr. Trump made in October 2022.

               Carroll II was tried in this Comt in April and May 2023 to a plaintiffs verdict on both

claims. 1 The jury in Carroll II found - as Ms. Carroll claimed - that Mr. Trump had sexually

assaulted her and that his October 2022 statement defamed her, and awarded Ms. Carroll a total of$5

million of compensatory and punitive damages.2 After the verdict in Carroll II and the resolution of

the appeal in Carroll I, the Coutt granted Ms. Carroll partial summary judgment on liability in this

case, largely on the basis that Mr. Trump was collaterally estopped by Carroll II to deny that he




               The Court assumes familiarity with its prior decisions in this case and in Carroll II, which
               detail the facts and procedural histories of both cases. E.g., Dkt 32, Carroll v. Trump, 498 F.
               Supp. 3d 422 (S.D.N.Y. 2020), rev 'din part, vacated in part, 49 F.4th 759 (2d Cir. 2022); Dkt
               73, Carroll v. Trump, 590 F. Supp. 3d 575 (S.D.N. Y. 2022); Dkt 96, Carroll v. Trump, 635
               F. Supp. 3d 229 (S.D.N.Y. 2022); Dkt 145, Carroll v. Trump, No. 20-CV-7311 (LAI()
               ("Carroll I"), 2023 WL 2441795 (S.D.N.Y. Mar. 10, 2023); Dkt 173, Carroll v. Trump, No.
               20-CV-7311 (LAK), 2023 WL 4393067 (S.D.N.Y. July 5, 2023); Dkt 200, Carrollv. Trump,
               No. 20-CV-7311 (LAK), 2023 WL 5017230, (S.D.N.Y. Aug. 7, 2023); Dkt 208, Carroll v.
               Trump, No. 20-CV-7311 (LAK), 2023 WL 5312894, (S.D.N.Y. Aug. 18, 2023); Dkt 214,
               Carrollv. Trump, No. 20-CV-7311 (LAK), 2023 WL 5731152, (S.D.N.Y. Sep. 6, 2023); Dkt
               232, Carrollv. Trump, No. 20-CV-7311 (LAK), 2023 WL 7924698 (S.D.N.Y. Nov. 16, 2023);
               Dkt 38, Carroll v. Trump, No. 22-CV-10016 (LAK) ("Carroll II"), 2023 WL 185507
               (S.D.N.Y. Jan. 13, 2023); Carroll JI, Dkt 56, Carroll v. Trump, No. 22-CV-10016 (LAK),
               2023 WL 2006312 (S.D.N.Y. Feb, 15, 2023); Carroll II, Dkt 92, Carroll v. Trump, No.
               22-CV-10016 (LAK), 2023 WL 3000562 (S.D.N.Y. Mar. 20, 2023); Carroll II, Dkt 95,
               Carrollv. Trump, No. 22-CV-10016 (LAK), 2023 WL 2652636 (S.D.N.Y. Mar. 27, 2023);
               Carroll JI, Dkt 96, Carroll v. Trump, No.22-CV-10016 (LAK), 2023 WL 2669790 (S.D.N.Y.
               Mar. 28, 2023), Carrol/II, Dkt212, Carrollv. Trump, No. 22-CV-10016 (LAK), 2023 WL
               4612082, (S.D.N. Y. July 19, 2023).

               Unless otherwise indicated, Dkt references are to the docket in this case.
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               Carroll II, No. 22-CV-10016, Dkt 174 (Verdict).
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sexually assaulted and previously defamed Ms. Carroll. 3 In other words, the material facts concerning

the alleged sexual assault already have been determined, and this trial will not be a "do over" of the

previous trial. Accordingly, this case will be tried, commencing on January 16, 2024, on the issue of

damages for the June 2019 statements.

               The matter now before the Court is Ms. Carroll's motion with respect to various

evidentiary issues in advance of the damages trial (Dkt 233). Many of the questions raised by Ms.

Catrnll's present motion were the subjects of rulings or concern matters that arose in the trial of

Carroll II, so the Court frequently refers to those sources.



                                                   Analysis

Ms. Carroll's Choice of Her Counsel and Her Counsel's Other Activities

                Ms. Carroll seeks to preclude Mr. Trump from inquiring into Ms. Carroll's choice of

counsel and the activities of her counsel apart from this case. Mr. Trump contends that he should be

permitted to cross-examine Ms. Carroll on the subject of her choice of counsel "to demonstrate that

[she] has failed to mitigate her own damages."4 Specifically, he argues that:

                        "Given that Plaintiff's theory of hatm is largely focused on the negative

                public attention she has received since coming forward with her allegations against

                Defendant, one potential defense that Defendant may present at trial is to identify

                self-aggrandizing and/or attention-seeking behavior exhibited by Plaintiff which

                independently contributed to any negative public backlash.For instance, Plaintiff has


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                Carroll I, 2023 WL 5731152, at *2.
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                Dkt 235 (Def. Opp. Letter) at 2.
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               displayed a tendency to publicize any ongoing developments of the instant lawsuit

               and to paint herself - and her attorneys - as champions against Defendant and his

               political viewpoints .... As such, Defendant is entitled to present evidence which

               tends to show that any damage that Plaintiff purportedly suffered should be offset by

               the fame or notoriety that she garnered as a result of her own behavior, including her

               choice of (and promotion of) her counsel. " 5

               Mr. Trump's arguments are unpersuasive. While New York law requires plaintiffs

to "use reasonable and proper efforts" to minimize the effects of a defamation, 6 Mr. Trump does not

explain how Ms. Carroll's choice of counsel, or her counsel's other professional or personal

activities, "independently contributed to" or ameliorated any impact of Mr. Trump's defamatory

statements on her reputation. Nor is there any merit to Mr. Trump's argument that cross-

examination on Ms. Can-oil's choice of counsel and her counsel's activities apart from this case

would "probe into [her] efforts to draw public support and attention for herself, her attorneys, and

this highly-publicized lawsuit." 7 Mr. Trump is prohibited "from commenting upon or eliciting any

evidence regarding plaintiffs choice of counsel or her counsel's activities outside the litigation




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               Id. at 2-3 (emphasis in original) (footnote omitted).
       6

               Williams v. Bright, 230 A.D.2d 548, 550, 658 N.Y.S.2d 910, 91 I (1st Dept. 1997) (quoting
               Elate v. Third Ave. R.R. Co., 44 A.D. 163, 167, 60 N.Y.S. 732, 734 (App. Div. 1899)); see
               also In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 573 n.150
               (S.D.N.Y. 2018); Wachs v. Winter, 569 F. Supp. 1438, 1446 (E.D.N.Y. 1983); 44 N.Y. Jur.,
               2d DEFAMATION AND PRIVACY§ 232 (2023); 1 Robert D. Sack, SACK ON DEFAMATION§
               10:5.5 at 10-57-58 (4th ed. 2011); RESTATEMENT(SECOND)OFTORTS § 918 (1979).
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               Dkt 235 (Def. Opp. Letter) at 3.
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between plaintiff and defendant," in each case in the presence of the jury. 8



Litigation Funding

                Ms. Catrnll seeks to preclude any evidence, argument, or testimony related to the

subject of funding received by her or her counsel for pursuit of this litigation. The lynchpin of Mr.

Trump's argument supporting its admission is that Ms. Ca1Tol1 testified at a deposition that no one

else was paying her legal fees in this litigation as "this is a contingency [fee] case" and that she was

not sure about expenses; but that she later recalled and disclosed "that at some point her counsel

secured additional funding from a nonprofit organization to offset certain expenses and legal fees. " 10

Mr. Trump has claimed that the donor organization was connected to a supporter of Democratic

candidates or activities. 11 Foil owing the disclosure, the Court permitted discovery by "a brief and

carefully circumscribed examination of that na1Tow question" based upon the Court's dete1mination




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                Carroll 11, 2023 WL 2652636, at *8.

                This does not foreclose Mr. Trnmp from eliciting testimony that the idea of suing Mr. Trump
                crystallized in Ms. Carroll's mind as a result of a conversation at a party with George
                Conway, a Republican lawyer who "does not like Mr. Trump," and that Mr. Conway then
                introduced her to a lawyer. Such testimony was offered by both Ms. Carroll and Mr. Trump
                in Carroll II. Carroll 11, No. 22-CV-10016, Dkt 185 (Trial Tr.) at 68:5-21; Dkt 189 (Trial
                Tr.) at 315: 12-316: 12; Dkt 191 (Trial Tr.) at 506:4-508:3, 651 :7-653:7; Dkt 199 (Trial Tr.)
                at 1278:11-1281:15, 1349:19-1350:24, 1364:9-1366:7, 1398:21-1399:12.
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                Carroll II, No. 22-CV-10016, Dkt 134-8 at209:1 l-2I.
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                Carroll II, No. 22-CV-10016, Dkt 108-2 at I.
        11

                Dkt 23 5 (Def. Opp. Letter) at 3.
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that "it perhaps might prove relevant to the question of plaintiffs credibility." 12

               After the parties completed additional discovery on this nanow issue, Mr. Trump

sought in Carroll II to offer evidence or make arguments with respect to litigation funding. The

Court precluded him from doing so, stating:

                        "In general, litigation funding is not relevant. Here I allowed very limited

                discovery against what seemed to me a remote but plausible argument that maybe

                something to do with litigation funding arguably was relevant to the credibility of

                one or two answers by this witness in her deposition. I gave the defense an additional

                deposition of the plaintiff, and I gave the defense limited document discovery.

                        On the basis of all that, I have concluded that there is viitually nothing there

                as to credibility. And even if there were, the unfair prejudicial effect of going into

                the subject would very substantially outweigh any probative value whatsoever." 13

Among the considerations relevant to the Rule 403 analysis was the fact Ms. Canoll already had

aclmowledged her political opposition to and distaste for Mr. Trump before the Court ruled. 14

Moreover, she expanded upon and was cross-examined on that testimony later in the trial, and all

of her principal witnesses testified to similar views. 15 There accordingly was no evidence or


        12

                Carroll II, No. 22-CV-10016, Dkt 110.
        13

                Carroll JI, No. 22-CV-10016, Dkt 187 (Trial Tr.) at 240:6-17.
        14

                Id. at 232:18-233:6, 234:18-236:2, 237:3-238:20.
        15

                Carroll II, No. 22-CV-10016, Diet 189 (Trial Tr.) at 333 :9-24, 340: 1-343 :4 (Carroll) (stating
                inter alia that she is a registered Democrat, hates Mr. Trump's politics, and that he was a bad
                president); Dkt 193 (Trial Tr.) at 694:8-695: 16,710: 17-712:23, 715: 13-718:4; 718:5-721:23
                (Birnbach) (stating inter alia that she is a registered Democrat, voted for Mrs. Clinton,
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argument related to litigation funding in the Carroll II trial. But Mr. Trump had more than ample

evidence before that jury to the political and personal views of Ms. CmToll and her principal fact

witnesses and made that the centerpiece of his defense. Indeed, his counsel devoted nearly half of

his entire summation to the argument that Ms. Carroll initially made up her accusation against Mr.

Trump to sell books, that she sued him and testified as she did for political reasons, and that her

principal witnesses were similarly motivated. 16

               Mr. Trump's position on this issue is no stronger now than it was in Carroll II

Given Ms. Carroll's frank acknowledgment of her personal and political distaste for Mr. Trump, he

has an ample basis for challenging her credibility without getting into a collateral and time

consuming dispute about what, if anything, she remembered during her deposition concerning any

contribution by a non-profit organization toward the expense of the litigation, let alone the political

views of whoever funded that organization. The prejudice inherent in such an exercise would

outweigh substantially any probative value. Accordingly, Mr. Trump is precluded from offering any

evidence or argument concerning litigation funding in the presence of the jury.




               donates only to Democratic campaigns, and hates Mr. Trump); Dkt 193 (Trial Tr.) at 744: 14-
               24, 760:7-761: 12, 763:16-765:20 (Leeds) (stating inter alia that she hates Mr. Trump, did
               not want him to be president, registered Democrat, and donates to Democratic campaigns);
               Dkt 195 (Trial Tr.) at 999: 16-1000:2, 1000: 14-22 (Stoynoff) (stating that she voted for
               Obama, thought Mr. Trump was a bad president, and was happy when he was voted out);
               Dkt 197 (Trial Tr.) at 1039: 15-1040: 17, 1051:9-1052:8 (Martin) (stating inter alia that she
               is a registered Democrat, hates Mr. Trump's politics, was devastated when he was elected,
               and voted for Mrs. Clinton).
        16

                Carroll JI, No. 22-CV-10016, Dkt 199 (Trial Tr.) at 1330:24-1372:3.
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DNA

                Ms. Carroll seeks to preclude any evidence or argument concerning DNA. Mr.

Trump argues that "[p]laintiff s contention that any reference to DNA should be precluded is overly

broad and ignores the nuances of this case." 17 He contends that "[p]laintiffs repeated attempts to

publicize the fact that she allegedly possessed Defendant's DNA may very well prove relevant to

the issue of damages. " 18 "Defendant," he argues, "could certainly demonstrate that Plaintiffs claims

played a role in gaining increased attention from the media, and as a result, amplifying the reaction,

whether negative or positive, to her initial sexual assault allegation." 19

                As an initial matter, and assuming arguendo that plaintiff made such claims,

defendant's suggestion that such claims might have resulted in greater media attention than

otherwise would have occurred and that any such increase would have benefitted plaintiffs

reputation ultimately is purely speculative. Even more basically, Mr. Trump's argument properly

can be considered only in light of the long saga concerning DNA as it relates to this litigation, which

the Court explained in Carroll JI 20

                In brief, Ms. Carroll says that she still possesses the dress she claims she wore when

Mr. Trump sexually abused her. 21 Shortly after this case was commenced, unidentified male DNA



        17

                Dkt 235 (Def. Opp. Letter) at 4 (emphasis in original).
        18

                Id.
        19

                Id.
        20

                Carroll II, 2023 WL 2006312; Carroll II, 2023 WL 2652636, at *5-7.
        21

                Carroll II, 2023 WL 2006312, at *I.
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reportedly was found on the garment.22 Plaintiffs counsel then requested that Mr. Trump provide

a DNA sample for comparison. 23 Mr. Trump refused for years to allow the taking of a sample of

his DNA. 24 Two months before the Carroll II trial and after discovery had concluded, he finally

offered to provide a DNA sample, but only on the condition that Ms. Carroll first turn over to him

a previously undisclosed appendix to the DNA testing report. 25 The Comt declined to impose Mr.

Trump's bargain, finding "no reason to believe that pursuing that course would be likely to yield any

admissible evidence" and that there was no persuasive reason to allow him to inject DNA into the

case at such a late date given that his situation was the result of his own unjustified refusal to

provide a sample of his own DNA on a timely basis. 26 It subsequently excluded from Carroll II

"any evidence or argument by either patty concerning DNA. " 27

               The argument for exclusion is even more compelling in this case. The only issue at

trial will be Ms. Canoll's damages from Mr. Trump's defamatory statements. The jury's verdict

in Carroll II has resolved the principal question for which a DNA comparison would have been

relevant-whether it now can be said, years after the alleged incident, that Mr. Trump's DNA is now

or ever was on the dress, a matter going to whether the alleged sexual attack occuned (and not even


       22

               Id. at *3.
       23

               Id.
       24

               Id at *5.
       25

               Id. at *6.
       26

               Id. at *1-2, *9.
       27

               Carroll II, 2023 WL 2652636, at *7.
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necessarily conclusive of that). Introduction of any discussion of DNA at this trial nevertheless

would entail a substantial risk that Mr. Trump, overtly or by implication, would suggest that there

was no conclusive scientific proof that he committed the sexual attack that the jury found in Carroll

II. Not only would such an argument obscure the fact that Mr. Trump himselfis the primary reason

why there is no DNA comparison evidence in this case, but it would be fundamentally unfair and

substantially prejudicial to the plaintiff in view of the Court's collateral estoppel ruling, which

forecloses the issue of whether the sexual assault occurred. As a result, the Court will not permit

any testimony, argument, commentaiy, or reference by either party concerning DNA evidence at

trial.



Ms. Carroll's Prior Relationships and Sexual Assaults and Experiences

               Ms. Carroll moves to preclude any evidence related to Ms. Carroll's pnor

relationships, sexual assaults on her, or her sexual history. Mr. Trump contends that:

                       "Here, evidence relating to Plaintiffs prior relationships could prove highly

               probative. For instance, if Plaintiff attempts to demonstrate that the June 2019

               Statements caused her to fall into a state of depression, or otherwise caused her

               'humiliation and mental anguish,' Defendant would be entitled to introduce other

               potential sources of trauma that could have affected Plaintiffs mental and emotional

               state, including abuse in her prior relationships.""

Mr. Trump's contentions fall short on several fronts.

               First, some evidence of Ms. Carroll's prior relationships and assaults was admitted


         28

               Dkt 235 (Def. Opp. Letter) at 5.
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in Carroll JI because Mr. Trump's sexual assault of Ms. Carroll and the resulting damages were at

issue in that case. As a result, evidence of Ms. Carroll's prior relationships and abuse carried at

least minimal relevance to claims for damages that she suffered specifically due to Mr. Trump's

sexual assault. In contrast, evidence of prior sexual assaults on Ms. Carroll or her sexual history

is not related to the damages caused by Mr. Trump's June 2019 defamatory statements, which are

the focus in this case and accused her of being a liar and financially and politically motivated. 29

Thus, such evidence is not significantly probative of the reputational harm that Ms. Carroll suffered

as a result of that defamation.

               Second, the other sexual assaults that Ms. Carroll has endured - and their potential

impacts on her- are significantly remote in time and thus of even more limited probative value with

respect to her "mental and emotional state" in the walce of Mr. Trump's June 2019 defamation. 30

The incidents that Ms. Carroll can recall occurred well over two decades before the events at issue

here. 31 It would require too great a leap for Mr. Trump to attempt to substitute the harms that Ms.

Carroll may have experienced from sexual assaults during her childhood or in the 1980s and 1990s

for her alleged hanns as a result of Mr. Trump's 2019 defamation.

               Finally, Ms. Carroll's past sexual experiences and her prior relationships with or

assaults on her by other individuals at most would have little probative value with respect to the

remaining issues, and any such value would be outweighed substantially by the unfair prejudice that


       29

               Dkt 157-1 (Pl. Amend. Cpt.) at 15-16, 18-19.
       30

               Dkt 235 (Def. Opp. Letter) at 5.
       31

               Ms. Carroll has not provided a specific date for when the alleged sexual assault by her
               dentist occurred. Carroll II, No. 22-CV-l 0016, Dkt 187 (Trial TL) at 197:7-14.
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would result from introducing such inflammatory topics at trial. 32 Moreover, any such evidence

would confuse and distract the jury from the underlying issues by injecting into the case sensitive

and personal details about Ms. Canoll's life which are wholly unnecessmy to resolving it. 33

Accordingly, the Court precludes both parties from offering or mentioning before the jruy any

evidence, argument, or reference to Ms. Carroll's past romantic relationships and prior sexual

experiences.



Evidence Related to Mr. Trump's Sexual Assault and Ms. Carroll's Motives in Revealing It and
Suing Mr. Trump

                Ms. Canoll seeks to preclude from trial "all testimony, evidence, examination, and

argument suggesting that the assault did not occur or seeking to undermine [Ms.] Canoll' s account

by implication," along with "all evidence relating to whether [Ms.] Canoll fabricated her account

of the assault or had a motive to do so,"34 all in consequence of the Court's collateral estoppel ruling.

Mr. Trump "does not dispute that both parties are estopped from relitigating issues that have already

been determined via partial summmy judgment," but counters that "testimony relating to the

underlying [assault]" - and Ms. Carroll's alleged financial and political motivations in raising her




        32

                Fed. R. Evict. 403.
        33

                Indeed, when defense counsel attempted to admit some of the more salacious details
                regarding Ms. Carroll and her ex-husband John Johnson in Carroll II, the Court found that
                "the unfair prejudicial effect, outrageously, not substantially, outrageously outweighs any
                probative value." Carroll II, No. 22-CV-10016, Dkt 187 (Trial Tr.) at 208:24-209:4. After
                a brief recess, defense counsel acknowledged to the judge that it had "heard the Court's
                ruling" and understood it. Id. at 211 :9-11.
        34

                Dkt 233 (Pl. Letter) at 4.
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assault allegations - "could prove relevant and necessary in several ways."35

               Thejmy in Carroll II found by a preponderance of the evidence that (1) Mr. Trump

sexually abused Ms. Canoll and injured her in doing so; (2) his conduct was willfully negligent or

reckless in doing so, or he acted with a conscious disregard for Ms. Canoll's rights; and (3) Ms.

Carroll was entitled to compensatory and punitive damages for sexual abuse of $2.02 million. 36

Consequently, the fact that Mr. Trump sexually abused - indeed, raped - Ms. Carroll has been

conclusively established and is binding in this case.

               In light of the foregoing, Mr. Trump is precluded by collateral estoppel and the

Court's partial summaty judgment ruling from contending in this trial that Ms. Canoll fabricated

her charge against him. As the Court previously held, the Carroll II jury's verdict "that Mr.

Trump's 2022 statement was false necessarily implies that it determined by clear and convincing

evidence that Ms. Catrnll did not fabricate her sexual assault accusation."37 And because "[t]he truth

or falsity of Mr. Trump's 2019 statements ... depends - like the truth or falsity of his 2022

statement - on whether Ms. Canoll lied about Mr. Trump sexually assaulting her," the Carroll II

')my's finding that she did not [do so] is binding in this case" as well. 38

                Accordingly, neither party shall be permitted to introduce any evidence or argument

concerning Mr. Trump's sexual assault of Ms. Can-all, undennining Ms. Canoll's account, or



        35

               Dkt 235 (Def. Opp. Letter) at 6.
        36

                Carrol/II, No. 22-CV-10016, Dkt 174 (Verdict) at 1-2.
        37

                Carroll 1, 2023 WL 5731152, at *7.
        38

                Id.
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tending to suggest that the assault did not occur.

               Mr. Trump nevertheless contends that he should be allowed to introduce evidence

and argument of the alleged financial and political motivations for Ms. Carroll's assault allegations,

arguing that they are relevant to the financial and reputational backlash that she suffered. 39 Such

evidence, however, falls squarely within the Court's prior decisions, as it tends to suggest that Ms.

Carroll had impure and non-truthful motives in raising her allegations against Mr. Trump.

Moreover, Ms. Carroll's personal motivations for speaking up are not probative of the harms that

she actually suffered from Mr. Trump's defamation, shedding no light on her mental and emotional

state and reputational damage after Mr. Trump issued his 2019 statements. Indeed, regardless of

the reasons why Ms. Canoll chose to come forward, she did not implicitly consent to whatever

defamation Mr. Trump subsequently might commit. 40             Thus, Mr. Trump is precluded from

relitigating his charges of fabrication against Ms. Carroll and from introducing evidence and

argument of her personal motivations for such purposes. 41

               Accordingly, Mr. Trump is precluded from offering any testimony, evidence, or

argument suggesting or implying that he did not sexually assault Ms. CatTOll, that she fabricated her

account of the assault, or that she had any motive to do so.



        39

               Dkt 235 (Def. Opp. Letter) at 6.
        40

               See Carroll I, 2023 WL4393067, at *18.
        41
               Mr. Trump is not precluded from introducing evidence of Ms. Carroll's public statements
               for the purpose of arguing that she contributed to the reputational and emotional harm that
               she claims, but he may not use such statements or related argument to suggest that she
               fabricated her account or to inquire about her motives in making such statements. The Comt
               will decide at trial whether the public statements that Mr. Trump prnposes to offer are
               admissible.
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Mr. Trump 's Proposed Witnesses

                  Mr. Trump's witness list includes Andrew Haskell, the editor-in-chief of New York

Magazine at the time it published the excerpt from Ms. Canoll's book; Sarah Lazin, Ms. Canoll's

agent; and Lisa Bimbach and Carol Martin, who were so-called "outcry witnesses" in Carroll II -

persons in whom Ms. Canoll confided that she was sexual assaulted by Mr. Trump shortly after it

allegedly occuned. Ms. Canoll seeks to preclude Mr. Trump from calling any of them at this trial

on the theory that they have "nothing to offer on the issues remaining in this action."42 Mr. Trump

responds that he does not intend to question the witnesses regarding the underlying assault, but

offers them "for the relevant purposes of dete1mining the damages purportedly sustained by

Plaintiff. " 43

                  Mr. Trump has not made clear the substance of the testimony that he expects to elicit

from any of these witnesses. And it is entirely possible that none has personal knowledge of

anything relevant to the damages issues that remain to be tried here. It perhaps is equally possible

that Mr. Trump will not call any of them to testify. Neve1iheless, the Court is not in a position to

exclude them on the basis of the record before it. To the extent that Mr. Trump's proposed

witnesses possess personal knowledge relevant to any damages Ms. Canoll suffered from the June

2019 defamation, they are not now precluded. In no event, however, shall Mr. Trump (or, for that

matter, Ms. Carroll) be allowed to elicit testimony from any witness regarding the underlying sexual




          42

                  Dkt 233 (Pl. Letter) at 4.
          43

                  Dkt 235 (Def. Opp. Letter) at 7.
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assault and alleged fabrication. 44 Accordingly, this branch of Ms. Carroll's motion is denied.



Defendant's Testimony and Behavior

               Mr. Trump has included himself on his list ofpotential witnesses, as he did in Carroll

II In the event, he did not testify in Carroll II Nevertheless, Ms. Carroll contends as follows:

                       "While it is [Mr.] Tmmp' s right to submit to questioning, he does not have

               the right to say whatever he pleases. [Mr.] Trump cannot, for instance, claim that he

               did not sexually assault [Ms.] Carroll; argue that he was telling the truth in his

               statements about her; suggest that [Ms.] Carroll fabricated her account due to a

               political agenda, financial interests, or mental illness; or offer any other testimony

               that would be inconsistent with the Court's collateral estoppel decision determining

               that [Mr.] Trump, with actual malice, lied about sexually assaulting [Ms.] Cano!!.

               Nor can [Mr.] Trump be permitted to comment on the Comt, the jury, or counsel in

               Carroll II, or suggest in any way ... that he received an unfair trial."45

               That is essentially correct. Mr. Trump's contention that he "must be permitted to

testify" regarding "whether he believed [Ms. Carroll's] account" and "whether he personally

questioned her motives"46 is impe1missible, as it goes to whether Mr. Trump "!mew his statements




       44

               This is patticularly true for the "outcry witnesses," Mss. Bimbach aud Martin, as the bulk
               of their testimony from the Carroll II trial pertained to the underlying assault and the
               veracity of Ms. Carroll's allegations, rather than to damages for defamation.
       45

               Dkt 233 (Pl. Letter) at 5.
       46

               Dkt 235 (Def. Opp. Letter) at 8.
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were false or acted with reckless disregard as to whether they were false." 47 The Court, however,

already has granted pmtial summary judgment to Ms. Carroll on the issue of constitutional actual

malice, meaning that Mr. Trnmp is precluded from arguing that he believed his statements to have

been true when uttered (i.e., whether he believed Ms. Carroll to be lying in her accusations). 48

Indeed, the jury in Carroll II already found that Mr. Trump knew of the falsity of his statements

(accusing Ms. Carroll of lying), or at least that he made them with reckless disregard for their truth

or falsity or that he in fact entertained serious doubt as to the truth of his own statements. 49

Accordingly, Mr. Trump and his counsel are precluded, in the presence of the jury, from claiming

that Mr. Trump did not sexually abuse ("rape") Ms. Carroll; that he did not make his June 21 and

22, 2019 statements concerning Ms. Carroll with actual malice in the constitutional sense of that

term; or that Ms. Cmmll fabricated her account, whether in consequence of a political agenda,

financial interests, mental illness, or otherwise. Mr. Trump and his counsel are precluded also from

offering testimony or advancing any argument inconsistent with the Comt' s collateral estoppel

decision determining that Mr. Trump, with constitutional malice, lied about sexually assaulting Ms.

Carroll. This includes any evidence or argument concerning whether Mr. Trump believed Ms.

Carroll's allegations or questioned her motives, as these issues will not be before the jury in the

present case.




       47

                Contiv. Doe, 535 F. Supp. 3d 257,279 (S.D.N.Y. 2021).
       48

                Carroll 1, 2023 WL 5731152, at *8-9.
       49

                Carroll 11, No. 22-CV-10016, Dkt 174 (Verdict) at 2.
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Testimony ofM~s. Stoyno.ff and Leeds and Related Campaign Excerpts

                Both Natasha Stoynoff and Jessica Leeds testified in Carroll II that Mr. Trump had

sexually assaulted them. The evidence was received under Federal Rules of Evidence 415 and 413,

an exception to the usual rule restricting propensity evidence, pursuant to which evidence of similar

acts of sexual assault by a party may be received against that pmty in civil cases "based on [the]

party's sexual assault. " 50 Ms. Canoll wishes to call them again in this trial, adding that she now

seeks to elicit not only evidence that Mr. Trump attacked them, but also that he "denied their

allegations in the exact manner in which he denied [Ms.] Can·oll's."51 Mr. Trump resists, arguing

that this is not a case "based on sexual assault," as the only issue now to be tried is damages; that

the evidence of these witnesses is not relevant to damages; and in any case that the unfair prejudicial

effect of this testimony would outweigh substantially its probative value. 52 Mr. Trump seeks also

to preclude statements that he made during the 2016 presidential campaign in which he denied and

dispm·aged the allegations of sexual assault against him, including accusations by Mss. Stoynoff and

Leeds, on a similar basis. 53

        50

                Both at trial and in a post-trial ruling in Carroll II, the Court relied alternatively on Rule
                404(6). Carroll 11, No. 22-CV-10016, Dkt 193 (Trial Tr.) at 754:5-757:7. Contrary to Mr.
                Trump's suggestion in another place, the Court has not abandoned its reliance on Rules 415
                and 413 for so ruling.

                In a pre-trial ruling earlier in this case, the Coutt indicated that related video excerpts of Mr.
                Trump denying Mss. Stoynoff and Leeds' allegations during his 20 I 6 presidential campaign
                might be admissible at trial under Rule 404(6) but declined to rule at that time. Carroll v.
                Trump, 660 F. Supp. 3d 196, 208-09 (S.D.N.Y. 2023). It does not do so now.
        51

                Dkt 233 (Pl. Letter) at 7.
        52

                Dkt 235 (Def. Opp. Letter) at 9-11.
        53

                Id. at 12-13.
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               First, this Court previously has rejected Mr. Trump's claim that this is not a case

"based on sexual assault" in an earlier decision in this very case. 54 The fact that Mr. Trump is

foreclosed by collateral estoppel from disputing his commission of the sexual assault does not alter

the basis of the case - of which this damages trial is but one pmi. Thus, the case as a whole remains

one "based on sexual assault," as Ms. Carroll was required to prove that Mr. Trump sexually

assaulted her in order to prove that he defamed her when he denied it and defmned her. 55

               Accordingly, Rules 415 and 413 have been satisfied, as they were in Carroll 11 56

               Second, the proposed testimony of Mss. Stoynoff and Leeds m·guably remains

relevant here despite the fact that Mr. Trump is precluded from denying, directly or indirectly, that

he sexually assaulted Ms. Carroll, that he defamed her, and that he did so with constitutional actual

malice, thus making it unnecessmy for Ms. Carroll to prove up those facts. She now contends that

this testimony is admissible also under Rule 404(b) because it tends to prove that "when a woman

accuses [Mr.] Trump of sexual assault, he unconditionally denies the allegations, accuses the woman

of fabricating her story, and declares that she was too ugly for him to have sexually assaulted in the

first place."57 In view of the Second Circuit's "'inclusionary' approach to other act evidence under

       54

               Carroll, 660 F. Supp. 3d at 201-02.
       55

               See id.
       56

               Id. at 203-06.
       57

               Dkt 233 (PL Letter) at 7.

               Ms. Carroll utilizes the term modus operandi to categorize Mss. Stoynoff and Leeds'
               testimony under an exception to the rule barring character evidence, but ordinarily, modus
               operandi is applied when propensity evidence is used to prove identity, not intent. See, e.g.,
               United States v. Sappe, 898 F.2d 878, 879-80 (2d Cir. 1990); United States v. Carlton, 534
               F.3d 97, 101-02 (2d Cir. 2008). Nonetheless, Mr. Trump's lengthy focus on Ms. Carroll's
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Rule 404(b ), which allows such evidence to be admitted for any purpose other than to demonstrate

... propensity,"58 "[ e]vidence of this pattern" at least arguably "is ... relevant to proving [that Mr.]

Trump acted with [common law] malice in denying [Ms.] Carroll's allegations [and defaming her]

in the same way here."59 The testimony therefore appears to be somewhat probative, at least on the

issue of punitive damages, for which comis enjoy wide latitude to "exarnin[e] all of the relevant

circumstances smrnunding the dispute."60

                That said, there are non-trivial Rule 403 issues in connection with this evidence.

These include the risk of unfair prejudice that could occur in the event this evidence affected the

jmy' s compensatory damages award; the prolongation of the trial to litigate the Stoynoff and Leeds

incidents; and possible jury confusion. In all the circumstances, however, the Cami declines to rule



                potential misuse of the te1m is misplaced. Dkt 235 (Def. Opp. Letter) at 10. Rule 404(b)
                plainly states that character evidence may be admissible to prove "motive" or "intent" in
                addition to "identity," for which purpose Ms. Carroll truly seeks to admit Mss. Stoynoff and
                Leeds' testimony. Fed. R. Evid. 404(b)(2). The technical terms used by Ms. Carroll in her
                brief are thus irrelevant.
       58

                United States v. Scott, 677 F.3d 72, 79 (2d Cir. 2012) (citing United States v. LaFlam, 369
                F.3d 153, 156 (2d Cir. 2004)).
       59

                Dkt 233 (Pl. Letter) at 7.
       60

                Celle v. Filipino Rep. Enters. Inc., 209 F.3d 163, 184 (2d Cir. 2000) (citing Herbert v.
                Lando, 441 U.S. 153, 164 n.12 (1979)); see also Herbert, 441 U.S. at 164 n.12 ("The
                existence of actual malice may be shown in many ways. As a general rule, any competent
                evidence, either direct or circumstantial, can be resorted to, and all the relevant
                circumstances smrnunding the transaction may be shown, provided they are not too remote,
                includingthreats,prior or subsequent defamations, subsequent statements ofthe defendant,
                circumstances indicating the existence of rivalry, ill will, or hostility between the parties,
                facts tending to show a reckless disregard of the plaintiff's rights, and, in an action against
                a newspaper, custom and usage with respect to the treatment of news items of the nature of
                the one under consideration.") (emphasis added) (internal quotation marks and citations
                omitted)); 25A Jill Gustafson et al. eds., C.J.S. DAMAGES§ 308 (2023) ("Evidence of prior
                offenses may be admissible to suppmt an award of exemplary damages.").
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on the admissibility of this evidence in advance of trial.



The Access Hollywood Video

                Many readers will be familiar with the Access Hollywood video, as it was broadcast

widely during the 2016 presidential campaign. The relevant portions in any event are described in

detail in earlier rulings, including one denying a previous in limine motion by Mr. Trump to exclude

it here. 61 Briefly stated, it records Mr. Trump stating that he previously had "moved on [a woman]

like a bitch, but [he] couldn't get there." 62 He said also:

                Trump: "Maybe it's a different one."

                Billy Bush: "It better not be the publicist. No, it's, it's her."

                Trump: "Yeah that's her. With the gold. I better use some Tic Tacs just in case I start

                ldssing her. You !mow I'm automatically attracted to beautiful -- I just stait kissing

                them. It's like a magnet. Just kiss. I don't even wait. And when you 're a star they let

                you do it. You can do anything."

                Bush: "Whatever you want."

                Trump: "Grab them by the pussy. You can do anything. "63

In a part of his deposition that was played for the juty in Carroll II, Mr. Trump testified that:

                "Q. And you say -- and again, this has become very famous -- in this video, 'I just

                start kissing them. It's like a magnet. Just kiss. I don't even wait. And when you 're

        61

                Carroll, 660 F. Supp. 3d at 200-03; see also Carroll II, 2023 WL 4612082, at *8-9 n.20.
        62

                Carroll JI, 2023 WL 4612082, at *8.
        63

                Id. at *8-9.
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               a star, they let you do it. You can do anything, grab them by the pussy. You can do

               anything. ' That's what you said; correct?

               A. Well, historically, that's true with stars.

               Q. True with stars that they can grab women by the pussy?

               A. Well, that's what -- ifyou look over the last million years, I guess that's been

               largely true. Not always, but largely true. Unfortunately or fortunately.

               Q. And you consider yourself to be a star?

               A. I think you can say that, yeah.

               Q. And -- now, you said before, a couple of minutes ago, that this was just locker

               room talk?

               A. It's locker room talk.

               Q. And so does that mean that you didn't really mean it?

               A No. It's locker room talk. I don't know. It's just the way people talk."64

The video was admitted in Carroll II at least under Rule 415 for, among other things, its probative

value with respect to whether the alleged sexual assault on Ms. Carroll occun-ed. 65 And, as the Court

has noted previously, it alternatively was admissible under Rule 404(b). 66

               Ms. Can-oil seeks its admission here despite the fact that the occurrence of the sexual

assault now has been established conclusively.         She nevertheless contends that the Access


       64

               Carroll II, No. 22-CV-10016, Dkt 138-1 (Dep. Designations) at 174:5-1 75:4 (emphasis
               added).
       65

               Carroll, 660 F. Supp. 3d at 200-03.
       66

               Carroll II, 2023 WL 4612082, at *8 n.20; see supra note 61.
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Hollywood video is relevant to the issues that remain because it goes to Mr. Trump's "mental state

and disposition - both toward women generally ... and specifically toward [Ms.] Carroll ... and

thus [is] relevant to detem1ining his common law malice. " 67 She argues also that the video provides

necessary context to comments Mr. Trump "made about Carroll on CNN after the Carroll II trial"

and should be admitted for this purpose at trial as well. 68

               Mr. Trump responds, first, that the Access Hollywood video is not admissible under

Rule 415, in substance for the same reason that he seeks to exclude the testimony ofMss. Stoynoff

and Leeds69 - that this is not a case "based on sexual assault." But that argument is without merit

for reasons discussed above and in the Comi's prior rulings in this case.'°

                Mr. Trump next argues that the video should be excluded because it is not relevant

to the issue of damages, even to punitive damages, "because it does not inform Defendant's state

of mind when he made the lillle 2019 Statements."71 But he tellingly concedes that the Access

Hollywood video was "made thirteen years prior to when [Ms. Can-oil] came forward with her

allegations,"72 and thus thirteen years before he made the Jillle 2019 defamato1y statements about

her. His Access Video statements, the jmy could find, evidence misogyny- "[h]atred or dislike of,


        67

                Dkt 233 (Pl. Letter) at 6-7.
        68

                Id. at 7.
        69

                Dkt 235 (Def. Opp. Letter) at 9, 11-12.
        70

                Carroll, 660 F. Supp. 3d at 200-03.
        71

                Dkt 235 (Def. Opp. Letter) at 12.
        72

                Id.
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or prejudice against women"73 - and that this hatred or prejudice immediately focused on Ms.

Canoll when her allegation of sexual assault became public. Thus, the jmy could find Mr. Trump's

statements in the video to be probative of his intent in making the June 21 and June 22 defamatory

statements about Ms. Carroll.

               The reasoning is not difficult. In the video, Mr. Trump bragged that he "moved on

[another women] like a bitch" and that he "just starts[ s] kissing" women without "even wait[ing]"

for their consent. Stars - and he admitted that he is a "star" - can "grab [women] by the pussy" and

"can do anything." A jmy reasonably could conclude that this was not "locker room talk," but

instead that it was truthful bragging by Mr. Trump of his exploits, that it manifested hatred of or

prejudice against women, and that this hatred or prejudice fixed specifically on Ms. Carroll when

she went public with her accusation and provoked his defamatory reaction. Hence, the jury could

find that the Access Hollywood video is a relevant window into how Mr. Trump views women that

he allegedly has assaulted - including women like Ms. Canoll - and that it therefore is relevant

under Rule 401 as tending to prove his common law malice, which is essential to the punitive

damages claim. 74

               Moreover, the acts that Mr. Trump arguably admitted committing in the Access



       73

               "Misogyny," OXFORD ENGLISH DICTIONARY (available at
               https://www.oed.com/search/dictionary/?scope-Entries&q-misogyny) (last visited Jan. 5,
               2024).
       74

               As has been pointed out previously, the Access Hollywood video is admissible, under Rule
               104(6), if the Court concludes that the jury could find facts making those statements
               relevant as the Court has done. It therefore is the function of the jmy, not the Court, to
               determine the relevance of those statements. See Carroll I, 660 F. Supp.Jct at 202-03.
               Accordingly, the Court expresses no view on how the jury should interpret Mr. Trump's
               statements in the video.
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Hollywood video are almost the exact same acts that he then accuses Ms. Carroll oflying about in

her assault allegations. The jury could find that Mr. Trump was prepared to admit privately to

sexual assaults eerily similar to that alleged by Ms. Carroll, making his Access Hollywood

statements admissible on the issues of his intent and mental state when he in June 2019 denied her

account as he did and disparaged her. Thus, a jury could find that the Access Hollywood video is

a useful insight into Mr. Trump's state of mind regarding how he viewed Ms. Carroll specifically,

given the similarity between the behavior described in video's remarks and Ms. Carroll's sexual

assault claim. 75

                 Unsurprisingly, Mr. Trump argues that the Access Hollywood video nevertheless

should be excluded under Rule 403 because it might cause the jmy to "enhanc[e] the potential

damages awarded in this case."76 And it is conceivable that it might do so. But Rule 403 does not

pe1mit, much less require, exclusion of relevant evidence simply because it might hurt a defendant's

case. It provides instead that "[t]he court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence. " 77

                    Receipt of the video in evidence would not cause delay or waste time, as it would

take only a minute or less to play. It would not be cumulative because it could be found to be a


        75

                    See Prozeralik v. Cap. Cities Commc'ns, Inc., 82 N.Y.2d 466,480, 626 N.E.2d 34 (1993)
                    ("common-law malice focuses on the defendant's mental state in relation to the plaintiff').
        76

                    Dkt 235 (Def. Opp. Letter) at 12.
        77

                    Fed. R. Evid. 403.
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unique window into Mr. Trump's mind provided in his own words and his own voice. And so the

key word for Rule 403 analysis is the word "tmfair." '"'Unfair prejudice' within its context means

an undue tendency to suggest decision on an improper basis, commonly, though not necessarily, an

emotional one. "'78 But the question of whether Mr. Trump defamed Ms. Ca11"oll with common law

malice is essential to deciding whether she is entitled to punitive damages and important as well to

determining the amount, if any. There would be nothing inherently "unfair" in receiving evidence

that is uniquely probative on those questions. And while a jury might find Mr. Trump's statements

on the video quite offensive, rather than being simply untruthful "locker room talk," that risk does

not outweigh their probative value, let alone substantially. That is particularly so given the fact that

the Court ultimately would have the ability to address a significantly excessive punitive damages

award. 79

                The Access Hollywood video is admissible in evidence.



                                              Conclusion

                Plaintiffs letter motion (Diet 233), which in substance seeks in limine rnlings on a

variety of evidentiary issues, is granted to the extent that:

                1.      Defendant and his counsel are precluded, in the presence of the jury, from

offering any evidence, argument, or comments:



        78

                Old Chiefv. United States, 519 U.S. 172, 180 (l 997)(emphasis added) (quoting Fed. Rule
                Evid. 403 notes of advisory committee).
        79

                See State Farm Mui. Auto. Ins. Co. v. Campbell, 538 U.S. 408,418 (2003) (instructing comts
                on "three guideposts" to follow in reviewing punitive damages awards) (citing BMW ofN.
                Am., Inc. v. Gore, 517 U.S. 559,575 (1996)).
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                       a.      Concerning plaintiffs choice of counsel or her counsel's activities

               outside the litigation between plaintiff and defendant;

                       b.        Concerning litigation funding;

                       c.      Concerning DNA;

                       d.      Concerning Ms. Carroll's past romantic relationships, sexual

               disposition, and prior sexual experiences;

                       e.      Suggesting or implying that Mr. Trump did not sexually abuse Carroll;

               that he did not make his June 21 and 22, 2019 statements concerning Ms. Carroll

               with actual malice in the constitutional sense of that term; that Ms. Carroll fabricated

               her account, whether in consequence of a political agenda, financial interests, mental

               illness, or otherwise; or offering testimony or advancing any argument inconsistent

               with the Comt' s collateral estoppel decision determining that Mr. Trump, with actual

               malice, lied about sexually assaulting Ms. Carroll; and

               2.     The Access Hollywood video will be received in evidence.

               The motion is denied in all other respects without prejudice to renewal during trial

with regard to Mss. Stoynoff and Leeds and the related campaign excerpts.

               SO ORDERED.

Dated:         January 9, 2024




                                                                   Lewis A. Kap an
                                                              United States District Judge
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
E. JEAN CARROLL,

                               Plaintiff,

                -against-                                                        20-cv-7311 (LAK)


DONALD J. TRUMP, in his personal capacity,

                     Defendant.
------------------------------------------x

                                            VERDICT FORM


Did Ms. Carroll prove, by a preponderance of the evidence, that
       I.       Ms. Carroll suffered more than nominal damages as a result of Mr. Trump's
                publication of the June 21 and June 22, 2019 statements?

                               YEsL                    NO

                       If "Yes," insert the dollar amount for any compensatory damages you award
                       other than for the reputation repair program. If"No," write"$!."

                                       $    'I, 3 rn
                       If "Yes," insert the dollar amount for any compensatmy damages you award
                       for the reputation repair program only. If "No," leave blank.

                                       $     11 DJ

                       [Continue to Question 2, whether you answered "Yes" or "No. "]


      2.        In making the June 21, 2019 statement, Mr. Trump acted maliciously, out of hatred,
                ill will, or spite, vindictively, or in wanton, reckless, or willful disregard of Ms.
                Carroll's rights?

                               YESt-                   NO

                       [Continue to Question 3, regardless ofwhetheryou answered" Yes" or "No. "]
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         3.       In making the June 22, 2019 statement, Mr. Trump acted maliciously, out of hatred,
                  ill will, or spite, vindictively, or in wanton, reckless, or willful disregard of Ms.
                  Ca1Toll's rights?

                                 YES~                  NO

                         If you answered "Yes" to either Question 2 or Question 3 (or both), how much,
                         if any, should Mr. Trump pay to Ms. Ca1Tol1 in punitive damages?

                                         $   &'SM
                         [Please write your juror number (not your seat number or name) in the space
                         provided below, fill in the date, and inform the officer that you have reached
                         a verdict.]




Dated:        ~1,1   ar~ Z C,,, 2024

Juror numbers:




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,

                   Plaintiff,

     v.                                    No. 22 Civ. 10016 (LAK) (JLC)

DONALD J. TRUMP,

                   Defendant.




     PLAINTIFF E. JEAN CARROLL’S REPLY MEMORANDUM OF LAW
          IN SUPPORT OF HER OMNIBUS MOTION IN LIMINE



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                                     PRELIMINARY STATEMENT

        Given that the evidence in Carroll I and Carroll II is almost identical, the parties have

tailored their motions in limine to be nearly the same in both. See ECF 70, 73, 75, 77; Carroll I,

ECF 131, 134, 136, 138, 140, 143. But even after five rounds of briefing across the two cases,

Trump still has not responded to a significant portion of Carroll’s omnibus motion. And the few

arguments that Trump does make are inconsistent both with precedent and the factual record.

Accordingly, for the reasons stated in her prior briefing and below, Carroll’s motion should be

granted in its entirety.

                                                 ARGUMENT

I.      CARROLL’S MOTION IN LIMINE IS LARGELY UNCONTESTED

        Trump has explicitly incorporated the arguments from his Carroll I opposition. See ECF

75 (“Trump Carroll II Opp.”) at 1 (incorporating Carroll I, ECF 136 (“Trump Carroll I Opp.”)).

But that opposition pointedly failed to address four of Carroll’s requests, namely to: (1) admit her

prior statements to Lisa Birnbach and Carol Martin, see Carroll I, ECF 134 (“Carroll I MIL”) at

2–4; (2) preclude Trump from testifying to undisclosed information, including the testimony that

non-testifying witnesses could theoretically offer in support of his defense, id. at 25–27;

(3) preclude cross-examination or evidence regarding Stephanie Grisham on specific topics, id. at

30–33; or (4) preclude comments and cross-examination regarding Carroll’s choice of counsel, id.

at 34–35; see also ECF 73 (“Carroll II MIL”) at 2–4 (incorporating Carroll I MIL). The Court

should therefore grant those unopposed portions of Carroll’s motion. See Carroll I, ECF 143

(“Carroll I Reply”) at 2 (collecting cases). 1


1
 One portion of Carroll’s motion that Trump did oppose concerns the admissibility of Natasha Stoynoff’s and Jessica
Leeds’ testimony. Trump Carroll I Opp. at 1–14. The Court already ruled this evidence to be admissible in Carroll I.
See Carroll v. Trump, No. 20 Civ. 7311, 2023 WL 2441795, at *4–*8 (S.D.N.Y. Mar. 10, 2023). There is no reason



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II.        THE COURT SHOULD EXCLUDE ANY TESTIMONY FROM UNDISCLOSED
           WITNESSES, AND COMMENTARY OR TESTIMONY CONCERNING DNA

           A.       The Court Should Exclude Trump’s Undisclosed Witnesses

           Trump listed five witnesses on the joint pretrial order that he never disclosed previously.

ECF 65. Trump insists that he did not violate Rule 26(a)(1) in doing so because, as he sees it, the

identities of those witnesses were “made known” during the proceedings. See Trump Carroll I

Opp. at 21–23.

           This argument rests on a plain misunderstanding of well-settled law. The operative

question is not whether the opposing party had “knowledge of the existence of a witness,” but

rather whether “[the disclosing party] informed [the opposing party] that it might call the witness”

to “support its own case at trial.” Lebada v. New York City Dep’t of Educ., No. 14 Civ. 758, 2016

WL 626059, at *5 (S.D.N.Y. Feb. 8, 2016) (citation omitted), objections overruled, 2016 WL

8453417 (S.D.N.Y. May 16, 2016) (Kaplan, J.); see also Lujan v. Cabana Mgmt., Inc., 284 F.R.D.

50, 73 (E.D.N.Y. 2012) (“[T]o satisfy Rule 26, parties must make an unequivocal statement that

they may rely upon an individual on a motion or at trial.” (emphasis added) (collecting cases)).

           Trump cannot (and does not) contest that he failed to comply with these requirements. In

Carroll I, after Carroll listed four of the individuals who Trump now seeks to call as witnesses at

trial in her response to Trump’s interrogatories, 2 Trump failed to make “any simple, clear,

unequivocal statement” that he intended to use any of them to support his defense at trial. Lujan,

284 F.R.D. at 73. Trump did not list them on his Rule 26(a) disclosures in that action, supplement

his disclosures to include them, depose the witnesses, or indicate “either in a letter, electronic mail,

on-the-record during another deposition or court proceeding” that he intended to call them at trial.


to treat that evidence differently here, so it should be admitted for the reasons set forth in Carroll’s briefing and this
Court’s prior decision.
2
    She listed David Haskell, Elizabeth Dyssegaard, Laurie Abraham, and Sarah Lazin. Carroll I, ECF 137-6 at 5.


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Id.; see Carroll I MIL at 24–25; Carroll II MIL at 3.

        Then, in Carroll II, Trump continued to hide his strategic intentions by not listing the

witnesses in his Rule 26(a) initial disclosures. Ex. 1. Taken together, Trump’s actions left Carroll

to “properly assume[] that [Trump would] not rely upon [those] witness[es].” Lebada, 2016 WL

626059, at *5; cf. Patterson v. Balsamico, 440 F.3d 104, 118 (2d Cir. 2006). As a matter of settled

precedent—and under a straightforward reading of Rule 26(a)—the mention of one of the

witnesses in a deposition and his notices of subpoenas to them in Carroll I, without any effort to

actually serve those subpoenas or take the depositions, was not enough to provide the requisite

notice. See, e.g., Kullman v. New York, No. 07 Civ. 716, 2009 WL 1562840, at *6–*8 (N.D.N.Y.

May 20, 2009) (precluding undisclosed witness even though witness’ name had been mentioned

in discovery and plaintiffs’ counsel withdrew a notice of deposition for that witness); Williams v.

Bethel Springvale Nursing Home, Inc., No. 14 Civ. 09383, 2018 WL 1662644, at *5 (S.D.N.Y.

Apr. 5, 2018) (same for undisclosed witness mentioned in a deposition). 3

        While Trump argues that preclusion is a “drastic remedy” reserved for “rare cases,” Trump

Carroll I Opp. at 23–24, this is precisely the type of case where Rule 37(c) should apply. Here,

after discovery was complete in Carroll I and the Court directed the parties to consider carefully

what additional discovery they needed in Carroll II, Trump failed to disclose that these witnesses

were necessary to (or even a part of) his trial defense. See ECF 16 at 4–5; Conf. Tr. at 5–7 (Dec.

21, 2022). Then, Trump again made the deliberate choice to exclude these witnesses from his

Carroll II disclosures. Ex. 1. Such callous disregard for Rule 26(a), accompanied by a pre-trial

effort to sandbag an opposing party in pursuit of improper strategic advantage, is exactly when the


3
 Carroll noted in her motion that Trump had provided notices of subpoenas to all five of the at-issue witnesses on
August 9, 2022, but it was “not clear which of the subpoenas were served.” Carroll I MIL at 25 n.12. Trump has not
addressed this point or provided any information suggesting that he diligently pursued those subpoenas of these
witnesses.



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sanction of preclusion is appropriate. Indeed, courts have frequently precluded testimony from

witnesses who were disclosed late in the process and shortly before trial, since such a tardy and

irregular disclosure is inherently highly prejudicial. See, e.g., Patterson, 440 F.3d at 117–18;

Cajero Torres v. Sushi Sushi Holdings Inc., No. 19 Civ. 2532, 2021 WL 2158017, at *4 (S.D.N.Y.

May 27, 2021). 4

         Trump further attempts to resist this conclusion by asserting that his failure to disclose was

harmless. Trump Carroll II Opp. at 24. He reasons that his violation of the rules caused no harm

because Carroll “was aware of [the witnesses’] identities” and, according to him, “understood their

relevance to this case.” Id. But this position presupposes that Carroll should have conducted

discovery of witnesses who she never intended to put on to build her own case, even as Trump hid

his intention to call them. Courts routinely reject comparable efforts to excuse a failure to follow

the rules. See Cajero Torres, 2021 WL 2158017, at *4; see also Benavidez v. Burger Bros. Rest.

Grp., Inc., No. 17 Civ. 200, 2019 WL 1459044, at *6 (E.D.N.Y. Mar. 29, 2019) (“Defendants’

bald assertion … that Plaintiffs should have anticipated that Defendants would call the non-parties

listed in [Plaintiffs’] interrogatory responses as witnesses is unpersuasive.”). 5

         B.       The Court Should Preclude Testimony Concerning DNA Evidence



4
  In contrast, where courts have allowed parties to call witnesses who were not previously disclosed, they have done
so in circumstances entirely unlike those here: for instance, where a trial date had not yet been set, or where a discovery
continuance allowed the prejudiced party to depose the previously undisclosed witnesses. E.g., Feltenstein v. City of
New Rochelle, No. 14 Civ. 5434, 2018 WL 3752874, at *9 (S.D.N.Y. Aug. 8, 2018); Taylor v. N.Y. State Off. for
People With Developmental Disabilities, No. 13 Civ. 740, 2016 WL 2858856, at *15 (N.D.N.Y. May 13, 2016); Leong
v. 127 Glen Head Inc., No. 13 Civ. 5528, 2016 WL 845325, at *6 (E.D.N.Y. Mar. 2, 2016). Because Trump chose to
list undisclosed witnesses for the first time in the joint pretrial order, measures like extending discovery deadlines are
not available. In any event, under no circumstances should Trump be permitted to put witnesses on the stand at trial
without Carroll first having an opportunity to depose them. See Leong, 2016 WL 845325, at *6 (collecting cases).
5
  In his reply, Trump invokes Harris v. Donohue, No. 15 Civ. 1274, 2017 WL 3638452 (N.D.N.Y. Aug. 23, 2017), to
support his claim that his actions were harmless. In Harris, however, unlike in this case, the party seeking to exclude
the undisclosed witnesses had listed them on her own Rule 26(a) as potential witnesses and then failed to depose them.
Id. at *2. In addition, Harris incorrectly stated that Rule 37(c) requires a showing of bad faith, id. at *1—a standard
that the Second Circuit has long rejected, see Design Strategy, Inc. v. Davis, 469 F.3d 284 (2d Cir. 2006).



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        Trump does not actually dispute Carroll’s position that testimony related to DNA evidence

has no probative value in this case. Carroll I MIL at 27–28; Trump Carroll I Opp. at 19–21. Nor

does he dispute that permitting questioning on DNA would require an airing of the discovery

dispute related to it, leading to jury confusion, wasted time, and prejudice. Carroll I MIL at 29–

30; Trump Carroll I Opp. at 19–21. Yet, Trump seeks to carve out a supposedly narrow exception

to the inadmissibility of DNA evidence by arguing that he should be allowed to cross-examine

Carroll about “the public statements that she made regarding [his] DNA, and her motivation for

making such statements.” Trump Carroll I Opp. at 20. This is a brazen attempt to present exactly

the type of evidence that Trump concedes is not probative, not to mention distort the record as it

relates to DNA and leave the jury with a misimpression that is both inaccurate and highly

prejudicial.

        Significantly, Trump seeks to justify his carve-out based on a clear mischaracterization of

Carroll’s “public statements.” He erroneously asserts that she had “represent[ed] that she was in

possession of [Trump’s] DNA, when she in fact was not.” Id. A review of Carroll’s statements,

however, confirms that this is incorrect. Two of the tweets that Trump seeks to use on cross-

examination state only that Carroll possessed a dress containing DNA. 6 The other tweet explicitly

states that Carroll did not have Trump’s DNA because Trump had refused to provide it in

discovery: “I am STILL waiting for Trump to provide his DNA sample to be tested against the

dress I wore when he attacked me.” @ejeancarroll, Twitter (May 1, 2020), https://twitter.com/

ejeancarroll/status/1364995845439901700. None of these tweets is relevant to whether Carroll



6
  @ejeancarroll, Twitter (June 2, 2021), https://twitter.com/ejeancarroll/status/1400122740720480262 (“Didn’t last
as long as DNA on a dress.”); @ejeancarroll, Twitter (Feb. 25, 2021), https://twitter.com/ejeancarroll/status/125630
1599426785280 (“Cyrus Vance, the Manhattan District Attorney, has Trump’s taxes. Fani Willis, the Georgia
Prosecutor, has Trump’s phone call. Mary Trump has her grandfather’s will. And I have the dress. Trump is basically
in deep shit”).



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accurately reported Trump’s assault in a book she wrote years prior. And none of them constitutes

a public statement that she was actually in possession of Trump’s DNA. 7

        Moreover, Trump’s argument seems to presuppose that Trump’s DNA is not present on

the dress and that Carroll somehow knew this to be the case. A jury certainly could not draw that

conclusion given the current record. Indeed, Carroll never obtained Trump’s DNA and therefore

was never able to test it.

        Trump’s proposed carve-out is also not feasible under the Rules of Evidence. He cannot

ask Carroll about her public comments regarding the dress without also running straight into the

fundamental Rule 403 concerns that Trump does not dispute. Trump’s proposed cross-examination

would inevitably lead to evidence and testimony regarding: (1) Trump’s adamant refusals for more

than three years to provide his DNA evidence to test; (2) Carroll’s decision to pivot and conduct

discovery while accepting that such evidence would not be available; (3) Trump’s eleventh-hour

“offer” to provide his DNA months after discovery had closed; and (4) this Court’s order rejecting

Trump’s “offer” to provide his DNA in exchange for an undisclosed appendix that Trump knew

about for years. See Carroll I MIL at 27. Indeed, to open this door an inch would be to blow it off

its hinges, since Trump obviously cannot question Carroll about her statements regarding the DNA

on her dress, but at the same time bar her from explaining the lack of DNA evidence in the case.

That would be nonsensical and highly prejudicial to Carroll—and it would cause substantial jury

confusion. This effort to freeze the DNA issue to capture Carroll’s comments in isolation is thus

misleading and seeks to paint an inaccurate picture. Rule 403 exists to ensure juries do not make

decisions based on this kind of problematic presentation of evidence. Cf. Sadler v. Moran Towing



7
 The deposition testimony that Trump cites also includes mentions of the discovery dispute between the parties:
“Q. … [Y]ou stated in the public that you had DNA from the former president; is that correct? A. Yes. Q. Why did
you state that? A. Because we sent the dress to be examined and then we got back a report.” Ex. 2 at 217:22–218:5.



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Corp., No. 01 Civ. 1666, 2002 WL 1977604, at *1 (S.D.N.Y. Aug. 28, 2002) (Kaplan, J.).

       Trump made a considered choice to take DNA out of the conversation through his strategic

decisions during the discovery process. And as this Court has recognized, Carroll “prepared for

trial on the entirely justified basis that there will be no DNA evidence.” Carroll v. Trump, No. 22

Civ. 10016, 2023 WL 2006312, at *2 (S.D.N.Y. Feb. 15, 2023). Trump’s effort to avoid these

consequences by insisting on an unrealistic and prejudicial carve-out would raise the very same

concerns that led the Court to deny Trump’s motion to re-open discovery. Id. at *7–*9.

III.   THE COURT SHOULD PRECLUDE FISHER AS A REBUTTAL WITNESS

       A.      Trump Fails to Address an Independent Ground for Excluding Fisher

       Across both of her cases, Carroll has engaged seriously with the caselaw governing the

reliability of expert testimony and has applied those standards to each aspect of the two reports

that Fisher submitted. See Carroll I MIL at 10–22; Carroll II MIL at 4–18. Trump has not. By

continuing to evade Carroll’s grounds for precluding Fisher, Trump all but concedes her points.

       With respect to Carroll II specifically, Carroll offered three independent reasons for

precluding Fisher from testifying: (1) he was not a proper rebuttal expert; (2) his methods did not

satisfy the reliability standards of Rule 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579, 113 S. Ct. 2786 (1993); and (3) each portion of his report provided additional

grounds on which to exclude his testimony. See Carroll II MIL at 4–18. Despite every opportunity

to do so, Trump does not respond to the third ground at all. But an expert’s testimony must be

“reliable at every step,” United States v. Gatto, No. 17 Cr. 686, 2019 WL 266944, at *6 (S.D.N.Y.

Jan. 17, 2019) (Kaplan, J.), and cannot contain impermissible legal or factual conclusions that

usurp the role of the judge or jury, Nimely v. City of N.Y., 414 F.3d 381, 397 (2d Cir. 2005). The

individual portions of Fisher’s report violate these well-established principles. Carroll II MIL at

10–18. That is reason alone to preclude him from testifying—and the Court need not go further.


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       B.      Fisher Is Not a Rebuttal Witness

       But even if the Court reaches the question, Trump does not dispute that the only appropriate

function of Fisher is as a rebuttal expert. And Fisher has admitted that he does not rebut or respond

to Professor Ashlee Humphreys’ Carroll II report; that he never considered himself to be a rebuttal

expert in this action; and that he was not directed by Trump to perform that role. Carroll II MIL

at 4–5; see also, e.g., Ex. 3 (“Fisher Carroll II Dep.”) at 10:1–5, 11:5–7, 12:5–7, 52:9–13. This

testimony should be conclusive as to whether he is a rebuttal expert. Yet Trump bravely soldiers

on, asserting that Fisher makes the cut despite Fisher’s own sworn testimony to the contrary.

       Principally, Trump seizes on two assertions in the last three and a half pages of Fisher’s

Carroll II report as evidence that Fisher offered rebuttal testimony. Carroll II Opp. at 2–4. The

first assertion is that Fisher acknowledged that Professor Humphreys completed a second report

and discussed her qualifications. Ex. 4 (“Fisher Carroll II Rep.) at 21–22. But Fisher clarified at

his deposition that this reference does not “respond to that [second report] in any way.” Fisher

Carroll II Dep. at 54:10–15. Regardless, this discussion of Professor Humphreys’ qualifications is

not permissible as a matter of law, see Capri Sun GmbH v. Am. Beverage Corp., 595 F. Supp. 3d

83, 142 (S.D.N.Y. 2022), and does not transform the rest of Fisher’s report into rebuttal opinion.

       The second assertion relates to Fisher’s discussion of Professor Humphreys’ purported

“social media campaign” in the sub-section of his report entitled, “Reputation Repair Program.”

Fisher Carroll II Rep. at 22–24. But this is not rebuttal testimony for purposes of Carroll II. Fisher

lifted this text from his Carroll I report, which discussed Professor Humphreys’ Carroll I report

alone. Fisher Carroll II Dep. at 206:23–207:8. Eliminating any doubt on this score, Fisher

confirmed that the “citations in this section are to the pages in Professor Humphreys’ first report,”

and this was an “excerpt” where he “just pulled out sort of the gist of, you know, the important




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points from [his] first report.” Id. at 207:13–208:5. In other words, the language Trump relies on

to show that Fisher rebuts Professor Humphreys’ Carroll II report actually confirms the opposite.

Since Fisher failed to disclose any opinion regarding Professor Humphreys’ Carroll II report, he

cannot offer such opinion for the first time at trial. See Fed. R. Civ. P. 26(a)(2)(B)(i).

       C.      Fisher’s Analysis Is Not Reliable

       As Carroll detailed in her motion, Fisher cannot meet the governing reliability standards to

testify as an expert because “his work demonstrate[s] an utter lack of care or preparation” and “the

methodology that he applied—his so-called ‘common sense’—was nothing more than his ipse dixit

opinions regarding Carroll’s damages as derived from conclusion-driven speculation.” Carroll II

MIL at 7. Trump’s defense of Fisher only confirms these conclusions.

       To start, Trump points to Fisher’s experience. Trump Carroll II Opp. at 4–6. But as Carroll

detailed in her reply brief in Carroll I, this is beside the point: “[t]o ‘satisfy the admissibility

standards set forth in Rule 702 and Daubert, the expert must not only be qualified, but his or her

testimony must also be reliable.’” Carroll I Reply at 3 (citation omitted).

       This leaves only Trump’s seemingly half-hearted reliability arguments, which do not fare

any better. Trump Carroll II Opp. at 6–10. Trump recites—but does not actually apply—legal

standards regarding expert testimony. Id. at 8–10. He also cherry-picks instances in Fisher’s report

where Fisher says “experience,” “methodology,” or “method,” as if Fisher can satisfy the

reliability standard with magic words. Id. at 6–8. But even those references fall apart upon scrutiny.

       For example, Trump quotes Fisher’s general disclaimer where he lists the “methodology”

that he supposedly applied to the case. Id. at 6–7. There, Fisher said he “[c]arefully reviewed all

documentation and information on the background of this dispute,” Fisher Carroll II Rep. at 13—

which he later revealed to entail reading only six news articles and preparing for less than an hour.




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Fisher Carroll II Dep. at 46:5–47:11, 149:6–13. Then, Fisher claims he “researched information

as needed on the internet,” which in reality involved unspecified “googling” that even Fisher had

difficulty explaining. Id. at 148:9–11, 149:13–14, 197:1–3. Next, Fisher states that he “[f]ollowed

peer accepted procedure in both the public relations and expert witness professions,” Fisher

Carroll II Rep. at 13, even though he admitted in his Carroll I deposition that “I don’t need peer

review” and doesn’t review or use peer-reviewed methodologies, Ex. 5 at 299:3–301:2, 304:23–

305:16; see also Fisher Carroll II Dep. at 28:11–14 (“Q. And would you say your methodology in

Carroll II is similar to your methodology in Carroll I? A. I would say so yes.”). Finally, Fisher

asserts that he “reviewed and analyzed previous applicable experiences,” Fisher Carroll II Rep. at

13, but admitted at his deposition that he did no such thing for purposes of this case, Fisher Carroll

II Dep. at 49:12–15. The remaining examples Trump relies on are merely more of the same. 8

         At bottom, Trump’s efforts cannot avoid or distract from the straightforward and natural

conclusion that follows from Fisher’s report and the caselaw governing expert testimony. Fisher

fails to apply the “same level of ‘intellectual rigor that characterizes the practice’ of his field,” Fed.

R. Evid. 702, advisory committee note (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137,

152, 119 S. Ct. 1167, 1176 (1999)), and he should be precluded from testifying at trial.

                                                CONCLUSION

         For the reasons set forth above, and in Carroll’s omnibus motion in limine, the Court should

grant Carroll’s motion.




8
  Trump cites Fisher’s general conclusion that “it is my professional assessment and opinion that [Carroll] benefitted
from this public dispute” without also confronting the inputs that Fisher relied on to reach that conclusion. Trump
Carroll II Opp. at 8. Carroll walked through those inputs in her omnibus motion in limine, demonstrating the utter
unreliability that plagued each step of Fisher’s analysis. Carroll II MIL at 12–17.



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Dated: New York, New York                        Respectfully submitted,
       March 16, 2023

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